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14                           UNITED STATES DISTRICT COURT

15                        NORTHERN DISTRICT OF CALIFORNIA

16                                 SAN JOSE DIVISION

17   FEDERAL TRADE COMMISSION,                Case No. 17-cv-0220-LHK-NMC

18                    Plaintiff,              DEFENDANT QUALCOMM
                                              INCORPORATED’S PROPOSED
19              vs.                           FINDINGS OF FACT AND
                                              CONCLUSIONS OF LAW
20   QUALCOMM INCORPORATED, a Delaware
     corporation,                             REDACTED VERSION OF
21                                            DOCUMENT SOUGHT TO BE
                      Defendant.              SEALED
22
                                              Date:         January 4, 2019
23                                            Time:         9:00 a.m.
                                              Dept.:        Courtroom 8, 4th Floor
24                                            Judge:        Hon. Lucy H. Koh
                                              Trial Date:   January 4, 2019
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                     1          Qualcomm Incorporated (“Qualcomm”) submits the following proposed findings of fact

                     2   and conclusions of law with respect to the trial of this action.

                     3                                          FINDINGS OF FACT

                     4   I.     THE PARTIES

                     5          1.      Defendant Qualcomm Incorporated, founded in 1985, is a Delaware corporation

                     6   with its principal place of business in San Diego, California. Qualcomm engages in the

                     7   development and commercialization of foundational techniques and products used in mobile

                     8   devices and other cellular products. Qualcomm’s operating segment relating to its chip and

                     9   software business is called Qualcomm CDMA Technologies (“QCT”). Qualcomm’s operating
                    10   segment relating to the licensing of its patents is called Qualcomm Technology Licensing

                    11   (“QTL”).

                    12          2.      Plaintiff Federal Trade Commission is a federal administrative agency with its

                    13   principal office in Washington, D.C.

                    14   II.    THE MOBILE COMMUNICATIONS INDUSTRY AND THE HISTORY OF
                                QUALCOMM
                    15
                                3.      The cellular industry is a relatively young industry. It includes participants that
                    16
                         contribute to the industry at one or more of a number of different levels. Some firms innovate,
                    17
                         inventing the cellular technologies that make mobile communications and efficient use of
                    18
                         spectrum possible. Some firms implement, manufacturing the user devices (e.g. handsets and
                    19
                         tablets) that people use and the network equipment (e.g. base stations) that network operators
                    20
                         such as carriers use. And, some firms manufacture components specified by implementers, such
                    21
                         as power supplies and batteries for infrastructure equipment and modem chips, batteries,
                    22
                         touchscreens, etc. for user devices.
                    23
                                4.      Qualcomm is an innovation company that makes its innovations available to other
                    24
                         members of the industry by contributing them to technical specifications developed and approved
                    25
                         by industry participants in global collaborative standards development partnerships, and licensing
                    26
                         them for use in devices that implement cellular communications standards. Qualcomm also
                    27
                         designs and supplies modem chips and other components of cellular devices.
                    28
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 1          5.      Qualcomm was founded in July 1985 by Irwin Jacobs, Harvey White, Andrew

 2   Viterbi, Klein Gilhousen, Franklin Antonio, Dee Coffman and Andy Cohen, with each founder

 3   contributing roughly $1500 to start the new company.

 4          6.      Cellular standards are often viewed as generational. The second generation of

 5   wireless standards is referred to as “2G,” the third generation as “3G,” the fourth generation as

 6   “4G” and the fifth generation as “5G.”

 7          7.      At the time Qualcomm was founded in 1985, technology development in the

 8   cellular industry was moving from analog 1G systems introduced in the early 1980’s to digital 2G

 9   systems. 2G technology was developed, in part, to address the issue of how to improve the
10   efficiency of use of cellular spectrum for voice communications, as available spectrum for

11   cellular communications is limited and expensive.

12          8.      In Europe, GSM (Global System for Mobile), a standard based on TDMA (Time

13   Division Multiple Access) technology, was being developed at that time. Qualcomm advocated a

14   different approach to solving the problem of spectrum efficiency. That approach involved the use

15   of CDMA (Code Division Multiple Access) technology.

16          9.      CDMA systems differ from TDMA systems in a number of advantageous ways.

17   First, CDMA uses spreading codes, and not frequency, to separate channels. Each CDMA cell

18   uses the same frequencies, avoiding the need for complicated and inefficient frequency planning

19   in deploying cells (as happened in GSM networks). Second, CDMA spreads the signal to a much
20   wider bandwidth, which makes the system more resistant to interference at a particular frequency.

21   Third, CDMA enables soft-handoff in which the mobile device can communicate with two base

22   stations simultaneously, reducing dropped calls and increasing signal quality by allowing the

23   mobile device to aggregate signals sent over different paths.

24          10.     The industry was skeptical when Qualcomm first proposed CDMA. Starting in

25   1989, Qualcomm faced a negative response from many industry participants who took the view

26   that CDMA technology was technologically impossible or would not be cost-effective in a

27   competitive cellular marketplace.

28
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 1          11.     Qualcomm then began the work of convincing the industry otherwise through

 2   advocacy and demonstrations.

 3          12.     There were no manufacturers willing to make CDMA equipment (handsets or

 4   infrastructure equipment) because they did not believe that it was going to be successful

 5   technically or commercially. As a first step, Qualcomm had to invest millions of dollars to build

 6   prototypes to demonstrate the system could be successful. This required Qualcomm to raise

 7   capital for investment.

 8          13.     After early successful demonstrations, in the early 1990’s, six operators and

 9   equipment manufacturers, including AT&T, NYNEX Mobile, Ameritech Mobile
10   Communications, Motorola, OKI Electric and PacTel Cellular, agreed to invest in Qualcomm’s

11   research and development on CDMA. It was at this time that Motorola and AT&T entered into

12   the first licensing agreements with Qualcomm, each contributing $12 million to Qualcomm for

13   further development of CDMA technology.

14          14.     In July 1993, a standard based on Qualcomm’s CDMA technology was adopted by

15   a North American standards development organization as IS-95.

16          15.     In order to continue to convince a skeptical industry to commercialize CDMA on a

17   wide scale, Qualcomm entered the product business, in large part to demonstrate the value of its

18   technology. In 1994, Qualcomm and Sony Electronics Inc. formed a joint venture general

19   partnership named Qualcomm Personal Electronics (QPE), with 51% ownership by Qualcomm,
20   to design, manufacture and sell cellular portable phones.

21          16.     Similarly, in December 1994, Qualcomm and Northern Telecom entered into an

22   agreement to jointly manufacture CDMA infrastructure equipment complying with the IS-95

23   standard.

24          17.     In October 1995, Qualcomm formed the Qualcomm CDMA ASIC division (later

25   known as QCT) to continue the development and production of CDMA chips and attendant

26   software.

27

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 1            18.   In October 1995, Hutchinson Telecom in Hong Kong launched the first

 2   commercial CDMA system.

 3            19.   By December 1998, the number of cdmaOne subscribers worldwide reached 23

 4   million. With its cellular technology gaining broader acceptance in the industry, Qualcomm

 5   began divesting most of its product businesses.

 6            20.   In March of 1999, Qualcomm and Ericsson settled ongoing patent litigation. As

 7   part of the settlement, in a complex commercial deal, Qualcomm sold its infrastructure business

 8   to Ericsson and granted Ericsson a license for the manufacture and sale of handsets and

 9   infrastructure equipment practicing Qualcomm’s patents.
10            21.   In late 1999, Qualcomm agreed to sell to Kyocera Wireless Corp. substantially all

11   the assets of its wireless portable phone business. This left Qualcomm with two main business

12   lines: (a) the continued development of fundamental cellular technology, and (b) the supply of

13   modem chips and other components for cellular devices.

14            22.   By 2000, and through the standardization of WCDMA and CDMA2000, CDMA

15   became the multiple access technique for the air interface of 3G cellular networks around the

16   world.

17            23.   These developments, in particular the adoption of WCDMA as the 3G standard on

18   networks that had used GSM for 2G communication, reflected the recognition of the cellular

19   industry, including historic proponents of GSM, that Qualcomm’s CDMA technology was
20   superior to TDMA for the efficient use of spectrum, including for the purpose of sending and

21   receiving large amounts of data over a cellular network.

22   III.     QUALCOMM’S LICENSE AGREEMENTS AND TERMS
23            24.   Historically, many major participants in the cellular industry, including firms such

24   as Nokia, Motorola and Ericsson, were vertically integrated and participated at multiple levels in

25   the industry – including as developers and suppliers of technology, handsets, chips and

26   infrastructure equipment. As a result, they had incentives to maximize margins at the product

27   supply level, even if at the expense of reduced royalty revenue opportunities.

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 1          25.     Many major participants in the cellular industry today are primarily implementers

 2   of technology that make and sell user devices such as cellular handsets, and network equipment

 3   such as infrastructure equipment. Implementers also have incentives to maximize margins at the

 4   product supply level.

 5          26.     Qualcomm, by contrast, as an innovation firm, has different incentives.

 6   Qualcomm and other innovation firms have incentives to promote competition that results in

 7   thriving downstream user device and network equipment sales market-wide.

 8          A.      Qualcomm’s Early CDMA Licenses Before It Even Had A Chip Business
 9                  1.       2G CDMA Licenses
10          27.     Qualcomm’s first business in cellular communications was developing and

11   licensing its patented technologies. This is because Qualcomm has always sought to propagate its

12   cellular technologies broadly, rather than keep them as proprietary. For this reason, Qualcomm

13   has always sought to earn a return on its R&D efforts by obtaining patents on its inventions and

14   making those inventions available to the industry though licensing those patents to others.

15          28.     Qualcomm entered into five license agreements before the first CDMA standard

16   (IS-95) was finalized in 1995.

17          29.     Qualcomm entered into its first license agreement that licensed its CDMA

18   technology (“CDMA License Agreement”) with AT&T in July 1990.

19          30.     Qualcomm entered into its second CDMA License Agreement on September 26,
20   1990 with Motorola.

21          31.     These agreements provided for a royalty rate of 4% of the Net Selling Price (as

22   defined in the agreements) of an end-user product to be paid to Qualcomm, and that the royalty

23   rate payable by AT&T and Motorola would not exceed 80% of the rate contained in any license

24   agreement with a third party to CDMA technology.

25          32.     AT&T and Motorola each also provided $12 million in funds to support

26   Qualcomm’s development and early trials of CDMA-based systems.

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 1          33.     At the time these first license agreements were entered into, Qualcomm held only

 2   nine patents. Qualcomm’s overall patent portfolio has had a compound annual growth rate of

 3   31% for the last twenty years. In 1999, the year that the WCDMA standard was adopted,

 4   Qualcomm received 510 patents. In 2015 alone, Qualcomm obtained nearly 9,000 new patents.

 5          34.     After concluding the AT&T and Motorola agreements, Qualcomm began to

 6   negotiate and enter into license agreements for the use of its CDMA technology with handset

 7   manufacturers around the world. These agreements were generally titled Subscriber Unit License

 8   Agreement (“SULA”), and offered broad licenses to both SEPs and non-essential patents.

 9   Qualcomm entered into early SULAs with, among others, Nokia on April 9, 1992; Oki Electric
10   Industry Co., on July 26, 1993; and Matsushita Communication Industrial Co., Ltd., on December

11   20, 1993.

12          35.     The vast majority of the SULAs had the same general structure. The SULAs

13   generally provided a license to certain Qualcomm patent rights to “make and have made, import,

14   use, sell, offer to sell and otherwise dispose” of “Subscriber Units,” generally defined as complete

15   end-user devices that implement one or more air interface standards (e.g. CDMA or WCDMA)

16   identified in the agreement. The grant from Qualcomm generally covered both patents that are

17   essential to the specified standards (referred to in the SULAs as “Technically Necessary IPR”)

18   and patents that are not essential but are commercially valuable (referred to in the early SULAs as

19   “Commercially Necessary IPR” and later as “Other IPR.”)
20          36.     In exchange for a license to Qualcomm’s patents, Qualcomm’s SULAs provided

21   for monetary and non-monetary consideration from the licensee. The monetary value generally

22   took two forms – a lump sum “upfront fee” and running royalties. The non-monetary

23   consideration generally included a cross-grant to certain of the licensee’s patents.

24          37.     The 2G SULAs generally called for payment to Qualcomm of a running royalty at

25   a rate of 6.5% to 5%, on a sliding scale, based on volume of licensed handsets sold. The running

26   royalties are calculated as a percentage of the Net Selling Price (as defined in the SULA) of the

27   Subscriber Units sold by the licensee.

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 1             38.   The patents included in the grant from Qualcomm and the cross-grant from the

 2   licensee were sometimes limited to those filed or acquired during a defined capture period or

 3   improvement period, meaning that only patents filed or acquired prior to the improvement or

 4   capture period are included in the grant, while patents filed or acquired after the improvement or

 5   capture period ends are not. In other cases, cellular SEPs related to the products implementing

 6   one or more of the licensed air interface standards were not subject to a capture or improvement

 7   period.

 8                   2.     CDMA License Agreements to Korean OEMs
 9             39.   In 1993, four Korean manufacturers designated by the Korean Electronics and
10   Telecommunications Research Institute – Samsung, Maxon, Hyundai and Lucky Goldstar (now

11   known as LG Electronics) – collectively negotiated and entered into licensing agreements with

12   Qualcomm subject to review and approval by the Korean government.

13             40.   These agreements contained a flat royalty rate of 5.25% of Net Selling Price for

14   handsets sold in Korea, and 5.75% of Net Selling Price on handsets sold outside Korea. The

15   purpose of the lower rates for handsets sold in Korea was to promote the deployment in Korea of

16   the world’s first CDMA large-scale commercial networks.

17             B.    The Founding of Qualcomm’s CDMA Chip Business
18             41.   Qualcomm’s chip business began in October 1995 when it formed its CDMA

19   ASIC Products Unit.
20             42.   Before Qualcomm had a chip business, Qualcomm already had SULAs with the

21   following 16 OEMs, which include all major OEMs of the period but for Ericsson: AT&T Corp.,

22   Motorola Inc., OKI Electric Industry Co., Ltd., Nokia Corp., Alps Electric Co., Ltd. Alpine

23   Electronics Inc., LG Electronics Inc., Maxon Telecom Co., Ltd., Samsung Electronics Co., Ltd.,

24   Panasonic Mobile Communications Co., LTD., NEC Corp., Mitsubishi Electric Corp., Toshiba

25   Corporation, Hyundai, Sanyo Electric Co., Ltd. and Fujitsu Limited.

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 1           43.    Qualcomm’s typical royalty rates of 6.5-5% were established based on

 2   negotiations conducted at a time when Qualcomm was a new company, with untested technology

 3   that had not yet been standardized and before Qualcomm began to sell chips.

 4           44.    When Qualcomm started its CDMA chip business, the licensing business was

 5   already established as the mechanism for Qualcomm to obtain return on its R&D investments.

 6   Qualcomm therefore had no reason to price the value of its intellectual property (IP) into its chips,

 7   and never did so. With the highly competitive modem chip marketplace and the fact that

 8   Qualcomm’s modem chip competitors can follow and leverage technology developed by

 9   Qualcomm and others without incurring any R&D expenses to develop it, it is not practicable
10   today for Qualcomm to price its IP into the cost of the modem chip.

11           45.    Qualcomm’s first CDMA modem chip was shipped by QCT in 1996.

12           46.    There is no economically meaningful difference in the CDMA royalty rates in

13   Qualcomm’s SULAs entered into prior to the time Professor Shapiro alleges Qualcomm gained

14   monopoly power in the alleged market for CDMA modem chips, and those entered into after that

15   date.

16           C.     Qualcomm’s WCDMA Licenses Were Similarly Executed Before WCDMA
                    Was Standardized and Before Qualcomm Sold WCDMA Chips
17
             47.    Qualcomm concluded a WCDMA patent license agreement with Philips
18
     Electronics N.V. (“Philips”) on February 26, 1998, almost two years before the approval of the
19
     WCDMA standard in 3GPP.
20
             48.    Qualcomm and Ericsson entered into a SULA on March 24, 1999 that included
21
     cross-licenses to one another’s patents that covered cdmaOne, CDMA2000 and WCDMA handset
22
     products.
23
             49.    In 1999, before 3G was standardized, Qualcomm publicly stated that its 3G rates
24
     would be the same as its CDMA 2G rates.
25
             50.    Qualcomm entered into 16 WCDMA-only licenses before the approval of the
26
     WCDMA standard.
27

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 1          51.    Qualcomm continued to enter into SULAs specifically including licenses to

 2   practice patents essential to the 3G CDMA2000 and WCDMA standards in early 2000. As

 3   Qualcomm had announced they would, the 3G agreements reflected comparable terms to the

 4   preceding 2G agreements.

 5          52.    Qualcomm shipped its first WCDMA modem chip in October 2001. This chip

 6   was not successful commercially due to its lack of support for backward compatibility with the

 7   GSM standard.

 8          53.    It was not until 2004 that Qualcomm commercially shipped its first WCDMA

 9   modem chip that integrated backwards compatibility with GSM.
10          54.    Qualcomm entered into 22 licenses covering WCDMA before it shipped a viable

11   WCDMA/GSM chip.

12          55.    There is no economically meaningful difference between Qualcomm’s WCDMA

13   royalty rates, where it is not even alleged to have market power, and its CDMA royalty rates.

14          56.    There is no economically meaningful difference between the WCDMA royalty

15   rates in Qualcomm’s SULAs entered into prior to the time that Qualcomm began selling

16   WCDMA modem chips and those entered into after that date.

17          D.     Chinese Framework Agreements
18          57.    The Chinese government did not permit Qualcomm to enter its first license

19   agreement with a Chinese company until after it executed a “Framework Agreement for CDMA
20   Intellectual Property” (the “F/A”), dated January 28, 2000, with wireless operator China Unicom

21   acting as a proxy for the Chinese government, and after a Memorandum of Understanding was

22   negotiated and signed with the Chinese Ministry of Information Industry.

23          58.    In 2001, Qualcomm began entering into CDMA license agreements with Chinese

24   licensees selected by the Chinese government.

25          59.    The early CDMA license agreements with Chinese licensees based on the F/A and

26   the MOU included a special royalty rate of 2.65% for handsets manufactured by Chinese

27   licensees in China and sold within China, for use within China. For sales outside China, the

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 1   royalty rate was 7% for the first three years of the license agreement, then decreasing to

 2   Qualcomm’s standard 5 to 6.5% sliding scale.

 3          E.      Qualcomm’s LTE Agreements
 4          60.     Qualcomm entered into the first license for use of its 4G patents in non-3G

 5   subscriber units on February 23, 2006, with SOMA Networks, Inc.

 6          61.     In December 2008, LTE Release 8 was frozen.

 7          62.     Prior to the adoption of the LTE standard in December 2008, Qualcomm

 8   announced that for subscriber units that implement LTE but do not implement any 3G CDMA

 9   standard, it expected it would charge royalties under its SEPs through LTE Release 8 of
10   approximately 3.25% of wholesale selling price.

11          63.     Qualcomm entered six LTE-only licenses effective before the date LTE Release 8

12   was frozen – SOMA Networks, Inc., Nokia, LG, Exoteq Aps, LeadTek Research Inc., United

13   Computer & Telecommunication, Inc. In 2010, Qualcomm produced its first LTE modem chips.

14          64.     Qualcomm does not require its 3G licensees to enter a separate license to practice

15   Qualcomm’s patents essential to the 4G standard in multimode subscriber units that include a 3G

16   mode of operation. Licensees are permitted to practice 4G SEPs and pay royalties on sales of

17   multimode subscriber units in accordance with their 3G SULAs. A separate license to

18   Qualcomm’s patents essential to the 4G standard is only required for 4G products that do not also

19   include a CDMA or WCDMA mode of operation.
20          65.     Prior to the introduction of its first LTE chips in 2010, Qualcomm entered into 68

21   WCDMA-only agreements, and 69 before 2011, the date Qualcomm is alleged to have obtained

22   market power in what the FTC defines as “premium” LTE modem chips. The royalty rates of

23   these agreements were not, and could not have been, influenced or impacted by purchases of, or

24   potential purchases of, Qualcomm CDMA or “premium” LTE modem chips.

25          66.     There is no economically meaningful difference between the royalty terms in

26   WCDMA-only agreements that were entered into prior to 2011 and those entered after that date.

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 1           67.     From 2011-2018, Qualcomm did not sell any modem chips for handsets that

 2   supported only LTE capabilities. Rather, all LTE modem chips sold by Qualcomm were multi-

 3   mode chips, supporting both 2G and 3G capabilities in addition to LTE capabilities.

 4           68.     Qualcomm’s 2G and 3G licensees were, as a result, able to buy multi-mode

 5   LTE/3G/2G modem chips from Qualcomm and did not need to enter into single mode LTE

 6   licenses in order to buy LTE modem chips from Qualcomm.

 7           69.     Qualcomm has entered into 312 LTE-only licenses, and does not yet sell modem

 8   chips for handsets that support only LTE capabilities. The royalty rates of these licenses were not

 9   influenced or impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or
10   “premium” LTE modem chips.

11           70.     There is no economically meaningful difference between the LTE royalty rates in

12   Qualcomm’s agreements with licensees, based on the number of Qualcomm’s modem chips that a

13   licensee uses, if any.

14           71.     The royalty rates of the single mode LTE licensing agreements were not

15   influenced or impacted by purchases of, or potential purchases of, Qualcomm CDMA or

16   “premium” LTE modem chips.

17           72.     The royalty rates of multimode license agreements that included both a CDMA

18   standard and LTE were not influenced or impacted by purchases of, or potential purchases of,

19   Qualcomm’s CDMA or “premium” LTE modem chips.
20           73.     In 2015, after China’s National Development and Reform Commission (“NDRC”)

21   concluded its investigation of Qualcomm, Qualcomm offered and entered into license agreements

22   for complete end-user devices known as Chinese Patent License Agreements (“CPLAs”),

23   pursuant to a Rectification Plan approved by the NDRC.

24           74.     The CPLAs provide a license only to Qualcomm’s Chinese patents that are

25   essential to a specified cellular standard only for devices made and sold for use in China or made

26   in China and sold for use in a jurisdiction in which Qualcomm does not own patents.

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 1             75.   The CPLAs provide for a royalty rate for LTE devices of 3.5% of the Net Selling

 2   Price for non-branded devices or 3.5% of the Adjusted Net Selling Price (defined as 65% of Net

 3   Selling Price) for branded devices. The CPLAs provide a royalty rate for CDMA devices of 5%

 4   of the Net Selling Price for non-branded devices or 5% of the Adjusted Net Selling Price (defined

 5   as 65% of Net Selling Price) for branded devices.

 6             76.   Some CPLAs are titled Complete Terminal Chinese Patent License Agreement

 7   (“CTCPLA”).

 8             77.   The Rectification Plan provides that with respect to Chinese manufacturers that

 9   purchase modem chips from Qualcomm under a chip sales agreement, Qualcomm will not
10   terminate the chip sales agreement or the supply of chips under that agreement based on a good

11   faith dispute over the customer’s CPLA. The Rectification Plan further provides that Qualcomm

12   will not terminate the customer’s supply of chips due to a breach of the CPLA without first

13   obtaining a determination by a third party adjudicator that the breach is material, and if such

14   breach is determined to be material, Qualcomm will give the customer at least 60 days to cure the

15   breach.

16             78.   The Rectification Plan also provides that Qualcomm is not required to sell chips to

17   entities that are not Qualcomm licensees.

18             79.   In 2015, Qualcomm revised the agreement it typically uses as a starting point for

19   negotiations and renamed that template the “Complete Terminal Patent License Agreement” or
20   “CTPLA” in place of the term “SULA” used previously.

21             80.   Through the CTPLA, Qualcomm grants rights to both essential and non-essential

22   patents worldwide, excluding Chinese patents which are now typically covered by the CPLAs

23   described above.

24             F.    Qualcomm’s 5G Agreements
25             81.   In November 2017, Qualcomm announced royalty terms for 5G: an effective

26   running royalty rate for an SEP-only license of 3.25% of the selling price for branded multi-mode

27   (3G/4G/5G) handsets and 2.275% for branded single-mode handsets, and royalty rates for

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 1   portfolio licenses including both SEPs and NEPs (non-essential patents) of 4% of the selling price

 2   for branded single mode handsets and 5% for branded multimode handsets.

 3          82.     The 5G standard in Release 15 was approved in December 2017.

 4          83.     In 2018, Qualcomm entered into agreements covering patents essential to the 5G

 5   standard and including the announced 5G running royalty rates with Chinese OEMs Xiaomi,

 6   Meizu and TCL, and a number of additional OEMs including Motorola/Lenovo, ASUStek and

 7   Sharp. In total, as of November 2018, 29 such agreements were entered in 2018.

 8          84.     Qualcomm does not currently sell any 5G chips commercially.

 9          G.      Caps On Royalties
10          85.     For more than 20 years, Qualcomm has negotiated and agreed to include in license

11   agreements a maximum royalty provision that capped the royalty payable on handsets to a

12   maximum amount, regardless of the selling price of the handset. Such a cap, in the amount of

13      , was included in the Sharp SULA entered into April 30, 1997.

14          86.     Over the years, Qualcomm has also, on a voluntary basis and based on its

15   monitoring of market conditions and discussions with licensees, conducted a voluntary royalty

16   cap program that limits the royalty payable on handsets to a maximum amount, regardless of the

17   selling price of the handset. That cap was for many years $25 per handset.

18          87.     In early 2018, Qualcomm modified its voluntary royalty cap program for handsets

19   to provide for a maximum handset selling price against which the royalty rate will be calculated,

20   instead of capping the royalty itself. As of April 2018, the maximum handset selling price

21   (generally the licensee’s wholesale selling price net of certain permissible deductions such as

22   transportation, insurance, packing costs and other items), used for purposes of calculating the

23   royalty owed to Qualcomm, is $400. Applying the $400 maximum handset selling price for

24   royalty cap purposes, no handset subject to a 5% royalty rate yields payment of a royalty in

25   excess of $20, and handsets subject to lower royalty rates have lower maximum royalty

26   payments.

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 1            H.    Specific OEM Licensing Negotiations

 2                  1.      Motorola/Lenovo

 3            88.   Qualcomm and Motorola Inc. entered into a CDMA licensing agreement on

 4   September 26, 1990, five years before Qualcomm began selling modem chips. The agreement

 5   specified a 4% royalty on subscriber units (a rate that had been discussed by the parties as early as

 6   May 1, 1990) an upfront payment by Motorola of $12 million, and a cross-grant of Motorola’s

 7   patents to Qualcomm.

 8            89.   At the time Motorola executed its agreement, Qualcomm was not selling CDMA

 9   chips. Thus, the royalty rates in the 1990 CDMA licensing agreement were not influenced or

10   impacted by purchases of, or potential purchases of, Qualcomm CDMA or “premium” LTE

11   modem chips.

12            90.   Qualcomm and Motorola extended their license to cover WCDMA at a 5% royalty

13   on April 11, 2003. In 2003-04, Motorola purchased less than 15% of its modem chips from

14   Qualcomm.

15            91.   The royalty rates in the 2003 WCDMA licensing agreement were not influenced or

16   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

17   modem chips.

18            92.   Qualcomm and Lenovo signed a 10-year CDMA license agreement on June 30,

19   2003 governing Chinese sales. Lenovo reported no sales to Qualcomm under that agreement, of

20   any cellular devices including a Qualcomm modem chip, until 2009.

21            93.   The royalty rates in the 2003 license agreement were not influenced or impacted

22   by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem

23   chips.

24            94.   Qualcomm and Lenovo amended the license agreement to cover WCDMA on

25   March 28, 2007. At the time, and until Q4 2009, Lenovo reported no sales of cellular devices

26   including modem chips purchased from Qualcomm.

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 1            95.    The royalty rates in the 2007 license agreement amendment were not influenced or

 2   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

 3   modem chips.

 4            96.    Qualcomm and Lenovo discussed renewing their 2003 CDMA license agreement

 5   when it was set to expire in 2013. Qualcomm proposed that Lenovo renew the agreement with

 6   the same terms, per the provisions of the 2003 agreement. The parties entered into a 10-year

 7   extension on June 27, 2013, but, per Lenovo’s request, the extension allows for termination with a

 8   30-day notice. Lenovo has not chosen to exercise the right to terminate.

 9            97.    In 2013, Lenovo used Qualcomm modem chips in                    of its devices and

10   used MediaTek’s and others’ modem chips in           of its devices.

11            98.    In 2014, Google, which had acquired Motorola Mobility three years earlier, sold it

12   to Lenovo.

13            99.    In a letter dated June 5, 2014 from Eric Reifschneider and Cristiano Amon,

14   Qualcomm provided Lenovo with assurances that its chip supply would not be interrupted,

15   notwithstanding licensing disputes.

16            100.   Qualcomm and Lenovo entered into a CPLA covering sales of devices in China

17   only, including LTE, WCDMA and CDMA, in February 2016. The royalty rate for CDMA and

18   WCDMA devices is 3.25% (5% of the adjusted Net Selling Price, which is defined as 65% of Net

19   Selling Price), and the royalty rate for LTE devices is 2.275% (3.5% of the adjusted Net Selling

20   Price, defined at 65% of Net Selling Price).

21            101.   The royalty rates in the 2016 license agreement were not influenced or impacted

22   by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem

23   chips.

24            102.   Motorola/Lenovo had stated in internal communications that its target Qualcomm

25   royalty rate was 3.6%, and Motorola Mobility’s actual paid royalty rate was between 3.5-3.8%.

26            103.   Qualcomm entered into two licensing agreements with Lenovo and Motorola

27   Mobility on September 30, 2018. The first covered sales within China, including 5G, LTE,

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 1   WCDMA and CDMA. The second covered sales outside of China, including 5G, LTE, WCDMA

 2   and CDMA. Under both agreements, the royalty rate for single-mode devices is 2.275% (3.5% of

 3   Adjusted Net Selling Price, defined as 65% of Net Selling Price), and for multi-mode devices is

 4   3.25% (5% of Adjusted Net Selling Price, defined as 65% of Net Selling Price). Both the single-

 5   mode and multi-mode royalty rates are below the specified Lenovo and Motorola internal target

 6   royalty rate.

 7           104.    The royalty rates in the 2018 license agreements with Lenovo and Motorola

 8   Mobility were not influenced or impacted by purchases of, or potential purchases of, Qualcomm’s

 9   CDMA or “premium” LTE modem chips.
10           105.    Cristiano Amon, current President of Qualcomm Incorporated, assured

11   Lenovo/Motorola Mobility at a December 2015 meeting that its chip supply would never be cut

12   due to licensing negotiations. Neither Lenovo’s nor Motorola’s modem chip supply has ever

13   been cut.

14           106.    Motorola Mobility used the threat of using a Qualcomm competitor for the supply

15   of high-volume “low end” modem chips in order to obtain better prices on Qualcomm’s 800

16   series LTE multi-mode modem chips. During much of the relevant time period, Motorola

17   sourced modem chips from multiple vendors.

18           107.    Motorola Mobility considers CDMA support to be an optional feature, and the vast

19   majority of Motorola Mobility’s handsets do not support it. CDMA is not required by any U.S.
20   carriers except Sprint, which Motorola does not consider material to chip decisions. Companies

21   other than Qualcomm supply modem chips that are suitable for use with CDMA networks.

22           108.    Motorola Mobility licensed its own cellular patents to other OEMs at the device

23   level with royalties calculated as a percentage of the price of the entire handheld device.

24                   2.     Blackberry
25           109.    Qualcomm and BlackBerry entered into a Subscriber Unit License Agreement for

26   CDMA technology on March 22, 2000.

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 1          110.    The 2000 Subscriber Unit License Agreement included a                upfront fee

 2   and had a royalty rate of 5.25% of the Net Selling Price.

 3          111.    BlackBerry did not report a royalty bearing sale of a handset with a Qualcomm

 4   modem chip under its license agreement until the fourth quarter of 2002, which was two-and-a-

 5   half years after the 2000 Subscriber Unit License Agreement was signed, and reported only 720

 6   total units in 2002.

 7          112.    Qualcomm and BlackBerry signed an Amendment to the Subscriber Unit License

 8   to cover worldwide handset sales and WCDMA technology on March 21, 2001, before

 9   Qualcomm shipped its first WCDMA modem chip.

10          113.    The royalty rates in the 2000 CDMA Subscriber Unit License Agreement and

11   2001 WCDMA Amendment were not influenced or impacted by purchases of, or potential

12   purchases of, Qualcomm’s CDMA or “premium” LTE modem chips.

13          114.    Qualcomm and BlackBerry signed another Amendment to the Subscriber Unit

14   License Agreement for CDMA and WCDMA technology on January 26, 2011, effective as of

15   October 1, 2010.

16          115.    The 2010 Subscriber Unit License Agreement Amendment (“2010 Blackberry

17   SULA Amendment”) included a

18

19                                                    , and included a fixed term that would expire

20   December 31, 2013 if the agreement was not earlier terminated by one of the parties. That date

21   was later extended to December 31, 2016 in an amendment executed on December 31, 2012.

22          116.    The 2000 and 2001 agreements had no termination date. Blackberry could have

23   continued under those earlier agreements rather than enter into the 2010 Blackberry SULA

24   Amendment, and it resumed operation under those earlier agreements upon conclusion of the

25   term of the 2010 Amendment.

26          117.                                  reported by Blackberry under its agreements with

27   Qualcomm at the time the 2010 Amendment was entered into used a Qualcomm modem chip, and

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 1                of the device sales reported by Blackberry under its agreements with Qualcomm for

 2   2011 used a Qualcomm modem chip.

 3          118.      Qualcomm and Blackberry signed a Component Supply Agreement effective

 4   January 26, 2011, the same date the 2010 Blackberry SULA Amendment was signed, that

 5   included an Assurance of Supply as Exhibit K.

 6          119.      John Grubbs, Senior Director of IP Transactions of Blackberry, admits he was

 7   aware of no threat ever made by Qualcomm to withhold software support or stop modem chip

 8   deliveries.

 9          120.      The royalty rates in the 2010 Subscriber Unit License Agreement Amendment

10   were not influenced or impacted by purchases of, or potential purchases of, Qualcomm’s CDMA

11   or “premium” LTE modem chips.

12                    3.     Huawei
13          121.      Huawei entered into a standard Chinese framework agreement covering CDMA

14   patents (IS-95, CDMA and CDMA2000 Subscriber Units) with Qualcomm in 2003.

15          122.      The 2003 Subscriber Unit License Agreement was patterned on a framework

16   agreement negotiated between Qualcomm and the Chinese government.

17          123.      Huawei was designing chips as far back as 2001, even before it adopted the name

18   HiSilicon.

19          124.      HiSilicon is wholly owned by Huawei and designs chips internally to reduce the

20   costs of hardware design and to serve as a chip supplier to Huawei’s outside vendors.

21          125.      In 2004, HiSilicon was making baseband chips for 3G/WCDMA.

22          126.      In a Memorandum of Understanding, dated July 21, 2004, Qualcomm and Huawei

23   agreed upon terms to govern commercialization by Huawei of products compliant with the

24   WCDMA standards.

25          127.      Huawei reported no sales of devices including a WCDMA modem chip purchased

26   from Qualcomm in 2004.

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 1               128.   Huawei did not need a WCDMA license to buy either LTE or CDMA modem

 2   chips from Qualcomm.

 3               129.   The royalty rates in the 2003 CDMA Subscriber Unit License Agreement and

 4   2004 WCDMA Memorandum of Understanding were not influenced or impacted by purchases of,

 5   or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem chips.

 6               130.   In 2013, Huawei renewed the 2003 CDMA Subscriber Unit License Agreement

 7   for 10 more years with the right to terminate early through an Amendment to the Subscriber Unit

 8   License Agreement.

 9               131.   Huawei manufactured its own CDMA modem chips in-house with HiSilicon since

10   at least 2016.

11               132.   During negotiations for a new license agreement, on November 14, 2013, Huawei

12   proposed a royalty rate of           for a license to Qualcomm’s patents essential to the LTE

13   standard.

14               133.   In 2014, Huawei developed what it considered to be its first “high-end” chips for

15   4G with 3G/WCDMA capability.

16               134.   By December 2014, Huawei was producing its own “high-end” LTE modem chips

17   via HiSilicon to incorporate into its handsets.

18               135.   Huawei entered into a Subscriber Unit License Agreement covering patents

19   essential to the LTE and WCDMA standards with Qualcomm in December 2014, effective July 1,

20   2014.

21               136.   The 2014 Agreement included a license for WCDMA technology at a royalty rate

22   of 3.25% (5% of the Modified Net Selling Price, which is defined as 65% of Net Selling Price)

23   for sales in China and                                                      , and royalty rates for

24   LTE technology at a royalty rate of 2.275% (3.5% of the Modified Net Selling Price, defined at

25   65% of Net Selling Price) for sales in China and

26           .

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 1          137.   From April 2014 until the 2014 Agreement was signed, Huawei withheld all

 2   royalty payments to Qualcomm. During that time period, Qualcomm never stopped supplying

 3   Huawei with modem chips, in whole or part.

 4          138.   The proportion of handsets with a Qualcomm modem chip reported to Qualcomm

 5   by Huawei decreased significantly after 2011 and has continued to decrease overall ever since.

 6          139.   The royalty rates in the 2013 CDMA license extension and 2014 LTE and

 7   WCDMA license agreement were not influenced or impacted by purchases of, or potential

 8   purchases of, Qualcomm’s CDMA or “premium” LTE modem chips.

 9          140.   Huawei has been withholding royalty payments to Qualcomm since the beginning

10   of 2017, and continues to withhold certain amounts due.

11          141.   During the time period in which Huawei has withheld royalty payments to

12   Qualcomm, Qualcomm has continued to supply Huawei with modem chips.

13          142.   Huawei entered into an Interim Agreement with Qualcomm in 2018 to provide for

14                                                       .

15          143.   Under the 2018 Interim Agreement, Huawei agreed to make payments of

16          between June 22, 2018 and October 30, 2018 to be credited

17       under the Subscriber Unit License Agreement.

18          144.   In 2017, Huawei self-supplied 45.1% of its modem chips, including all chips its

19   uses in its “premium” handset products.

20                 4.      Nokia
21          145.   Qualcomm and Nokia entered into a Subscriber Unit License Agreement for

22   CDMA subscriber units on April 9, 1992 (“1992 Nokia Agreement”).

23          146.   The 1992 Nokia Agreement provided a cross-grant to Qualcomm for Nokia’s

24   Technically Necessary Patents.

25          147.   As of April 9, 1992, Qualcomm did not sell CDMA chips.

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 1            148.   The royalty rates in the 1992 Nokia Agreement were not influenced or impacted

 2   by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem

 3   chips.

 4            149.   On July 2, 2001, the 1992 Nokia Agreement was amended and restated (“2001

 5   Nokia Agreement.”).

 6            150.   The 2001 Nokia Agreement applied to both CDMA and WCDMA, and included

 7   an upfront license fee of            with a royalty rate ranging from 4-5% of Net Selling Price.

 8            151.   As of July 2001, Qualcomm did not yet have a WCDMA modem chip on the

 9   market.

10            152.   The royalty rates in the 2001 Nokia Agreement were not influenced or impacted

11   by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem

12   chips.

13            153.   On September 16, 2008, Nokia and Qualcomm entered into a new SULA effective

14   July 22, 2008 (“2008 Nokia Agreement”) that covered CDMA2000, WCDMA, GSM and OFDM

15   through December 31, 2022. The 2008 Nokia Agreement was entered into in connection with the

16   settlement of litigation that Nokia had brought against Qualcomm in Delaware relating to, among

17   other things, the companies’ licensing relationship.

18            154.   The 2008 Nokia Agreement included an upfront license fee of                with a

19   royalty rate of 5% of Net Selling Price for subscriber units implementing an air interface in

20   accordance with WCDMA or CDMA2000 standards, and 3% for subscriber units implementing

21   an air interface in accordance with OFDM standards that does not implement any CDMA or

22   WCDMA standard. WCDMA and OFDM royalties are subject to annual and quarterly caps

23   based on sales volume.

24            155.   The LTE terms in the 2008 Nokia Agreement were accepted prior to the

25   standardization of LTE, and before Qualcomm ever sold any LTE modem chip, let alone a

26   “premium” LTE chip.

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 1            156.   As part of the 2008 Nokia Agreement, Nokia assigned to Qualcomm

 2

 3            157.   Nokia first reported the sale of handsets incorporating Qualcomm modem chips in

 4               , when it reported handsets including a Qualcomm modem chip that represented             of

 5   its reportable sales under its agreements with Qualcomm.

 6            158.   The royalty rates in the 2008 Nokia Agreement were not influenced or impacted

 7   by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem

 8   chips.

 9                   5.     Sony Corp.
10            159.   Qualcomm and Sony Corp. entered into a Subscriber Unit License Agreement for

11   patents essential to the CDMA standard on September 27, 1996.

12            160.   The 1996 Subscriber Unit License Agreement included a                       upfront fee

13   and had a sliding scale royalty rate of 6.5% to 5% of the Net Selling Price, depending on volume.

14            161.   In 1999, Sony began purchasing CDMA modem chips from Qualcomm.

15            162.   The royalty rates in the 1996 Sony Agreement were not influenced or impacted by

16   purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem chips.

17            163.   Between October 2001 and February 2012, Sony operated a joint venture with

18   Ericsson called Sony Ericsson Mobile Communications (SEMC), for its handset business.

19            164.   Under this joint venture, SEMC paid royalties pursuant to Ericsson’s 1999

20   Subscriber Unit License Agreement with Qualcomm.

21            165.   In October 2011, in anticipation of Ericsson’s divestiture of its interest in the joint

22   venture, Ericsson negotiated an option for the post-divestiture entity (to be known as Sony Mobile

23   Communications (Sony Mobile) and 100% owned by Sony Corp.) to enter into a WCDMA

24   Subscriber Unit License Agreement with Qualcomm that included a 5% royalty rate. Sony Corp.

25   itself made no attempt to negotiate a WCDMA license agreement with Qualcomm prior to the

26   breakup of its joint venture with Ericsson.

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 1          166.    Once the news of the divestiture became public, but before the divestiture became

 2   final, Qualcomm reached out to SEMC representatives in January 2012 to begin discussion of a

 3   license agreement once the joint venture dissolved, at which point the post-divestiture entity

 4   would no longer be covered by the Ericsson agreement.

 5          167.    After the joint venture was dissolved in February 2012, Sony Mobile declined the

 6   option to enter into the license agreement negotiated by Ericsson. Sony Mobile remained

 7   licensed for CDMA technology under Sony Corp.’s 1996 CDMA Subscriber Unit License

 8   Agreement. Only the license to sell devices that use WCDMA technology alone – and not

 9   CDMA technology – was affected by the dissolution of the joint venture, which had relied on
10   Ericsson’s WCDMA license.

11          168.    On February 29, 2012, Qualcomm and Sony Mobile entered into a Temporary

12   Agreement while the parties negotiated an interim license agreement. Under the Temporary

13   Agreement, Sony Mobile agreed to pay Qualcomm royalties for all subscriber units sold since

14   Sony Mobile ceased to be an affiliate of Ericsson pursuant to the 1999 Ericsson Subscriber Unit

15   License Agreement in an amount to be determined by an existing (if applicable) or future

16   agreement, or barring agreement, by a court.

17          169.    Qualcomm and Sony Mobile executed an interim Subscriber Unit License

18   Agreement on May 3, 2012, effective as of February 16, 2012 (February 2012 Interim SULA),

19   that would remain in force until the end of September 2012.
20          170.    The February 2012 Interim SULA had a royalty rate of 5% of Net Selling Price.

21   Qualcomm and Sony agreed that a portion of the royalty rate, up to 3.25% of the Net Selling

22   Price, was subject to retroactive adjustment if Qualcomm and Sony subsequently agreed to a

23   royalty rate of less than 5%.

24          171.    The February 2012 Interim SULA provided that in the event the parties could not

25   agree on the royalty rate, the issue would be determined by a neutral third party.

26          172.    In late February 2012, a lower level Qualcomm employee mistakenly told Sony

27   Mobile in an email that Qualcomm’s operations team had been advised to hold all modem chip

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 1   shipments to Sony Mobile until Sony Mobile executed the interim license agreement. Within a

 2   few hours, Qualcomm’s then President and Chief Operating Officer, Steve Mollenkopf, described

 3   this notice as a “mix-up” in internal communications, and the issue was clarified with a phone call

 4   to Sony Mobile that provided assurances that nothing would happen to its chip supply.

 5   Qualcomm never held chip shipments to Sony Mobile.

 6          173.    On October 1, 2012, Qualcomm and Sony Mobile extended the term of the

 7   February 2012 Interim SULA until October 12, 2012.

 8          174.    On October 12, 2012, the February 2012 Interim SULA expired and Sony Mobile

 9   became unlicensed for WCDMA devices.

10          175.    As of October 2012, Sony Mobile did not opt to arbitrate, as it could have under

11   the February 2012 Interim SULA.

12          176.    As of October 2012, Sony Mobile was an important modem chip customer of

13   Qualcomm, and generated                 in chip revenue for the previous 12 months.

14          177.    Qualcomm and Sony Mobile entered into a Subscriber Unit License Agreement for

15   CDMA and WCDMA technologies on November 12, 2012, effective as of October 1, 2012.

16          178.    The November 2012 SULA had a three year term and included a royalty rate of

17   5% the Net Selling Price.

18          179.    During the month in which Sony Mobile was unlicensed, between October 12 and

19   November 12, 2012, Qualcomm supplied modem chips to Sony Mobile.

20          180.    The royalty rate in the November 2012 Sony Mobile SULA was not influenced or

21   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

22   modem chips.

23          181.    In October 2015, Qualcomm and Sony Corp. executed two license agreements: a

24   CDMA Complete Terminal Patent License Agreement and a China Patent License Agreement.

25          182.    The 2015 CDMA Complete Terminal Patent License Agreement has a royalty rate

26   of                              . In partial consideration for this reduced royalty rate, Qualcomm

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 1   received a cross-grant of rights under valuable Sony Corp. patents, as well as an assignment of

 2   certain patent rights from Sony Corp.

 3            183.   The 2015 China Patent License Agreement governed Sony devices made in China

 4   sold for use in China or a jurisdiction in which Qualcomm does not have patents, and also

 5   authorized importation into China of Sony devices intended for sale for use in China. It included

 6   a royalty rate for LTE only devices of 3.5% of the Net Selling Price for non-branded devices or

 7   2.275% (3.5% of adjusted Net Selling Price, defined as 65% of Net Selling Price) for branded

 8   devices. The agreement included a royalty rate for CDMA devices of 5% of the Net Selling Price

 9   for non-branded devices or 3.25% (5% of adjusted Net Selling Price, defined as 65% of Net
10   Selling Price) for branded devices.

11            184.   Qualcomm continued to supply modem chips to Sony Mobile during the 2015

12   license negotiations.

13            185.   The royalty rates in the 2015 Sony Agreements were not influenced or impacted

14   by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem

15   chips.

16                   6.      Panasonic
17            186.   Qualcomm and Matsushita Communication Industrial Co., Ltd. (“MCI”), a

18   subsidiary of Matsushita Electric Industrial Co., Ltd., entered into a Subscriber Unit License

19   Agreement with Qualcomm in December 1993.
20            187.   The 1993 Subscriber Unit License Agreement included broad grant language that

21   covered both 2G and 3G CDMA technologies (limited by a 1995 capture period), and had a

22   sliding scale royalty rate of 6.5% to 5% of the Net Selling Price, depending on volume.

23            188.   The royalty rates in the 1993 Agreement were not influenced or impacted by

24   purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem chips.

25            189.   In March 2001, after more than 18 months of negotiations, Qualcomm and MCI

26   (which subsequently changed its name to Panasonic Mobile Communications Co., Ltd. (“PMC”))

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 1   signed an Amendment to the Subscriber Unit License Agreement to cover 3G technologies not

 2   included in the original agreement.

 3          190.    The 2001 Amendment retained the sliding scale royalty rate of 6.5% to 5% of the

 4   Net Selling Price.

 5          191.    The lengthy negotiations leading to the 2001 amendment resulted in a number of

 6   terms that differed from the terms Qualcomm generally sought in a SULA. The cross-grant

 7   included only patents owned by PMC or patents otherwise originating with employees or agents

 8   of PMC that were owned by other Panasonic companies – not any other patents owned by the

 9   parent company Panasonic Corp. or other affiliates of Panasonic Corp.

10          192.    The royalty rates in the 2001 Panasonic Amendment were not influenced or

11   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

12   modem chips.

13          193.    In November 2002, Panasonic submitted a demand for arbitration after receiving a

14   letter from Qualcomm concerning Panasonic’s underreporting and underpayment of royalties.

15          194.    In September 2003, the arbitrator entered an interim order agreeing with

16   Qualcomm’s interpretation of the Net Selling Price for purposes of determining its royalty

17   calculation.

18          195.    Qualcomm and Panasonic signed an Amendment to the Subscriber Unit License

19   Agreement in January 2004 under which Panasonic agreed to pay                 in settlement costs

20   and Qualcomm agreed to a        royalty cap on Subscriber Units.

21          196.    In 2003 and 2004, Panasonic reported no sales under its license agreements of

22   handsets including modem chips purchased from Qualcomm.

23          197.    The royalty rates in the 2004 Panasonic Amendment were not influenced or

24   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

25   modem chips.

26          198.    In August 2009, Panasonic submitted a demand for arbitration, seeking a

27   declaration that it did not owe royalties on its Subscriber Units sold on or after December 2008.

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 1             199.   In October 2010, the arbitrator issued an interim order, holding in part that

 2

 3

 4             200.   Qualcomm and Panasonic signed an Amendment to the Subscriber Unit License

 5   Agreement in March 2011 in which Panasonic agreed to continue to pay royalties at            of the

 6   Net Selling Price, and Qualcomm would retain royalties (approximately                    ) that

 7   Panasonic previously paid under protest.

 8             201.   In 2010 and 2011, Panasonic reported sales under its license agreements of

 9   handsets including modem chips purchased from Qualcomm as representing                           of its

10   reported handset sales.

11             202.   The royalty rates in the 2011 Panasonic Amendment were not influenced or

12   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

13   modem chips.

14                    7.     ZTE
15             203.   ZTE entered into a standard Chinese framework agreement covering CDMA

16   patents (IS-95, CDMA and CDMA2000 Subscriber Units) with Qualcomm in 2001. The license

17   had rate of 2.65% for handsets made and sold in China, with no upfront licensing fee.

18             204.   Qualcomm and ZTE entered into an Amendment to the 2001 SULA, effective

19   January 1, 2005, that expanded the scope of the license to include WCDMA technology. The

20   applicable royalty rate for WCDMA devices was a sliding scale of 6.5% to 5% of the Net Selling

21   Price, depending on volume.

22             205.   The royalty rates in the 2001 CDMA Agreement and 2005 WCDMA agreement

23   were not influenced or impacted by purchases of, or potential purchases of, Qualcomm’s CDMA

24   or “premium” LTE modem chips.

25             206.   ZTE and Qualcomm entered into an LTE-only Subscriber Unit License

26   Agreement, effective July 1, 2011, with a royalty rate of 3.5% of the Net Selling Price of a

27   device.

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 1            207.   ZTE did not need the LTE-only Agreement to buy any Qualcomm modem chips

 2   because Qualcomm has never sold an LTE-only modem chip.

 3            208.   The royalty rates in the 2011 LTE-only Agreement were not influenced or

 4   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

 5   modem chips.

 6            209.   As early as June 2014, ZTE expressed concern about paying, and refused to pay,

 7   royalties to Qualcomm on sales of “three-mode products” (devices that practice only the LTE,

 8   TD-SCDMA, GSM standards). In response, on July 10, 2014, Eric Reifschneider and Murthy

 9   Renduchintala of Qualcomm sent ZTE a letter communicating Qualcomm’s willingness to

10   continue to supply LTE-enabled modem chips for three-mode products while the parties engaged

11   in licensing negotiations.

12            210.   ZTE stopped paying all royalties under its license in 2015. Qualcomm continued

13   to supply modem chips to ZTE.

14            211.   On September 26, 2015, ZTE and Qualcomm entered into amendments to the

15   CDMA and LTE agreements, with the following terms: sales in China – 2.275% (3.5% of

16   Adjusted Net Selling Price, defined as 65% of Net Selling Price) for LTE-only devices and 3.25%

17   (5% Adjusted Net Selling Price, defined as 65% of Net Selling Price) for CDMA devices;

18                                                for LTE-only devices and

19   for CDMA devices. Qualcomm waived royalty payments for three-mode devices sold prior to the

20   effective date of the amendments.

21            212.   The royalty rates in the 2015 ZTE Amendments were not influenced or impacted

22   by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem

23   chips.

24                   8.     Samsung
25            213.   Qualcomm and Samsung entered into an Infrastructure and Subscriber Unit

26   License and Technical Assistance Agreement for CDMA subscriber units on August 31, 1993

27   (“1993 Samsung Agreement.”) The terms of the 1993 Samsung Agreement were determined

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 1   under the supervision of the Korean government, with the same terms also offered to other

 2   Korean OEMs designated by the Korean government – Maxon, Hyundai and Lucky Goldstar

 3   (later renamed to LG).

 4          214.    The 1993 Samsung Agreement included an                    upfront fee and a royalty

 5   rate of 5.25% of Net Selling Price for subscriber units and base stations sold for use in Korea, and

 6   5.75% of Net Selling Price for subscriber units and base stations sold for use outside of Korea.

 7          215.    The royalty rates in the 1993 Samsung Agreement were not influenced or

 8   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

 9   modem chips.

10          216.    On March 29, 2004, Samsung and Qualcomm amended the 1993 Samsung

11   Agreement, changing the royalty rate to 5% for subscriber units sold outside Korea that included

12   a Qualcomm modem chip (the “2004 Samsung Amendment.”) The 2004 Samsung Amendment

13   placed a      cap on the total royalties due                                               ,

14   regardless of the selling price of the handset. The 2004 Samsung Amendment had a term of two

15   years, with a unilateral right for Samsung to extend it.

16          217.    During the negotiation of the 2004 Samsung Amendment, Samsung was already

17   licensed under the 1993 Samsung Agreement, and did not need the 2004 Samsung Amendment to

18   be able to purchase modem chips from Qualcomm. Samsung could have challenged the royalty

19   rates offered in the 2004 Amendment while continuing to purchase chips under the 1993

20   Samsung Agreement. Samsung did not do so.

21          218.    The royalty rates in the 2004 Samsung Amendment were not influenced or

22   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

23   modem chips.

24          219.    Samsung exercised its right to extend the term of the 2004 Amendment.

25          220.    Qualcomm and Samsung further amended the 1993 Samsung Agreement effective

26   January 1, 2009 (“2009 Samsung Amendment”).

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 1          221.    The 2009 Samsung Amendment was entered into after two years of negotiations

 2   and covered CDMA, WCDMA, TD-SCDMA, OFDM and GSM technologies and had a

 3          lump sum fee to be paid in three installments. The 2009 Samsung Amendment included a

 4   formula for subscriber unit royalty rates that was based on annual revenue thresholds and annual

 5   cumulative Net Selling Price, with specified floor and ceiling royalty rates of

 6                                           and                              and a cap on Net Selling

 7   Price for royalty calculation purposes of $500 for non-laptop subscriber units.

 8          222.    During the 2008-2009 negotiations between Samsung and Qualcomm, Qualcomm

 9   told Samsung that it would enter into an agreement identical to the one entered into between

10   Qualcomm and Nokia in 2008 – a deal entered into with an OEM that was not purchasing any

11   chips from Qualcomm. Samsung declined the Nokia deal, and negotiated for itself a different

12   deal that Samsung believed was better for Samsung than the Nokia deal.

13          223.    Samsung was already licensed under the 1993 Samsung Agreement and 2004

14   Samsung Amendment, and did not need the 2009 Samsung Amendment to be able to purchase

15   modem chips from Qualcomm. Samsung could have challenged the royalty rates offered in the

16   2009 Amendment while continuing to purchase modem chips under the 1993 Samsung

17   Agreement and 2004 Samsung Amendment. Samsung did not do so.

18          224.    Samsung and Qualcomm exchanged claim charts as part of the 2008 contract

19   negotiations. Samsung’s chief negotiator Injung Lee admitted that the 2009 Amendment was

20   negotiated in good faith, and that Qualcomm made no ultimatums.

21          225.    During their 2008 negotiations leading to the 2009 Amendment, Qualcomm

22   assured Samsung that the negotiations would not affect chip supply. Samsung was only supplied

23   by Qualcomm with 36% of its modem chip requirements at this time.

24          226.    The royalty rates in the 2009 Samsung Amendment were not influenced or

25   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

26   modem chips.

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 1          227.    On January 30, 2018, Qualcomm and Samsung entered into an amendment to the

 2   1993 Samsung Agreement (“2018 Samsung Amendment.”) The 2018 Samsung Amendment

 3   includes various cross grant terms, for which Qualcomm has agreed to pay                  per

 4   quarter. The Amendment does not change the royalty rates from the 2009 Samsung Amendment,

 5   although it reduces the royalty cap for non-laptop computer subscriber units to a      Net Selling

 6   Price limit, and it enhances the                   .

 7          228.    By the end of 2017, Samsung (through related corporate entities) had been

 8   manufacturing its own modem chips for several years. It made its own multimode LTE chips for

 9   its flagship phones, and its chips included CDMA capabilities. The percentage of Samsung

10   devices with a Qualcomm modem chip had been falling since 2008.

11

12

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14          229.    The royalty rates in the 2018 Samsung Amendment were not influenced or

15   impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE

16   modem chips.

17                  9.      LG
18          230.    Qualcomm and LG entered into an Infrastructure and Subscriber Unit License and

19   Technical Assistance Agreement for CDMA subscriber units, base stations, and components on

20   August 31, 1993 (“1993 LG Agreement”).

21          231.    The 1993 LG Agreement included the same terms mandated by the Korean

22   government as the 1993 Samsung Agreement: an                   upfront fee and a royalty rate of

23   5.25% for subscriber units and base stations sold for use in Korea, and 5.75% for subscriber units

24   and base stations sold for use outside of Korea.

25          232.    The royalty rates in the 1993 LG Agreement were not influenced or impacted by

26   purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem chips.

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 1          233.    On July 11, 2004, Qualcomm and LG amended the 1993 LG Agreement (“2004

 2   LG Amendment”).

 3          234.    During negotiations over this amendment, LG claimed that it was not licensed for

 4   the manufacture and sale of WCDMA devices and thus did not need to pay royalties on WCDMA

 5   device sales, while Qualcomm claimed that the terms of the 1993 LG Agreement included

 6   WCDMA. Qualcomm submitted this dispute to arbitration and expressed to LG that it would

 7   meet all of LG’s modem chip supply requirements during the course of the arbitration.

 8          235.    During the negotiations and arbitration proceedings, Qualcomm continued to

 9   supply all of LG’s CDMA modem chips. LG used other suppliers for nearly all of its WCDMA
10   modem chips, with Qualcomm supplying less than 1% of LG’s WCDMA modem chips.

11          236.    During the negotiations and arbitration proceedings, LG argued that if Qualcomm

12   continued shipping WCDMA modem chips to LG, LG could claim that Qualcomm had granted

13   LG an implied license to Qualcomm’s relevant patents, such that LG would not have to pay

14   Qualcomm any royalties with respect to devices incorporating WCDMA modem chips.

15          237.    The 2004 LG Amendment agreed upon by the parties lowered the royalty rate to

16   5% for subscriber units sold outside Korea that used a Qualcomm modem chip, lowered the

17   royalty cap for handsets to $20 for subscriber units that used a Qualcomm modem chip, and

18   changed the cross licenses to covenants not to assert.

19          238.    The royalty rates in the 2004 LG Amendment were not influenced or impacted by
20   purchases of, or potential purchases of, Qualcomm’s CDMA or “premium” LTE modem chips.

21          239.    Qualcomm and LG entered into a new Agreement on January 1, 2007 (“2007 LG

22   Agreement”) that covered single-mode OFDM (LTE) subscriber units. The 2007 LG Agreement

23   had a royalty rate of 4% of Net Selling Price for OFDM subscriber units.

24          240.    Qualcomm did not sell any LTE modem chips until 2010, and has never sold

25   single-mode LTE modem chips. The royalty rates in the 2007 LG Amendment were not

26   influenced or impacted by purchases of, or potential purchases of, Qualcomm’s CDMA or

27   “premium” LTE modem chips.

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 1          241.    In February 2016, LG commenced an arbitration against Qualcomm challenging

 2   the amount of royalty payments Qualcomm claimed were owing. In April 2016, Qualcomm and

 3   LG resolved the dispute through good faith negotiations. Qualcomm continued to ship modem

 4   chips to LG during this period.

 5
            I.      Qualcomm’s Practice of Not Selling Chips to Unlicensed Companies Has
 6                  Valid Business Justifications
 7          242.    Qualcomm does not charge for the value of Qualcomm’s patented innovations in

 8   the price of the modem chips it sells. Qualcomm charges for the use of those innovations by

 9   OEMs through the device-level royalty it collects under its license agreements.
10          243.    Since it first began selling chips in the mid-1990s, Qualcomm has had a practice of

11   not supplying commercial quantities of its baseband chips to device manufacturers that make

12   standard-compliant devices without an appropriate license from Qualcomm authorizing them to

13   make and sell such devices.

14          244.    Qualcomm’s chip sales practices are well known in the industry, and were well

15   known to participants in SDOs before they adopted Qualcomm’s technologies into standards.

16   Many of the participants in SDOs are Qualcomm’s licensees and chip customers.

17          245.    Qualcomm’s practice of not selling chips to unlicensed OEMs is based on the

18   following considerations:

19                  (a)    To promote equal treatment and ensure fair competition among handset
20                         OEMs. This practice ensures that OEMs are treated fairly and equitably

21                         because unlicensed OEMs would otherwise have a cost advantage over

22                         OEMs who took an SEP license rather than violate Qualcomm’s patent

23                         rights. Qualcomm’s licensees have complained to Qualcomm about the

24                         competitive disadvantage they face from unlicensed OEMs manufacturing

25                         phones.

26                  (b)    To avoid legal risks and uncertainties, such as claims of exhaustion or

27                         implied licenses.

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 1                  (c)    To avoid helping companies who do not respect intellectual property rights.

 2                  (d)    To promote customer relations. Qualcomm does not want to be forced to

 3                         bring infringement actions against its chip customers.

 4                  (e)    To ensure that Qualcomm can recover a return on its investments in

 5                         fundamental systems-level R&D even while selling its chips at market

 6                         prices, which do not reflect the value of Qualcomm’s systems-level

 7                         technology.

 8          246.    These business practices have not led Qualcomm to obtain supra-FRAND royalty

 9   terms from OEMs.
10          247.    As explained, Qualcomm’s typical licensing terms for 2G, 3G, 4G and 5G have

11   been agreed to by multiple licensees before standardization of the relevant generation of cellular

12   technologies and before Qualcomm sold any modem chips that support implementation of each

13   standard by devices. Qualcomm has never raised its rate once its technology was adopted into a

14   standard or Qualcomm began selling modem chips supporting the implementation of that

15   technology by devices.

16          248.    The royalty rates of Qualcomm’s licensees do not vary based on the proportion of

17   modem chips purchased from Qualcomm.

18          249.    Some licensees do not purchase modem chips from Qualcomm. There are 36

19   licensees who entered into patent license agreements with Qualcomm, extending to sales of
20   complete terminals, who never purchased baseband processor products from Qualcomm to

21   incorporate into complete terminal units. The royalty rates of these licenses could not have been

22   influenced or impacted by purchases of Qualcomm modem chips.

23          250.    Many licensees purchase only a small proportion of their modem chips from

24   Qualcomm.

25          251.    Some licensees, such as Huawei and Samsung, are capable of, and engage in, self-

26   supply of modem chips.

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 1            252.   Qualcomm has never interrupted the commercial supply of modem chips to a

 2   licensee in good standing during negotiations to amend, renew or otherwise revise an existing

 3   license agreement.

 4            253.   Qualcomm has never interrupted the modem chip supply of a licensee in good

 5   standing for anything other than failure to pay for the chips.

 6            254.   Under Qualcomm’s license agreements with OEMs, the royalty rate payable to

 7   Qualcomm is the same regardless of the source of chips used by the OEM in any particular

 8   royalty bearing device.

 9            J.     Qualcomm’s Use of Strategic Funds
10            255.   Qualcomm sometimes enters into agreements to establish strategic funds or market

11   development funds with OEMs for the mutual benefit of Qualcomm and the OEMs.

12            256.   Strategic funds are not royalty rebates or discounts. Rather, the funds are subject

13   to various conditions and are only disbursed for the mutual benefit of both parties.

14            257.   A typical agreement providing for creation of a strategic fund or market

15   development fund provides for Qualcomm and the OEM to pay money into a fund that is jointly

16   administered by Qualcomm and the OEM to be spent on mutually beneficial marketing,

17   promotions or technology and product development initiatives.

18            258.   Strategic or market development funds of this type are commonly used in the

19   cellular and other industries. Intel offered Motorola a      /unit market development fund to use

20   Intel chips. MediaTek offered Motorola a                  market development fund to use MediaTek

21   chips.

22            259.   Qualcomm’s payments into strategic or market development funds are generally

23   subject to quarterly and/or annual caps.

24            260.   The funds are used to finance a variety of joint initiatives, including joint

25   deployment and/or development of new technologies and joint marketing initiatives that increase

26   awareness of the Qualcomm brand and Qualcomm products.

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 1          261.    Agreements providing for strategic funds or market development funds are of

 2   importance to Qualcomm because they can increase its brand recognition. Qualcomm does not

 3   have as large a marketing reach as many OEMs.

 4          262.    Partnering with device makers on marketing initiatives provides opportunities for

 5   scale, media attention, name recognition, consumer-facing market access at localized and global

 6   levels and the ability to leverage device makers’ large marketing budgets and sophisticated

 7   marketing teams, all of which are unavailable to Qualcomm through direct marketing initiatives.

 8          263.    Qualcomm derives benefits from the joint technology development and

 9   deployment initiatives financed by strategic or market development funds, which help drive the
10   advancement of new technologies, hasten their adoption and increase sales of licensed devices by

11   licensees.

12          264.    The vast majority of agreements to establish strategic funds or market

13   development funds were entered into at times unrelated to any licensing negotiations.

14          265.    Of the approximately 350 current and past handset licensees to Qualcomm’s

15   cellular patents, Qualcomm has entered into a strategic or a market development fund that was

16   negotiated contemporaneously with a licensing agreement with only nine OEMs: Blackberry, LG,

17   OPPO, Panasonic Mobile Communications, Sony Mobile Communications, Vivo, Xiaomi,

18   Yulong and ZTE.

19          266.    Eight of these nine OEMs (all but Panasonic) purchased a high percentage of their
20   modem chips from Qualcomm – between 89.5 and 100% – prior to entering into the strategic or

21   market development fund.

22          267.    Motorola witness Todd Madderom testified that Motorola’s books account for

23   Market Development Funds from Qualcomm as advertising and promotions credits, and not

24   chipset cost savings.

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 1   IV.     QUALCOMM’S DEVELOPMENT OF CELLULAR TECHNOLOGIES

 2           A.      Cellular Standards and Standardization

 3           268.    The various industry participants, including innovators, OEMs, infrastructure

 4   vendors, vertically integrated firms and wireless carriers (e.g. Verizon, AT&T) come together to

 5   develop standards for the cellular industry through their membership and participation in regional

 6   Standards Development Organizations (“SDOs”), such as the European Telecommunications

 7   Standards Institute (“ETSI”) in Europe, the Alliance for Telecommunications Industry Solutions

 8   (“ATIS”) and the Telecommunications Industry Association (“TIA”) in the U.S.

 9           269.    Beginning with 3G standards, the members of SDOs have developed the Technical

10   Specifications underlying 3G, 4G and now 5G standards through global collaborative standards

11   development partnerships, such as the Third Generation Partnership Project (“3GPP”) (which

12   developed the Technical Specifications for the 3G WCDMA, 4G Long Term Evolution (“LTE”),

13   and now 5G New Radio (“NR”) standards) and 3GPP2 (which developed the Technical

14   Specifications for the CDMA2000 standard).

15           270.    3GPP and 3GPP2 are global collaborative partnerships of SDOs and other industry

16   participants that develop cellular standards. The organizational partners of 3GPP are seven

17   regional SDOs: ETSI, which is the leading cellular SDO; ATIS, the U.S. SDO; ARIB and TTC

18   (both of Japan); CCSA (China); TSDSI (India); and TTA (Korea). The organizational partners of

19   3GPP2 are the TIA from the U.S., and ARIB, TTC, CCSA and TTA.

20           271.    Firms participate in these global partnership projects through their membership in

21   one or more of the SDOs that serve as “organizational partners” in the partnership project.

22           272.    The technical work of promulgating technical specifications occurs at 3GPP, and

23   in the past, occurred also at 3GPP2. ETSI and the other regional SDOs then “transpose” (i.e.

24   republish and adopt) the technical specifications of 3GPP and 3GPP2 and adopt them as standards

25   in their respective jurisdictions.

26           273.    The working procedures of both 3GPP and 3GPP2 provide that each contributor of

27   technology is to comply with the relevant IPR policy of the organizational partner of which it is a

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 1   member. Many of the technologies included in cellular communications standards are patented.

 2   SDOs – including each of the organizational partners in 3GPP and 3GPP2 – have adopted IPR

 3   policies that are intended to ensure that patents do not prevent implementers from practicing the

 4   standard.

 5          274.    To ensure that 3GPP and 3GPP2 specifications are subject to the same licensing

 6   requirements worldwide, the operating rules and procedures of both 3GPP and 3GPP2 mandate,

 7   as a condition of being an organizational partner of each SDO, that the IPR policies of each of

 8   their organizational partners must be compatible with one another.

 9          275.    Cellular standards specify the way that user equipment (such as a handset)
10   operates within the network and communicates with infrastructure equipment. Cellular standards

11   do not specify the operation of particular components within a handset or other user equipment.

12          276.    The process of developing standards begins with performance requirements

13   expressed in terms of system-level performance objectives. For example, performance

14   requirements have focused on issues such as desired higher download and upload data rates,

15   lower latency, and improved data services in available spectrum.

16          277.    2G cellular standards include the Global System for Mobile (“GSM”) and

17   cdmaOne (also sometimes called “TIA/EIA/IS-95” or “IS-95.”)

18          278.    ETSI released the first version of GSM in 1990. GSM uses time division multiple

19   access (“TDMA”) technology.
20          279.    Qualcomm invented commercial CDMA technologies, and originally authored the

21   very first standard that included a CDMA air interface, and called it cdmaOne.

22          280.    TIA adopted cdmaOne as a cellular standard in 1993. TIA also adopted IS-95A

23   and IS-95B as improvements to cdmaOne. These are considered 2G standards. cdmaOne uses

24   code division multiple access (“CDMA”) technology.

25          281.    3G cellular standards include the Universal Mobile Telecommunications System

26   (“UMTS”) and CDMA2000, both of which use CDMA technology. The first UMTS standard

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 1   was finalized in 1999 by 3GPP and the first CDMA2000 standard was finalized by 3GPP2 in

 2   2000.

 3           282.   3GPP develops cellular technical specifications in “Releases” with new Releases

 4   being finalized approximately every 12-24 months. Each new Release contains new capabilities

 5   or features over earlier Releases. When a Release is finalized, all new features are functionally

 6   frozen and ready for implementation. Each 3GPP Release is self-contained, meaning that one can

 7   build a cellular system based on the set of frozen specifications in that Release. As such,

 8   Releases build upon and incorporate previous Releases, while adding new features.

 9           283.   UMTS is an umbrella term for several CDMA-based 3G cellular air interfaces
10   standardized within 3GPP: UTRA-FDD, commonly called Wideband CDMA (“WCDMA”), used

11   worldwide; UTRA-TDD High Chip Rate, having little deployment; and UTRA-TDD Low Chip

12   Rate, commonly called Time Division-Synchronous CDMA (“TD-SCDMA”), used primarily in

13   China. Since the first release in 1999, 3GPP has standardized several improvements to the

14   original WCDMA release, including: (1) High-Speed Downlink Packet Access (“HSDPA”),

15   which refers to certain additional UMTS features included in Release 5; (2) High-Speed Uplink

16   Packet Access (“HSUPA”), which refers to certain additional UMTS features included in

17   Release 6; and (3) the combination of HSDPA and HSUPA, commonly called High-Speed Packet

18   Access (“HSPA” and “HSPA/HSPA+”), which refers to certain additional UMTS features

19   included in Release 7 and beyond.
20           284.   CDMA2000 was standardized by 3GPP2. Included within the CDMA2000 family

21   of standards are CDMA2000 1x, often called 1xRTT, and High Rate Packet Data, often called

22   1xEV-DO or EV-DO. Qualcomm proposed what became EV-DO in March of 2000. 3GPP2

23   released EV-DO as TIA/EIA IS-856 in January 2002.

24           285.   In the United States, AT&T and T-Mobile operated GSM and WCDMA networks.

25   Verizon and Sprint operated cdmaOne and CDMA2000 networks. Verizon has announced that it

26   will retire its CDMA networks at the end of 2019.

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 1          286.    All four major U.S. carriers (Verizon, AT&T, T-Mobile and Sprint) operate LTE

 2   networks, (which also encompasses the LTE Advanced, or “LTE-A,” standard), as their 4G

 3   standard. LTE uses Orthogonal Frequency Division Multiple Access (“OFDMA”) technology for

 4   downlink transmissions and single-carrier frequency division multiple access (“SC-FDMA”)

 5   technology for its uplink transmission. The LTE standard was standardized by 3GPP. The first

 6   iteration of the LTE standard was adopted in 2008 via 3GPP Release 8.

 7          287.    The 5G NR standard is being standardized within 3GPP. The first iteration of the

 8   5G NR standard, Release 15, was frozen in 2018.

 9          288.    In addition to introducing new technologies, each wireless standard has relied on,
10   and often built upon, technologies developed in prior standards. For example, the air interface for

11   the WCDMA design was inspired by the success of IS-95 and incorporates its basic features. As

12   another example, innovations originally standardized in CDMA2000, such as Carrier

13   Aggregation, were also relied on in the development of later releases of WCDMA as well as LTE

14   and 5G NR.

15          289.    The bulk of 3GPP standardization work is done through working groups, which

16   are charged with developing Technical Specifications. In advance of 3GPP working group

17   meetings, companies submit documents known as TDocs. At the meetings, those TDocs are

18   discussed. There are many types of TDocs. In some, but not all, cases, an “outcome” or “status”

19   of the TDoc may be recorded. The use of “outcome” or “status” labels has varied by working
20   group and over time. The FTC’s proposed expert, Michael Lasinski relies on these “outcome” or

21   “status” labels to consider certain TDocs to be “approved contributions.”

22          290.    The 3GPP working group TDoc submission and review process, including

23   “outcome” or “status” labels, was designed to facilitate written exchanges by industry participants

24   with the goal of reaching a collaborative consensus as to standards. It was not designed to

25   measure the quantity or quality of any company’s actual technical contributions to the standard.

26   Use of the submission or approval process as a proxy for quantity or quality may both undercount

27   a company’s substantive contributions and overcount their non-substantive contributions. There

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 1   is also no correlation between these counts and the extent a company has participated in

 2   generating the technical concepts incorporated into a standard, or the strength or weakness of a

 3   company’s patent portfolio.

 4          291.    The substantive work of defining the requirements, features, capabilities and

 5   protocols of a new Release is completed over a roughly two-year timeframe. During this period

 6   of substantive work, many companies submit a large number of TDocs. The scope and level-of-

 7   detail in the TDocs submitted during this substantive work varies. Some of the TDocs contain

 8   detailed cellular system designs based on years of R&D and include algorithms, descriptions,

 9   testing results and simulation descriptions. Other TDocs are administrative documents that
10   contain no innovation at all.

11          292.    The “author” of a contribution often does not accurately depict the origination of a

12   technical concept or solution. For example, a company may take another company’s TDoc, list

13   itself as the “source” and resubmit the revised TDoc, or a company may require that it be listed

14   first as the source on a TDoc as a condition for supporting the underlying concepts during

15   working group discussions. As a result, author status is determined more by a need for

16   inclusiveness and reaching a consensus than an accurate depiction of the source of the technical

17   contributions a TDoc may contain.

18          293.    During this period of substantive work, an Editor or Rapporteur within each

19   working group may be charged with compiling concepts from various TDocs into a Technical
20   Specification based on the consensus of the group. This does not involve any formal votes. Even

21   if an Editor or Rapporteur takes text from a TDoc and places it in the Technical Specification,

22   that TDoc is not usually given an “outcome” or “status” label reflecting approval. Rather, the

23   TDoc may be marked, for example, “Noted,” “Treated,” “Discussed,” or not marked at all. Mr.

24   Lasinski’s analysis does not count TDocs bearing such statuses as “approved contributions.” At

25   the end of this approximately two-year period, a Technical Specification is deemed “stable.”

26          294.    Once a Technical Specification is “stable,” the document enters a phase called

27   “change control” where members may submit a form of TDoc known as a change request or

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 1   “CR.” Example categories of CRs include corrections and editorial modifications. CRs

 2   submitted during the change control phase are discussed and then either approved or rejected

 3   based on the consensus of the group. “Change control” requires closely tracking any changes to

 4   the “stable” Technical Specification. Therefore, it is necessary to formally note the status of

 5   approved CR TDocs with an “outcome” label such as “Agreed.” Mr. Lasinski’s analysis counts

 6   CRs bearing such statuses as “approved contributions.” While the change control process is a

 7   necessary administrative task, it occurs after the majority of the substantive development for a

 8   Technical Specification has been completed. Accordingly, CRs submitted during change control

 9   have little or no relationship to most of the innovations found in a Technical Specification.
10   Moreover, sometimes a single type of contribution may be submitted in multiple CRs—for

11   example, each one proposing the same change to a different portion of the Technical

12   Specification. In that case, each of the CR’s will be separately credited as an “approved

13   contribution” under Mr. Lasinski’s analysis.

14          295.    In the course of standards development, SDOs often require members to disclose

15   and commit to offer licenses to certain patents to companies willing to accept a license on Fair,

16   Reasonable and Non-Discriminatory (“FRAND”) terms to practice the standard. The scope of

17   these disclosures and commitments to license often relate to a concept known as “essentiality.”

18   As an example, ETSI’s IPR policy in section 15.6 defines “essential” as follows:

19                  “ESSENTIAL” as applied to IPR means that it is not possible on technical
                    (but not commercial) grounds, taking into account normal technical practice
20                  and the state of the art generally available at the time of standardization, to
                    make, sell, lease, otherwise dispose of, repair, use or operate EQUIPMENT
21                  or METHODS which comply with a STANDARD without infringing that
                    IPR. For the avoidance of doubt in exceptional cases where a STANDARD
22                  can only be implemented by technical solutions, all of which are
                    infringements of IPRs, all such IPRs shall be considered ESSENTIAL.
23
            296.    As used above, “‘STANDARD’ shall mean any standard adopted by ETSI
24
     including options therein or amended versions ….”
25
            B.      Modem Chips and Cellular Devices
26
            297.    A modem (modulator/demodulator) chip, also referred to as a baseband chip, is
27
     one of several components in a mobile device that may enable cellular connectivity. The modem
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 1   chip supports modulation, the process of altering a signal so that it can be transmitted over a

 2   carrier frequency, and demodulation, which allows the signal to be extracted after transmission.

 3          298.    A modem chipset (as distinct from a modem chip) is conventionally a set of chips

 4   that includes a modem together with an RF (radio frequency) chip and a PMIC (power

 5   management integrated circuit).

 6          299.    The modem may also be included as a part of an integrated chip that includes

 7   additional elements such as an applications processor (“AP”) and a graphics processing unit

 8   (“GPU”). When the modem is combined with an application processor in a single integrated

 9   chip, that chip is typically called a system on a chip (“SoC”).
10          300.    A standalone baseband processor that does not include the AP, GPU or other

11   functionality that is found in an SoC is referred to as a thin modem.

12          301.    Modem chips are used in devices, including feature phones, smartphones, and

13   cellular-connected tablets that require cellular connectivity.

14          302.    The 3GPP and 3GPP2 cellular standards do not define how a user equipment such

15   as a handset is constructed, whether particular functions are implemented in hardware or

16   software, or even the components of a user equipment. Instead, these standards provide user

17   device manufacturers broad discretion regarding how to construct a user device.

18
            C.      Qualcomm’s Development, Standardization and Commercialization of Key
19                  Technologies

20                  1.      Qualcomm’s Research Approach and Investment in Innovation
            303.    Qualcomm invests in fundamental, early stage research, with a six to ten-year
21
     horizon before commercialization. This is high risk R&D that leads to valuable system level
22
     inventions and concepts that change the way cellular communications work. Qualcomm is able to
23
     remain ahead of its peers in the industry because it identifies future needs and challenges.
24
            304.    Since the mid-90’s, Qualcomm has contributed and continues to contribute its
25
     breakthrough technologies to standards development, at the outset to contribute to the definition
26
     of next generation projects, and throughout as the generational standards evolve. Qualcomm has
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 1   been at the forefront of the technology development for CDMA, WCDMA, including all major

 2   releases, LTE, and now 5G.

 3          305.   Qualcomm later devotes significant resources to researching and developing

 4   chipsets that support cellular communications. Qualcomm’s technologies are designed to further

 5   cellular communications; thus, the fundamental technologies developed by Qualcomm are widely

 6   commercialized by others in the wireless industry that implement Qualcomm’s standardized

 7   inventions – such as device and infrastructure manufacturers.

 8          306.   Since it was founded, Qualcomm has made large investments in research and

 9   development. In total, it has invested over $50 billion in developing cellular communications
10   technologies and chip solutions.

11          307.   Qualcomm’s investment in R&D increased from $340 million in 2000 to more

12   than $1 billion in 2005, and to nearly $5.5 billion in 2017. Over time, the R&D expenditures

13   have represented on average 21% of total revenue.

14          308.   As of November 2018, Qualcomm had approximately 140,000 patents and

15   pending patent applications. In fiscal year 2017, Qualcomm invested $5.48 billion in R&D,

16   which represents approximately 24% of its revenue for that year.

17          309.   Qualcomm takes an end-to-end systems engineering approach to research. This

18   end-to-end approach addresses the core network, base station, air interface and user equipment

19   (such as a handset). Qualcomm identifies future applications and performance capabilities of
20   wireless systems, develops technology required to meet identified future needs and then defines

21   system requirements and architectures. Qualcomm’s research efforts include full-system level

22   design work and development of prototypes. Such prototypes typically involve development of

23   both infrastructure equipment and mobile devices to confirm and demonstrate developed

24   concepts, and these prototypes are developed years before the chipsets are used in mass marketed

25   devices.

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 1          310.     By developing full system prototypes, Qualcomm has been able to present test

 2   results and provide demonstrations that have influenced the industry and led to the industry

 3   adopting technologies developed by Qualcomm.

 4          311.     Based, in part, on this full system approach, Qualcomm has made many valuable

 5   submissions to 3GPP to advance 3G, 4G and 5G, proposing broad, system-level solutions to

 6   3GPP early in the standardization process. Qualcomm’s standards contributions have covered a

 7   diverse range of areas relevant to device makers that is unmatched by other large 3GPP

 8   participants.

 9          312.     Qualcomm has often conducted “world’s first” demonstrations at the annual
10   Mobile World Congress. Notable recent Qualcomm Mobile Word Congress demonstrations

11   include: FLASH OFDM (2006), HSPA Multicarrier Demo (2008), LTE Full Compliance and

12   Interoperability (2009), LTE-A Demo (including seamless forward handoff) (2010),

13   Heterogeneous Network (“HetNet”) Trials with Operators in Full OTA Systems (2012), Licensed

14   Assisted Access (“LAA”) (2013), Low Density Parity Check (“LPDC”) (2016), Gigabit LTE, 4x4

15   MIMO and Millimeter Wave (2017).

16          313.     Qualcomm’s research efforts have generally been organized into projects under

17   various code names. A project typically begins with a focus in a general area and evolves

18   towards the standardization of innovations. For example, Project YODA began in 2001 with a

19   focus on developing an OFDMA-based system. YODA eventually evolved to focus specifically
20   on an OFDMA system to be standardized in 3GPP2 known as UMB.

21          314.     While organized within projects, Qualcomm’s research teams collaborated across

22   projects to cross-pollinate ideas and develop the most promising concepts. For example, at the

23   same time as Project YODA, Qualcomm was also engaged in Project Espresso focused on

24   developing an OFDMA-based system to be standardized in 3GPP known as LTE. The YODA

25   and Espresso teams met frequently, with the best ideas from both projects being contributed to

26   both standards.

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 1          315.    Qualcomm has obtained patents covering various concepts developed by

 2   Qualcomm researchers.

 3          316.    All patents declared potentially essential to a standard are not equally valuable.

 4   All patents essential to a standard are not equally valuable. The total number of patents declared

 5   potentially essential to a standard by a company does not necessarily provide an indication of the

 6   number or magnitude of important or foundational patents held by that company. Likewise, the

 7   total number of patents essential to a standard owned by a company does not necessarily provide

 8   an indication of the number or magnitude of important or foundational patents owned by that

 9   company.
10          317.    Qualcomm has a broad patent portfolio with patents covering a large range of

11   areas relevant to device makers for each of cdma2000, WCDMA, LTE and 5G NR, as well as

12   non-standard essential patented technology.

13          318.    Qualcomm’s patented inventions relevant to WCDMA include important features

14   that have advanced the state of wireless, for example, such as power control, soft handover,

15   hybrid ARQ, fast link adaptation, discontinuous transmission and reception, quick paging, inter-

16   RAT handover, MIMO and multi-carrier.

17          319.    Qualcomm’s patented inventions relevant to LTE include fundamental features,

18   for example, such as uplink Single-Carrier Frequency Division Multiple Access (“SC-FDMA”)

19   waveform and control channel structure, downlink OFDMA, LTE cell acquisition, carrier
20   aggregation, MIMO, hybrid ARQ, fast link adaptation, discontinuous transmission and reception,

21   interference cancellation, HetNets, VoLTE optimization, inter-RAT handover, circuit-switched

22   fallback and LTE in unlicensed spectrum.

23          320.    Qualcomm’s patented inventions relevant to 5G NR include features, for example,

24   directed to new 5G features such as scalable OFDM, flexible slot-based framework, LDPC

25   channel coding, massive MIMO and mobile millimeter wave, as well as continued advances in

26   areas such as OFDM and SC-FDMA waveforms, carrier aggregation, handover, MIMO, fast link

27   adaptation, hybrid ARQ, use of unlicensed spectrum and HetNets.

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 1          321.    Qualcomm’s patent portfolio has not diminished as some of Qualcomm’s older

 2   patents developed in connection with 2G and early 3G cellular systems have expired over time.

 3   Rather, through its research and development efforts, Qualcomm has obtained new, fundamental

 4   patents on basic advanced concepts that address new challenges in advanced 3G, 4G and 5G

 5   cellular systems.

 6          322.    As an example, similar to Qualcomm’s now expired patents directed to CDMA

 7   cellular waveforms and power control techniques, Qualcomm has continued to develop patented

 8   technologies covering the uplink waveform in LTE – a technology known as SC-FDMA – as well

 9   as the basic control channel structure that makes up the uplink 4G LTE and 5G NR waveform.
10   Qualcomm also developed patented technologies covering the downlink broadcast channel

11   structure and accompanying cell search used in 4G LTE and 5G NR. Qualcomm’s newer patents

12   also cover concepts and areas that did not exist in prior generations of cellular technology. As an

13   example, Qualcomm has developed patented technologies behind advanced 3G, 4G and 5G

14   deployments of Carrier Aggregation, MIMO, cellular access in unlicensed spectrum and HetNets,

15   all of which play a large role in achieving the performance goals of LTE-A and 5G NR.

16                  2.     Qualcomm’s Role in Creation of Ubiquitous High Speed Cellular Data
17          323.    Shared High-Capacity Data Channel. In 1996, state of the art cellular systems

18   were primarily focused on voice transmissions. Qualcomm took the view that data was the future

19   of cellular and sought to re-examine cellular from scratch. In November 1996, Qualcomm’s Dr.
20   Roberto Padovani wrote a white paper entitled “A System Design for High Speed Packet Data,”

21   recommending a complete re-design of cellular systems to support internet packet data instead of

22   voice signals. Dr. Padovani recognized that a single high-speed data channel that was time

23   multiplexed among active users was a much better fit for data than multiple lower-capacity

24   channels dedicated to users. Dr. Padovani concluded based on analyzing the type of traffic likely

25   to make up future cellular systems:

26                  What this is telling us is that you are better off applying the whole channel
                    (frequency, time, and power) to a single user, on a temporary basis, rather
27                  than sharing the channel among several simultaneous users at lower rates.
28
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 1                  That is if the application allows to do that. Obviously, for voice services, that
                    is not feasible but for packet data it is.
 2
            324.    The concept developed by Dr. Padovani and behind Qualcomm project HDR are
 3
     known today as a “common data channel” or “shared high-capacity data channel.”
 4
            325.    Qualcomm initially assigned a team of senior engineers to further develop the
 5
     concepts described in Dr. Padovani’s paper and build a prototype to test the feasibility of
 6
     implementing Dr. Padovani’s concepts. This research team evolved into a Qualcomm project
 7
     referred to internally as “WARP” and “HDR” (for “high data rate”). On September 23, 1998,
 8
     Qualcomm demonstrated HDR technology at the PCS ’98 show in Orlando, Florida and shortly
 9
     thereafter conducted further live demonstrations showing data speeds of 2.4 Mbps, which was the
10
     level of DSL lines used for home internet service at the time, and 300 times faster than state-of-
11
     the-art cellular data systems.
12
            326.    3GPP2 standardized Qualcomm’s HDR technology as an evolution of CDMA2000
13
     known as CDMA2000-1X-EVDO (EVolution, Data Optimized or “EV-DO.”) EV-DO introduced
14
     the first shared high-capacity data channel. This channel was designed to exist alongside existing
15
     CDMA2000 low-capacity dedicated channels. EV-DO also provided data at a lower cost per
16
     megabyte of data than existing 3G services. In UMTS Release 5, 3GPP likewise standardized an
17
     upgrade to WCDMA, introducing a high-speed downlink data channel shared among all users to
18
     exist alongside Release 99 low-capacity dedicated channels. This channel, the HSDPA channel,
19
     gives UMTS Release 5 its name. The first deployment of EV-DO occurred in 2002, three years
20
     ahead of the first deployment of HSDPA.
21
            327.    4G LTE and 5G NR continue to use the shared high-capacity data channel
22
     introduced by Qualcomm. Unlike in EV-DO and HSDPA in which the shared high-capacity data
23
     channel co-exists with low-capacity dedicated channels, in 4G LTE and 5G NR the shared high-
24
     capacity data channel is responsible for substantially all downlink connected mode user traffic.
25
            328.    Since development of the HDR concept, Qualcomm has continued to research
26
     improvements to operation of the shared high-capacity data channel, for example, as part of
27
     Project Espresso. Through this research, Qualcomm has further advanced the shared high-
28
                                                                  DEFENDANT’S PROPOSED FINDINGS OF
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 1   capacity data channel model to improve battery life and adapt to modern traffic such as Voice

 2   Over IP (VoIP) data packets.

 3           329.    Discontinuous Reception in Connected Mode (DRX) and Semi-Persistent

 4   Scheduling (SPS). Two Qualcomm-developed technologies, Discontinuous Reception in

 5   Connected Mode (“DRX”) and Semi-Persistent Scheduling (“SPS”), substantially improve

 6   battery life and enable use of a shared high-capacity data channel to support VoIP for a large

 7   number of users. VoIP support is necessary to facilitate the decommissioning of 2G and 3G

 8   networks because the original release of LTE did not support voice calls, and instead relied on

 9   backward capability in 2G or 3G networks to support voice calls. This is known as circuit-
10   switched fallback. Later versions of LTE support voice communications through a technique

11   known as Voice over LTE (VoLTE), in which voice information is sent as VoIP packet data over

12   the shared high-capacity data channel.

13           330.    Qualcomm’s DRX technology improves battery life – by 60 to 70% in some cases.

14   The technology allows a mobile device to remain in “connected mode” but still power down the

15   receiving circuitry at times. Before this technology, a mobile device in active communication (a

16   connected mode) receiving a shared high-capacity data channel was required to listen to a

17   scheduling channel every subframe, draining the battery.

18           331.    Qualcomm’s proposal faced substantial opposition within 3GPP because

19   conventional wisdom was that a base station should schedule data for a mobile device on the
20   shared high-capacity data channel as soon as it arrived at the base station. DRX in connected

21   mode went against this conventional wisdom and forced the base station to wait. Based on

22   Qualcomm’s system engineering approach, Qualcomm was able to demonstrate that DRX in

23   connected mode did not materially impact overall system performance, while still improving

24   battery life.

25           332.    Qualcomm’s SPS technology addresses another disadvantage of existing shared

26   high-capacity data channels, as it related to VoIP in particular, which was that the scheduling

27   channel had limited capacity. When transmitting small pieces of data, such as VoIP packets, the

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 1   scheduling channel could not schedule enough simultaneous users to use the available data

 2   capacity. Rather than expand the scheduling channel and decrease available data capacity,

 3   Qualcomm developed SPS, which uses a single scheduling message to give a recurring data

 4   assignment. While eliminating some signaling, SPS also supports more high quality voice

 5   communications by allowing scheduling messages for quick retransmissions of packets originally

 6   sent without a scheduling message that were received with errors.

 7          333.    Qualcomm submitted DRX and SPS for standardization both as part of UMTS

 8   Release 7 and the original LTE release, Release 8. 3GPP adopted the concepts in both. DRX and

 9   SPS have also been standardized as part of the initial 5G NR release, Release 15.
10          334.    Qualcomm’s patent portfolio includes patents directed to the basic DRX and SPS

11   concepts that are essential to each of UMTS Release 7, LTE Release 8, and 5G NR Release 15,

12   and all subsequent releases of each.

13                  3.     Qualcomm’s Role in Pioneering 4G
14          335.    Qualcomm has conducted research and development in multiple access techniques

15   other than CDMA for many years. While 3G standards were still being developed, Qualcomm

16   and Flarion Technologies (Flarion) (which became part of Qualcomm in 2006) were actively

17   researching new multiple access techniques for cellular systems based on OFDMA and SC-

18   FDMA waveforms. Qualcomm recognized the potential of these techniques early and developed

19   key technologies related to them. Around 2001, Qualcomm invested in research and development
20   related to the use of OFDMA in Project YODA.

21          336.    Project YODA ultimately evolved into standardization of UMB, a proposed 4G

22   standard that shares a number of technical characteristics with LTE. Qualcomm developed a

23   complete UMB prototype that was shown at the CTIA Wireless 2007 convention over a year

24   before the LTE specification was completed. As discussed above, the Project YODA and Project

25   Espresso teams met frequently, with the best ideas from both projects being contributed to both

26   UMB and LTE standardization efforts. Many of the concepts from Project YODA were also

27   standardized in LTE Release 8.

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 1          337.    In 2004, and in parallel with its 3GPP2 efforts, Qualcomm focused on the

 2   development of the next generation 3GPP standard. These internal projects included Projects

 3   Espresso and Frappuccino. Leveraging and improving Dr. Padovani’s HDR system, Qualcomm

 4   developed a complete cellular system and proposed various innovations found in LTE Release 8.

 5   Qualcomm’s 4G development efforts included the development of a full LTE prototype known as

 6   “Slimcat.” Qualcomm demonstrated the first LTE-compliant system at the 2009 Mobile World

 7   Congress Convention using Slimcat.

 8          338.    In addition to contributions to LTE Release 8, several key concepts from Project

 9   YODA and Project Frappuccino are defining features in LTE-A in Releases 10, 11 and 12,
10   including Carrier Aggregation, MIMO, cellular access in unlicensed spectrum and HetNets.

11          339.    SC-FDMA Waveform. The 4G LTE standard, starting in Release 8, adopts two

12   new waveforms: SC-FDMA for uplink communication from the mobile device to the base station,

13   and OFDMA for downlink communication from the base station to the mobile device.

14          340.    The use of SC-FDMA, as opposed to OFDMA, for the uplink greatly decreases the

15   consumption of battery power by the mobile device and obviates the need for expensive power

16   amplifiers or larger batteries, both of which help make LTE technically and commercially viable,

17   as well as increasing the handset range and performance in manageable form factor. LTE cell

18   phones cannot transmit data or voice signals using LTE without continuously using Qualcomm’s

19   SC-FDMA invention.
20          341.    Qualcomm’s patent portfolio includes patented inventions directed to the basic

21   structure of the SC-FDMA waveform as implemented in LTE. These patents are essential to LTE

22   Release 8 and all subsequent releases.

23          342.    5G NR deployments will continue to use Qualcomm’s fundamental SC-FDMA

24   technology, while also providing support for regular OFDMA waveforms for the uplink

25   transmissions based on the type of uplink grant and resource allocation types.

26          343.    LTE Cell Acquisition. A basic problem in any cellular system is how a mobile

27   device initially detects and synchronizes with a base station. This is called “cell acquisition.”

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 1   Unlike UMTS, where every cell uses signals of the same bandwidth, LTE supports many

 2   different bandwidths and gives rise to fundamentally different challenges.

 3           344.    Qualcomm designed a set of synch and broadcast channels enabling efficient cell

 4   acquisition and reducing the time and power consumption required for the user device to obtain

 5   necessary information about the base station, including cell ID and system bandwidth.

 6   Qualcomm developed these concepts as part of Project Espresso. Qualcomm submitted

 7   contributions to 3GPP broadly defining several channels, including the structure of the synch and

 8   broadcast channels used for cell acquisition/identification. 3GPP ultimately incorporated the

 9   features of these contributions in standardizing LTE Release 8.
10           345.    Qualcomm’s patent portfolio includes inventions covering the basic structure of

11   the LTE synch and broadcast channels and the cell acquisition procedure. These patents are

12   essential to LTE Release 8 and all subsequent releases.

13           346.    LTE Control Channels. Well-designed and efficient feedback mechanisms are a

14   distinguishing feature of LTE that allow many user devices to communicate vital information to

15   the base station in a timely manner using only a small amount of uplink time-frequency resources.

16   The Physical Uplink Control Channel (“PUCCH”) carries uplink control information. Every

17   resource block that the PUCCH uses is one less that can be used for transmitting data. Thus, it is

18   very important that the PUCCH be as efficient and compact as possible while ensuring a high

19   level of reliability for the crucial control information.
20           347.    The PUCCH consists of several different formats. In particular, there are Formats

21   1, 1a, 1b, 2, 2a, 2b and 3. Each format transmits various types and amounts of control

22   information, supporting basic features such as power control and error retransmission, as well as

23   advanced features such as MIMO and Carrier Aggregation.

24           348.    The PUCCH design is a novel aspect of LTE and is based on spread

25   spectrum/CDMA concepts, as well as SC-FDMA. Qualcomm invented the PUCCH structure and

26   design, including all the different PUCCH Formats (including the later Format 3).

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 1          349.    Qualcomm’s patent portfolio includes patented inventions covering the basic

 2   PUCCH structure and design, including various patents directed to each PUCCH Format

 3   (Formats 1, 1a, 1b, 2, 2a, 2b and 3). These patents are essential to LTE Release 8 and all

 4   subsequent releases.

 5                  4.      Qualcomm’s Role Leading the Way to 5G
 6          350.    Many of Qualcomm’s innovations from HDR, Espresso, YODA, Frappuccino,

 7   Coconut (another Qualcomm R&D project), and several other projects laid the foundation for 5G

 8   and LTE-A. In 2012, Qualcomm began transitioning resources to Project Pentari to develop the

 9   next generation cellular system. Project Pentari continues today developing a complete 5G
10   solution. In addition to Project Pentari, Qualcomm continues to produce innovations relevant to

11   5G through its work in Project Skyber for mmWave and Project Meridian for further developing

12   use of unlicensed spectrum.

13          351.    Carrier Aggregation. The original LTE Release, Release 8, did not meet the

14   performance goals set for 4G cellular known as International Mobile Telecommunications-

15   Advanced (“IMT-Advanced”) set by the International Telecommunications Union

16   Radiocommunication Sector (“ITU-R.”) It was not until LTE Release 10 (LTE-A) that additional

17   standardized features allowed LTE to meet the performance goals. 3GPP submitted LTE Release

18   10 to ITU-R as its IMT-Advanced candidate. Carrier aggregation is a critical feature of LTE-A

19   and is a major reason for the higher data rates available in newer releases of the LTE standard.
20          352.    Carrier aggregation enables a single user to transmit data packets to or receive data

21   packets from a base station using more than one carrier frequency (called a “carrier.”) A user

22   whose device uses two carrier frequencies can achieve roughly double the data rate compared

23   with a user device that uses a single carrier frequency. In addition, because carrier aggregation

24   allows the same user to simultaneously receive and transmit signals even on widely spaced

25   frequency bands, network operators can more effectively use the bands allocated to them, even if

26   those bands are not contiguous.

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               353.   Network operators must make the most efficient use of limited resources.
 9
     Network operators often need to bid billions of dollars for licenses to particular frequency
10
     allocations. Due to their cost and the segmented nature of spectrum license bidding, operators are
11
     often unable to secure spectrum “real estate” holdings that are in the proverbial best
12
     neighborhoods or on contiguous properties. To use those scattered and sometimes less desirable
13
     spectrum holdings in the most efficient way possible, operators rely on carrier aggregation
14
     technology.
15
               354.   Qualcomm was on the leading edge of developing carrier aggregation technologies
16
     prior to their deployment in modern networks. As one example, carrier aggregation in LTE is
17
     rooted in the “Multi-carrier technology” found in EV-DO Rev. B. Qualcomm has developed
18
     Carrier Aggregation technology as part of Projects WARP, Wizard, YODA, Espresso and
19
     Frappuccino.
20
               355.   The prevalence and importance of carrier aggregation is expected to continue
21
     quickly expanding as existing LTE network deployments mature and network operators deploy
22
     next generation (i.e., 5G) networks with more spectrum, including in unlicensed bands (e.g., 5
23
     GHz), bands with hybrid licensing (e.g., 3.5 GHz), and millimeter wave bands (e.g., 28 GHz and
24
     above).
25
               356.   Carrier Aggregation concepts developed by Qualcomm are a key organizing
26
     principle for 5G systems: the user device will have access to and commonly use multiple bands in
27

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 1   both directions to achieve high capacity and reliable coverage, while efficiently utilizing the

 2   cellular networks’ diverse spectral holdings.

 3          357.    Qualcomm’s patent portfolio includes patented inventions directed to the basic

 4   Carrier Aggregation concept, as well as the control signaling, agility and mobility, and power

 5   control concepts necessary to implement Carrier Aggregation. These patents are essential to LTE

 6   Release 10 and all subsequent releases.

 7          358.    Use of Unlicensed Spectrum and HetNets. In 2006, Qualcomm created Project

 8   Coconut to investigate using unused television spectrum. In 2012, Qualcomm revisited these

 9   concepts and began investigating using carrier aggregation in unlicensed spectrum, i.e., the same
10   frequencies used by Wi-Fi, baby monitors, and cordless phones. By 2013, Qualcomm

11   demonstrated carrier aggregation in unlicensed spectrum at Mobile World Congress. The

12   industry was skeptical about using cellular in unlicensed spectrum because of fear that it would

13   interfere with existing communications in those frequency bands. To address this skepticism,

14   Qualcomm created a test environment that isolated multiple Wi-Fi devices, as well as Qualcomm

15   prototypes together to show that, with proper protocols, the Qualcomm prototypes did not hurt the

16   performance of the Wi-Fi devices. Qualcomm developed a complete protocol for using

17   unlicensed spectrum, initially named LTE-Unlicensed (“LTE-U”), that was later standardized as

18   Licensed Assisted Access (“LAA.”) LAA allows gigabit LTE speeds and provided an

19   opportunity for carriers to offer higher data rates without the expense of buying scarce licensed
20   spectrum from the FCC.

21          359.    HetNet is a term used to describe a cellular network that incorporates both

22   traditional macrocells and smaller cells. Traditional cellular networks consist of a network of

23   base stations whose coverage areas are known as cells. These base stations are generally tower

24   mounted with high-gain antenna arrays and large transmission power (e.g., 40 Watts), and are

25   thus capable of covering large areas. These “macrocells,” as they are known, are positioned at

26   relatively large distances to cover the needed geographical area. Network operators are

27   increasingly looking to densify their networks by adding additional cells. Depending on their size

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 1   and power level, these cells may include “macrocells,” “microcells” and “femtocells.” As shown

 2   in the figure below, macro and microcells are usually deployed by the network operators in a

 3   planned fashion while femtocells are usually deployed in an ad hoc fashion by end users in

 4   residential environments. Because microcells and femtocells are much smaller and lower power,

 5   the hurdles and costs associated with these types of base stations are considerably less.

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15          360.      Adding small cells to the network requires addressing potential complications.
16   Each added cell can have a substantial effect on the overall network, both with the increased
17   capacity it brings, as well as the interference it generates. This effect is even larger when the
18   ultra-dense small networks being envisioned for the future are considered. Interference, if not
19   addressed, will drastically reduce the capacity benefits of deploying small cells.
20          361.      Qualcomm has been a leading researcher in the area of HetNets. As part of Project
21   YODA, Qualcomm developed protocols to manage service and user connections between
22   adjacent cellular base stations with overlapping coverage areas. Adapting HetNet techniques for
23   LTE was also a focus of Project Frappuccino between 2008 and 2012. Qualcomm was the first
24   company to successfully demonstrate HetNets at Mobile World Congress 2011, followed by full-
25   system demonstrations with network operators in 2012. Qualcomm continues to research
26   HetNets today.
27

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 1            362.   5G deployments will continue the ongoing trend from LTE and become

 2   increasingly heterogeneous, including through the introduction of mobile mmWave technologies.

 3   5G NR designs will not only enable the use of higher frequencies in mid-band spectrum for

 4   macro/small cell deployments, but it will also bring new mmWave opportunities at spectrum

 5   bands above 24 GHz for mobile broadband. These mmWave deployments are expected to

 6   proliferate the number of small cells (since mmWave signals have shorter range) and as a result,

 7   will rely increasingly on Qualcomm’s HetNet innovations to provide technical solutions to

 8   interference issues that will be encountered when combining traditional macrocells and 5G small

 9   cells.
10            363.   Qualcomm’s patent portfolio includes patented inventions directed to LAA

11   channel arrangements and HetNet technologies such as basic interference coordination concepts.

12   These patents are essential to later releases of LTE that standardized LAA and HetNets.

13   V.       QUALCOMM’S PRACTICE OF LICENSING AT THE DEVICE LEVEL
14            364.   Qualcomm has made commitments to license its SEPs essential to 3GPP and

15   3GPP2 cellular standards on FRAND terms and conditions. These commitments were made

16   pursuant to, among others, the respective IPR policies for ETSI, ATIS and TIA. These IPR

17   policies govern the scope of the commitments.

18            365.   The supply chain for products implementing cellular standards, along with end

19   user sales, reaches across many jurisdictions, and SEP holders are located all over the world and
20   own SEPs issued by many different jurisdictions.

21            A.     Qualcomm’s Commitments to ETSI
22            366.   ETSI’s IPR policy in section 6.1 states:

23                   When an ESSENTIAL IPR relating to a particular STANDARD or
                     TECHNICAL SPECIFICATION is brought to the attention of ETSI, the
24                   Director-General of ETSI shall immediately request the owner to give within
                     three months an irrevocable undertaking in writing that it is prepared to grant
25                   irrevocable licences on fair, reasonable and non-discriminatory (“FRAND”)
                     terms and conditions under such IPR to at least the following extent:
26                   -      MANUFACTURE, including the right to make or have made
                            customized components and sub-systems to the licensee's own
27                          design for use in MANUFACTURE;
28
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 1                  -       sell, lease, or otherwise dispose of             EQUIPMENT         so
                            MANUFACTURED;
 2                  -       repair, use, or operate EQUIPMENT; and
                    -       use METHODS.
 3
                    The above undertaking may be made subject to the condition that those who
 4                  seek licences agree to reciprocate.

 5          367.    The ETSI IPR policy also states that “MEMBERS shall use one of the ETSI IPR

 6   Licensing Declaration forms at the Appendix to this ETSI IPR Policy to make their IPR licensing

 7   declarations.” That form, in accordance with section 6.1, states:

 8                  To the extent that the IPR(s) disclosed in the attached IPR Information
                    Statement Annex are or become, and remain ESSENTIAL in respect of the
 9                  ETSI Work Item, STANDARD and/or TECHNICAL SPECIFICATION
                    identified in the attached IPR Information Statement Annex, the Declarant
10                  and/or its AFFILIATES are (1) prepared to grant irrevocable licences under
                    this/these IPR(s) on terms and conditions which are in accordance with
11                  Clause 6.1 of the ETSI IPR Policy; and (2) will comply with Clause 6.1bis
                    of the ETSI IPR Policy.
12
            368.    The definitions in section 15 of the ETSI IPR policy clarify that the commitment
13
     to license applies to makers of complete operational devices, such as cellular handsets or tablets.
14
     In particular, the ETSI IPR policy states that “‘MANUFACTURE’, shall mean production of
15
     EQUIPMENT,” “ ‘EQUIPMENT’ shall mean any system, or device fully conforming to a
16
     STANDARD,” and “ ‘METHODS’ shall mean any method or operation fully conforming to a
17
     STANDARD.”
18
            369.    Pursuant to the ETSI IPR Policy, Qualcomm made FRAND commitments to ETSI
19
     assuring it would make SEP licenses available to applicants in accordance with Clause 6.1 of the
20
     ETSI IPR Policy.
21
            370.    At the time of the adoption of the ETSI IPR Policy in November 1994, the drafters
22
     of the ETSI IPR Policy in 1994 did not intend to change the prevailing normal industry practice,
23
     which was to license only manufacturers of fully compliant end-user devices (device level
24
     licensing), and not component manufacturers.
25
            371.    The Chairman of the ETSI IPR Special Committee until November 2018, Dirk
26
     Weiler, testified that the ETSI IPR Policy only requires device-level licensing.
27

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 1          372.    Prominent ETSI members, such as Nokia and Ericsson, have always interpreted

 2   the ETSI IPR Policy as only requiring device-level licensing. In 2003, efforts to define bad or

 3   unreasonable practices under FRAND caused “major divergences,” and since a consensus was not

 4   achieved, “it was decided that the [IPR ad hoc group] would simply provide an information on the

 5   two extreme views and opinions expressed on them by individual members of the ad hoc group.”

 6   In 2012, Apple renewed efforts before ETSI to change the FRAND definition and the royalty

 7   base for a FRAND license under the ETSI IPR Policy, but Apple’s requests were rejected with no

 8   changes to the Policy made.

 9          373.    ETSI and ATIS have fundamentally similar IPR policies. ETSI compared its IPR
10   Policy with that of TIA because of their joint oneM2M membership and found it compatible.

11   ETSI, ATIS and TIA are all members of oneM2M, which requires such IPR policy compatibility

12   among its members.

13          B.      Qualcomm’s Commitments to ATIS AND TIA
14          374.    The ATIS IPR Policy states that a holder of essential patent claims may give

15   “assurance that a license to such essential patent claim(s) will be made available to applicants

16   desiring to utilize the license for the purpose of implementing the standard . . . under reasonable

17   terms and conditions that are demonstrably free of any unfair discrimination.”

18          375.    Pursuant to the ATIS IPR Policy, Qualcomm has made FRAND commitments to

19   ATIS assuring that it would make SEP licenses available to applicants “for the purpose of
20   implementing” the standard.

21          376.    Prior to 2001, the TIA IPR Policy required licensing applicants “for the purpose of

22   implementing” TIA standards.

23          377.    From 2001 to 2005, the TIA IPR Policy provided that SEPs “will be made

24   available under reasonable terms and conditions that are demonstrably free of any unfair

25   discrimination to applicants only and to the extent necessary for the practice of” TIA standards.

26          378.    In 2005, the IPR Policy was amended to read that SEPs:

27                  will be made available to all applicants under terms and conditions that are
                    reasonable and non-discriminatory, which may include monetary
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 1                  compensation, and only to the extent necessary for the practice of any or all
                    of the Normative portions of the above Reference Document for the field of
 2                  use of practice of the Standard.

 3          379.    The change in the language served to make it explicit that a patent that was

 4   necessarily infringed by the practice of an “optional” element of a standard was nonetheless still

 5   an “essential” patent and subject to the licensing commitment. It made no change in the scope of

 6   the applicants to whom the licensing commitment applied, which remained limited to the field of

 7   use of practice of the standard.

 8          380.    Pursuant to the TIA IPR Policy, Qualcomm has provided TIA with FRAND

 9   commitments to make SEP licenses available to applicants “only and to the extent necessary for

10   the practice of the” TIA standards.

11          381.    ATIS and TIA are accredited by ANSI, a non-profit organization that oversees the

12   development of standards in the United States. To maintain ANSI accreditation, ATIS and TIA

13   must meet certain “Essential Requirements” defined by ANSI, including maintaining IPR Policies

14   that are consistent with ANSI’s own Patent Policy.

15          382.    The ANSI Patent Policy provides for patent holders to commit that a license “will

16   be made available to applicants desiring to utilize the license for the purpose of implementing the

17   standard . . . under reasonable terms and conditions that are demonstrably free of any unfair

18   discrimination.”

19          383.    The ATIS IPR Policy is identical to the ANSI Patent Policy, while the TIA IPR

20   Policy has closely similar language.

21          384.    ANSI’s Executive Standards Council (“ExSC”) has stated:

22                  We . . . take this opportunity to emphasize that [a prior ExSC decision] was
                    not intended to create a “default” interpretation of the ANSI Patent Policy
23                  requiring licensing at the component level. While the ExSC determined in
                    the IEEE case that such a requirement was not inconsistent with the ANSI
24                  Patent Policy, that does not mean that ANSI’s Patent Policy requires
                    licensing at the component level. We do not wish to express or imply any
25                  such “default” interpretation and we leave it to negotiations between patent
                    holders and implementers to decide what licensing terms are appropriate in
26                  particular standards, subject to the terms of an [SDO’s] patent policy.

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 1          385.    The ANSI ExSC further clarified that a commitment to license “to the extent

 2   necessary to practice wholly compliant implementations,” rather than mere components, is

 3   equivalent to the ANSI Patent Policy’s requirement that a license be for “the purpose of

 4   implementing the standard.”

 5          C.      The Content of the Relevant 3GPP and 3GPP2 Standards
 6          386.    Cellular networks include the “core network,” “radio access network,” and “user

 7   equipment,” each of which are referred to as “domains” or “entities.” The core network includes

 8   the switching equipment that routes communications between the radio access network and the

 9   Internet or telephone network. The radio access network includes base stations that use wireless
10   channels in the spectrum to communicate with user equipment. Examples of user equipment

11   includes smart phones, cell phones, and the like.

12          387.    The 3GPP and 3GPP2 standards that are subject to the ETSI, ATIS and TIA IPR

13   Policies at issue in this case address performance, interoperability and communication protocols

14   between the broad “domains” of a cellular system: (1) Infrastructure, which comprises fixed

15   equipment such as base stations that send and receive wireless signals and relay those, and (2)

16   User Equipment (“UE” – the 3GPP term, sometimes referred to above and below as a “user

17   device”) or Mobile Station (the 3GPP2 term), an operational user device such as a handset.

18          388.    3GPP and 3GPP2 standards generally treat the internal workings of the

19   “Infrastructure” and “UE” or “Mobile Station” domain as a “black box.” The standards specify
20   the actions that complete infrastructure equipment or user devices must take (such as which

21   signals it must transmit) to operate on a cellular network.

22          389.    These cellular standards do not define how a user device is constructed or how the

23   components of a user device operate. Rather, they provide OEMs broad discretion regarding how

24   to construct a user device or infrastructure. These standards also say nothing about the design of

25   modem chips, antennae, power-control chips or the many other components that make up

26   infrastructure equipment or user devices and do not specify whether any required functions must

27   be carried out by hardware or software. They do not describe or define modem chips.

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 1          390.    Conformance with the standards is tested and determined by analyzing the

 2   functioning of a complete operational device, not the behavior or design of any component of the

 3   device such as modem chips. There are published compliance testing protocols for devices, but

 4   none for modem chips.

 5          391.    Modem chips do not and cannot operate on a cellular network on their own,

 6   outside of a complete user device that has all of the hardware and software components needed to

 7   implement the standards-specified functionality. The same model of modem chip can be placed

 8   in a user device that practices a standard and a user device that does not practice a standard.

 9          D.      Industry Practice of Device-Level Licensing
10          392.    It is cellular industry practice for SEP owners to make licenses available for the

11   manufacture and sale of end-user devices, but not for the manufacture and sale of components

12   such as baseband chips.

13          393.    Device-level licensing was standard industry practice before Qualcomm built its

14   licensing program.

15          394.    Qualcomm followed this established industry practice when it launched its

16   licensing program in the 1990s. Its understanding and intent at all relevant times with respect to

17   its licensing commitments made to ETSI, ATIS and TIA was that it was committing to make

18   licenses available at the device level in accordance with industry practice.

19          395.    Nokia has an established practice of granting licenses for use of its cellular SEPs
20   exclusively at the device level. It has licensed the manufacture and sale of complete devices

21   practicing its cellular SEPs to an array of companies, including Apple, BlackBerry, RIM,

22   Ericsson, HTC, Huawei, Kyocera, LG Group, Motorola, Microsoft, Samsung, Sony and Xiaomi.

23   Nokia has established one point of license, and that is the end-user product which is consistent

24   with the industry practice.

25          396.    Nokia’s device level licensing practice, without regard to any specific SDO’s,

26   policy is as follows:

27                  In keeping with licensing practices well-established over the past decades,
                    Nokia also consistently licenses its patents for complete end-user products,
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 1                  such as handsets and other terminals, and correspondingly refrains from
                    charging royalties at other levels in the value chain, including intermediate
 2                  products such as chipsets. This approach has been Nokia’s practice from the
                    very beginning and it corresponds with the industry practice.
 3
            397.    Ericsson has a similar practice and understanding of industry norms. Device-level
 4
     licensing is and always has been Ericsson’s practice and has been the industry practice among
 5
     owners of cellular SEPs since the 1990s. Ericsson has excluded from its cellular SEP license
 6
     agreements rights to manufacture modem chips. In the 1990s, when Ericsson sold end-user
 7
     devices, its inbound licenses were also at the device level.
 8
            398.    Ericsson and Huawei, both major SEP holders and either current or former modem
 9
     chip makers, entered into a cross-license on January 13, 2016.
10

11
                                  Ericsson also signed a device-level licensing agreement with LG
12
     using end-device as royalty base.
13
            399.    InterDigital, another owner of SEPs relevant to 3GPP and 3GPP2 cellular
14
     standards, licenses at the device level and understands that to be industry practice as well.
15
     InterDigital’s Vice President, Deputy General Counsel, Licensing, Ranae McElvaine, testified:
16
     “[w]e typically license the manufacturer of the end-user device, such as the phone or a tablet or a
17
     cellular computer. . . . [W]e have licensed modules, wireless modules, which would go into a
18
     tablet or a computer. But not at the chipset level.” She also affirmed the statement that
19
     “InterDigital follows industry practice and conducts its licensing business at the handset or other
20
     terminal unit level, and that has been InterDigital’s practice for more than 20 years.”
21
            400.    Via Licensing manages a patent pool that licenses the LTE SEPs owned by AT&T,
22
     China Mobile, Clear Wireless, Deutsche Telekom, Dolby Laboratories, Inc., Google, Hewlett
23
     Packard, MediaTek, KDDI, Lenovo, Motorola Mobility, NEWRACOM, NTT DoCoMo, SK
24
     Telecom, Telecom Italia, Telefonica, S.A. and ZTE. Via Licensing licenses its LTE patent pool
25

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 1          401.    Via Licensing also manages a WCDMA (3G) patent pool that licenses the

 2   WCDMA SEPs owned by AT&T, Fujitsu, KDDI, Koninklijke KPN, Mitsubishi Electric, NEC,

 3   NTT DoCoMo, Sharp, Siemens, SK Telecom Co., Technology InAriscale and Toshiba. Via

 4   Licensing licenses its WCDMA patent pool only at the device level.

 5          402.    Motorola, which had a significant SEP portfolio before it was sold to Google, and

 6   which was one of the largest modem chip suppliers and one of the largest device makers, licensed

 7   its SEPs only at the device level.

 8          403.    Modem chip suppliers are also aware of industry practice to license SEPs at the

 9   device level, and not at the component or modem level.

10          404.    MediaTek’s General Manager, Corporate Sales, John Finbarr Moynihan, testified

11   that during a negotiation, Nokia “went out of their way to make it absolutely clear that they were

12   not licensing to the chipset company.” He testified further that it was his “general[]

13   underst[anding]” that “all essential IPR is typically licensed by the IPR holders to the end device

14   manufacturer.”

15          405.    MediaTek contributes its SEPs to the Via Licensing pool,

16

17          406.

18

19          407.    Intel claims to have entered only one agreement to cellular SEPs for the purpose of

20   manufacturing chips. Modem chip suppliers, including MediaTek, Broadcom, Marvell and

21   Ericsson, have never entered an agreement that included a license to cellular SEPs for the purpose

22   of manufacturing chips.

23          408.    Samsung’s chip division did not have exhaustive licenses from major SEP holders.

24   Samsung has requested such licenses, but no major cellular patent holder has granted a license in

25   response to its requests. Nor does Samsung license its own SEPs to chip sellers. Samsung has

26   not licensed MediaTek.

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 1          409.    Samsung has sought to license its own cellular SEPs at the device level, using the

 2   device as the rate base. Samsung made an offer to Apple for its

 3                                                   and said that this was reasonable and consistent

 4   with FRAND.

 5          410.

 6

 7

 8          411.

 9

10          412.    MediaTek is still a member of the Via Licensing LTE pool,

11

12          413.    Samsung, Huawei, MediaTek, Intel and other chipmakers have never requested a

13   stand-alone chip-level license from InterDigital.

14          414.    Device-level licensing has been Ericsson’s practice since it became involved in

15   cellular SEP licensing. In the 1990s, when Ericsson sold end-user devices, its inbound licenses

16   were at the device level. Ericsson has excluded from its cellular SEP license agreements rights to

17   manufacture modem chips.

18          415.    Blackberry licenses its SEPs at the device level.

19          416.    Qualcomm has received inbound chip level cross-licenses to the cellular SEPs of

20   its device maker licensees. These cross-licenses are designed to prevent a device maker from

21   signing a license for rights under Qualcomm’s patents and then opportunistically asserting their

22   own patents against Qualcomm.

23          417.    Qualcomm’s cross-licenses are negotiated terms that are not addressed by any

24   obligation arising under an SDO IPR policy.

25          418.    Qualcomm does not seek SEP licenses covering the manufacture or sale of chips

26   outside the context of cross licenses.

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 1           E.     Qualcomm’s Licensing Practices with Respect to Chipmakers

 2           419.   Qualcomm makes licenses to its cellular SEPs available to any willing licensee for

 3   the manufacture and sale of end-user devices, including chipmakers (to the extent they are

 4   manufacturing and selling end-user devices.) Qualcomm has licensed Samsung and Huawei —

 5   who are both chip makers and user device makers – to use Qualcomm’s SEPs in their user

 6   devices.

 7           420.   Qualcomm does not seek to prevent others from practicing its cellular SEPs to

 8   manufacture or sell components of end-user devices; it neither asserts its SEPs against competing

 9   chip makers nor seeks to collect royalties from them.

10           421.   Qualcomm does not grant exhaustive licenses to manufacture or sell components

11   of end-user devices, such as modem chips. Nor has it granted exhaustive licenses to chipmakers

12   in the past.

13           422.   Competing modem chip manufacturers make and sell modem chips without any

14   patent license agreement with, or royalties payable to, Qualcomm.

15           423.   Since 2006, Qualcomm has never asserted any SEP against any chip manufacturer.

16           424.   Qualcomm has negotiated to provide competing chip manufacturers with other

17   types of non-exhaustive contractual assurances.

18           425.   Qualcomm has in the past entered into non-exhaustive patent licenses granting

19   chipmakers rights to make and sell modem chips. Under these agreements, the right to use

20   Qualcomm’s patents in complete devices was reserved and could be licensed (along with other,

21   additional rights under Qualcomm’s patents) to device makers.

22           426.   Subsequently, to minimize the risk of exhaustion arising from developments in

23   U.S. patent law, Qualcomm offered chipmakers (i) a “covenant not to assert,” i.e., a promise not

24   to assert its patent rights against the chipmaker; (ii) a “covenant to exhaust remedies,” i.e., a

25   promise that before asserting its patents against the chipmaker for selling modem chips,

26   Qualcomm would bring claims for infringement against the chipmaker’s customers (the device

27   makers); or (iii) a standstill agreement with a springing release, whereby Qualcomm agreed to not

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 1   pursue patent infringement claims against the counterparty for a period of time, and the

 2   counterparty would be released of all liability if its customer paid the royalties.

 3          427.    On January 30, 2018, Qualcomm entered into a “Cellular Modem Component

 4   Patent Commitment Agreement” with Samsung. Under the agreement, Qualcomm agreed not to

 5   assert its cellular SEPs against Samsung, in connection with Samsung’s manufacture and sale of

 6   modem chips, unless it first offers Samsung a license to make and sell chips on terms that are fair,

 7   reasonable and non-discriminatory.

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12          428.    No chipmaker has sued Qualcomm in more than a decade seeking a license on the

13   grounds that Qualcomm was obligated by its licensing declarations to SDOs to license at the

14   component level.

15          429.    Chip manufacturers have no need for a separate license and are not blocked from

16   access to SEPs in any way. The technology is broadly available as a result of the standardization

17   process, and Qualcomm does not assert its SEPs against rival chip suppliers. Nor does

18   Qualcomm have any incentive to do so. Instead, when chip suppliers have sought contractual

19   assurances that Qualcomm will not assert its SEPs against them, Qualcomm has been willing to

20   negotiate such agreements on a non-exhaustive basis.

21   VI.    APPLE’S CHIP RELATIONSHIP WITH QUALCOMM
22          430.    From 2007 to January 2011, Apple exclusively used in its iPhones modem chipsets

23   from Infineon, which was acquired by Intel in 2011.

24          431.    Infineon had software issues and resource constraints for the Infineon chips used

25   in the iPhone 3GS, released in June 2009. Infineon missed milestones.

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 1          432.    In 2009, Apple awarded Qualcomm the socket for the CDMA version of the

 2   iPhone 4, which was released in February 2011. Apple continued to use an Infineon chip for the

 3   WCDMA version of the iPhone 4.

 4          433.    Apple was pleased with the performance of Qualcomm’s baseband processor even

 5   before release of the iPhone 4, and told Qualcomm that it was considering using its baseband

 6   processors for all new iPhone models, but would not do so unless Qualcomm paid Apple a

 7   substantial amount of money to reimburse Apple, purportedly for the expenses associated with

 8   switching baseband processor suppliers.

 9          434.    While Apple told Qualcomm that Apple sought a “single SKU” iPhone that would
10   serve all markets, and therefore consolidate Apple’s procurement of chips with a single modem

11   chip supplier, Apple refused to contractually commit to buying any modem chips from

12   Qualcomm.

13          435.    Qualcomm had to undertake substantial relationship-specific investments in order

14   to sell modem chips to Apple.

15          436.    Apple has developed and uses its own proprietary application processor (AP), and

16   Apple devices – unlike the devices of other OEMs – require a “thin modem” chip that could be

17   integrated with Apple’s own AP.

18          437.    While Qualcomm offered thin modem solutions at the time it negotiated with

19   Apple about supplying it with modem chips, those products were largely confined to low volume,
20   non-handset applications such as data cards and dongles. The chips developed for Apple differed

21   from those other modem-only products because the Apple thin modems required extensive

22   customization, engineering, and support, including the software and other interfaces that allow

23   these chips to work with Apple’s proprietary APs and operating system.

24          438.    The investment that was necessary to meet Apple’s requirements was one of

25   several risks Qualcomm faced in negotiating a chip supply agreement with Apple. These risks

26   included:

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 1           (a)     Apple demanded a schedule of large incentive payments to be made early in the

 2   engagement.

 3           (b)     Qualcomm would have to undertake significant R&D investments – well in excess

 4   of $1 billion between 2011 and 2017 – in its thin modem line, including costs associated with

 5   customizing thin modems for Apple. But for the demand from Apple, Qualcomm would likely

 6   have developed a new thin modem only once every three years.

 7           (c)     Qualcomm needed to incur these significant R&D investments, and to make many

 8   of the payments under the Apple Agreements, in advance of selling significant volumes to, or

 9   receiving revenue from, Apple. Therefore, these substantial costs could potentially never be

10   recovered from Apple.

11           (d)     These risks were borne out on several occasions. For example, at Apple’s request

12   in 2010, Qualcomm initiated Project Velcro to develop specifically for Apple’s iPhone 5 a

13   “fusion” modem chip combining its multimode MDM6x15 WCDMA/CDMA modem chip with

14   its MDM9600 LTE modem chip. After many months of work, Apple told Qualcomm that it no

15   longer wanted to use the Velcro chip for the iPhone 5 and canceled the project. As a result,

16   Qualcomm absorbed approximately                                             .

17           (e)     Unlike its other modem chip products, Qualcomm’s thin modem sales were

18   concentrated in Apple – meaning there were limited opportunities to sell the thin modems

19   customized for Apple to other OEMs.

20           (f)     Because Qualcomm does not own fabrication facilities, it must enter into long term

21   volume purchase commitments with outside foundries, and it would have to compensate those

22   foundries even if Apple chose to purchase from Qualcomm’s competitors or not to proceed with

23   the project at all.

24           439.    To address the foregoing risks in addition to Apple’s refusal to provide any

25   purchase volume commitments to Qualcomm, and to give Qualcomm reasonable assurances that

26   it would have a chance to recoup its large up-front payments to Apple, Qualcomm and Apple

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 1   agreed to place conditions on three types of incentive payments from Qualcomm to Apple in the

 2   February 2011 Transition Agreement:

 3          440.   Transition Fund ($250 Million): Qualcomm agreed to pay Apple $250 million in

 4   two installments of $125 million each, on March 31, 2012 and March 31, 2013. As a condition

 5   for receiving these payments, Apple agreed to commercially launch a product that incorporated a

 6   Qualcomm WCDMA-enabled modem chip to multiple WCDMA carriers by March 31, 2012, the

 7   date of the first payment. Apple also agreed to achieve certain volume thresholds of purchases

 8   from Qualcomm to qualify for the full amount of each payment. If Apple launched a device with

 9   a non-Qualcomm modem chip in 2013, Apple agreed to repay the second installment of the
10   Transition Fund.

11          441.   Marketing Development Fund ($150 Million): Qualcomm agreed to pay Apple six

12   quarterly payments of $25 million each, beginning in the third quarter of 2011, for marketing

13   efforts to drive demand for global sales of products that contained WCDMA chips. Apple agreed

14   to return to Qualcomm monies received from the Marketing Development Fund if it failed to

15   launch a product with a WCDMA carrier that used a Qualcomm modem chip by the end of 2012.

16          442.   Variable Incentive Fund (up to $600 Million): Qualcomm agreed to pay Apple an

17   annual payment of up to $200 million, capped at $600 million total, within 45 days of October 1st

18   of each year from 2012 to 2015. Each year’s payment was based on a volume schedule, and

19   Apple agreed to reimburse the second of these installments and forfeit future payments from this
20   fund if Apple were to launch a device with a non-Qualcomm modem chip in 2013. Apple

21   reached the cap of $600 million in October 2014, after receiving the maximum payment of $200

22   million in 2012, 2013, and 2014.

23          443.   During the second half of 2010, Apple evaluated different thin modem solutions

24   for its devices to be released in 2012, including both LTE-enabling and non-LTE-enabling

25   modem chips. Apple solicited bids from at least three thin modem suppliers: Apple’s incumbent

26   supplier Infineon, ST-Ericsson, and Qualcomm.

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 1          444.    In October 2010, Apple emailed Qualcomm requesting a lower price and

 2   mentioning other competitive quotes.

 3          445.    Apple used those bids to drive down Qualcomm’s thin modem prices and

 4   negotiate the large incentive payments as part of the 2011 Transition Agreement.

 5          446.    Given Apple’s sales volumes in 2011 and 2012, it became clear that Apple would

 6   exhaust the VIF payments under the Transition Agreement prior to its 2015 devices. Given

 7   Apple's design cycle, Apple approached Qualcomm in late 2012 to amend the Transition

 8   Agreement to provide for additional incentives to be paid by Qualcomm in connection with Apple

 9   products launched from 2015 onward. As executed, the amendment also included incentive
10   payments that began in 2013 and continue through 2016. Qualcomm paid Apple incentives under

11   the Transition Agreement through November 2014.

12          447.    Qualcomm and Apple entered into the First Amendment to the Transition

13   Agreement on February 28, 2013, effective January 1, 2013. This agreement established two

14   types of new incentive payments from Qualcomm to Apple:

15          448.    Marketing Fund: For Apple products sold between January 1, 2013 and December

16   31, 2016, Qualcomm agreed to pay Apple $2.50 for each iPhone sold at a price of at least $200,

17   and $1.50 for each cellular-enabled iPad sold at a price of at least $180, if those devices contained

18   a Qualcomm modem chip. Apple demanded and Qualcomm agreed that these sums would begin

19   to accrue on January 1, 2013, long before Qualcomm would find out if Apple would purchase
20   chips from Qualcomm for its 2015 and 2016 devices.

21          449.    Additional Variable Incentive Fund: Qualcomm agreed to pay Apple up to $400

22   million in two additional annual payments, scheduled to be made in November 2015 and 2016, of

23   up to $200 million each, with payments ranging from $0 to $200 million based on the volume of

24   modem chips purchased.

25          450.    In negotiating the Transition Agreement, Apple sought an exclusive supplier.

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 1           451.    During the time the Transition Agreement and First Amendment to Transition

 2   Agreement were in effect, Apple engaged other suppliers. This continued engagement with other

 3   suppliers drove pricing concessions from Qualcomm.

 4           452.    During the time the Transition Agreement and First Amendment to the Transition

 5   Agreement were in effect, Apple evaluated modem chips from Intel, ST-Ericsson, Broadcom,

 6   Renesas, and Marvell. Apple used information from these competing suppliers to extract price

 7   concessions from Qualcomm by selectively sharing information with Qualcomm during the

 8   negotiation process.

 9           453.    The 2011 Transition Agreement did not prevent or foreclose any modem chip
10   supplier with a chip that could meet Apple’s performance and scheduling requirements from

11   supplying Apple.

12           454.    No other baseband processor supplier, including Intel, was able to meet Apple’s

13   technical, supply, and product-support needs for its newly introduced flagship launches from

14   2011 until 2016.

15           455.    At the time of Infineon’s acquisition by Intel in 2011, Infineon and Intel knew they

16   would lose the Apple business to Qualcomm because Infineon modems could not support LTE.

17           456.    In March 2011, Apple officially canceled the Project Velcro initiative it requested

18   from Qualcomm, and issued a “man on the moon” challenge that required Qualcomm to

19   accelerate development of its MDM9x15 LTE multimode modem chip that better fit its size and
20   power preferences by 12 months. Apple’s “man on the moon” challenge required Qualcomm to

21   move up its development plan for the MDM9x15 modem chip within the time constraints

22   originally scheduled for Project Velcro. Qualcomm met the challenge, and Apple selected

23   Qualcomm’s MDM9x15 modem chips for the iPhone 5, iPad 4, and iPad Mini (2d gen.) released

24   in the fall of 2012.

25           457.    Qualcomm was the only chip supplier that potentially could meet Apple’s “man on

26   the moon” challenge to supply Apple with LTE modem chips in time for the fall 2012 release of

27   the iPhone 5.

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 1             458.   Apple again issued an RFP for multimode LTE modem chips for use in Apple’s

 2   2013 and 2014 iPhones and cellular-enabled iPads. Apple considered Intel as an alternative

 3   supplier of LTE chips for 2013-2014 products, but Intel was unable to meet the requirements of

 4   the RFP. Intel did not have a modem chip available that was able to support TDD LTE and TD-

 5   SCDMA, which are wireless standards required by Chinese carriers, and LTE carrier aggregation,

 6   a performance feature desired by Apple.

 7             459.   Apple also considered ST-Ericsson as an alternative supplier of LTE modem chips

 8   for 2013-14 products, but chose not to proceed due to ST-Ericsson’s scheduling and execution

 9   issues.
10             460.   Apple also considered Broadcom and Marvell as potential suppliers of LTE

11   modem chips for 2013-14 products, but they were also unable to meet Apple’s requirements.

12             461.   In 2014, Apple considered HiSilicon as a potential modem chip supplier.

13             462.   For 2015 Apple products, Intel’s modems under consideration continued to

14   underperform Qualcomm’s modems. Intel did not have a modem chip available that was able to

15   support TDD LTE carrier aggregation or intra-band LTE carrier aggregation, a performance

16   feature required by Apple, until the XMM7360, the modem chip used in Intel’s first iPhone (the

17   iPhone 7), which was released in late 2016.

18             463.   Intel’s modems were not able to meet Apple’s requirements for the 2014, 2015,

19   and 2016 iPad models, including the iPad Air 2, iPad Mini 3rd Gen, iPad Mini 4th Gen, iPad Pro
20   (9.7”), and iPad Pro (12.9”), the only Apple devices that the FTC contends could have potentially

21   included a modem chip from a supplier other than Qualcomm, in part because they could not

22   support an Apple initiative called Project Sequoia, which was a business initiative to change the

23   way iPad users select cellular service providers and data plans.

24             464.   As described above, Intel proposed the XMM 7160 in response to Apple’s 2011

25   RFP for 2014 products and the XMM 7260/7262 for 2015 products. These chips failed to meet

26   Apple’s requirements for iPads for the same above reasons that they failed to meet Apple’s

27   requirements for iPhones. Specifically, the XMM 7160 lacked carrier aggregation, TD-SCDMA,

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 1   and TDD LTE. The XMM 7260/7262 failed to offer intraband carrier aggregation and TDD LTE

 2   carrier aggregation on Band 41.

 3             465.   Initially, Apple believed that the XMM 7160 might be suitable for the iPad Mini 2.

 4   But network carrier plans to roll out carrier aggregation became more aggressive; thus, carrier

 5   aggregation became mandatory. As such, Apple decided that the XMM 7160 was unsuitable for

 6   any 2014 product, including the iPad Air 2 and the iPad Mini 3.

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21             468.   During the 2010-2011 timeframe, Intel and its wireless modem predecessor,

22   Infineon Technologies AG, considered obtaining CDMA technology licenses or mature CDMA

23   product offerings through either licensing from or an outright acquisition of VIA Telecom, Inc.

24   However, Intel decided sometime in 2011 not to acquire VIA Telecom’s CDMA technology

25   because Intel thought CDMA would be phased out rapidly. Intel instead waited until 2015, when

26   it had already secured a design win for Apple’s iPhones, to acquire VIA Telecom’s CDMA

27   assets.

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 1          469.      More specifically, Intel expressed opinions in the 2011 timeframe that CDMA

 2   would be phased out in two to five years. In a May 2011 Intel presentation, Intel’s strategic

 3   recommendation for CDMA was “[d]o not enter CDMA segment, initiate activities to make

 4   CDMA obsolete (e.g., VoLTE).” And, a similar determination was made in early 2013.

 5          470.      Apple ultimately did launch iPads that met Project Sequoia’s objective of

 6   supporting on-demand carriers in 2014, in the iPad Air 2 and iPad Mini 3, offering the feature

 7   under the branding, “Apple SIM.” In addition to meaning it could not meet Apple’s technical

 8   requirements discussed above, Intel’s decision not to develop CDMA technology meant it did not

 9   have a product that fulfilled Apple’s business objectives associated with Project Sequoia.
10   Because Intel had made the strategic decision not to include CDMA functionality in its modem

11   chips, it also did not have a product offering that Apple could select for its 2014-2016 iPads that

12   would support Apple’s already launched Project Sequoia and its carrier on demand and Apple

13   SIM for iPads.

14          471.      In 2016 Apple invoked its choice to purchase from alternative suppliers, electing

15   to purchase modem chips for the iPhone 7 from Intel in addition to Qualcomm, and awarding a

16   substantial portion of its total purchases to Intel. Apple did this while the First Amendment to the

17   Transition Agreement was still in effect. The collaborative work between Apple and Intel for the

18   iPhone 7 model incorporating an Intel modem chip began in 2014.

19          472.      Apple incorporated Intel modem chips into certain models of the iPhone 7 released
20   in October 2016, and the iPhone 8 and iPhone X released in September 2017, even though the

21   performance of the available Intel modem chips was inferior to that of the Qualcomm modem

22   chips used in other models of the 2016 and 2017 iPhones.

23          473.      Apple uses Intel modem chips exclusively in the iPhone models released in

24   September and October 2018.

25          474.      From 2011 to 2016, Apple purchased the majority of Qualcomm’s thin modems.

26   Other OEMs used predominantly SoCs in their handsets. Intel did not sell high-end SoCs, and it

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 1   currently does not have any SoC in development, having abandoned such development to focus

 2   on thin modems for Apple.

 3          475.    The 2013 First Amendment to the Transition Agreement terminated on December

 4   31, 2016.

 5          476.    The 2013 First Amendment to the Transition Agreement did not foreclose any

 6   modem chip supplier with a chip that could meet Apple’s performance and scheduling

 7   requirements from supplying Apple.

 8          477.    Apple’s share of LTE-enabled handsets never exceeded 41% in any year from

 9   2011 to 2017, and it was less than 25% from 2015 onward, declining to 16% in 2017.
10   VII.   COMPETITION IN THE MOBILE COMMUNICATIONS INDUSTRY
11          A.      The Mobile Handset Industry Is Thriving
12          478.    The average price of handsets before the introduction of smartphones declined

13   from over $500 in 1994 to slightly over $100 in 2005.

14          479.    The average smartphone price fell nearly 34% between 2010 and 2017, from

15   approximately $427 in 2010 to $283 in 2016, before increasing in 2017 to $314, primarily

16   because of the launch of the iPhone X, which sold for at least $999.

17          480.    Between 2008 and 2017 worldwide smartphone sales increased nearly tenfold,

18   from 151 million to 1.46 billion.

19          481.    In 2007, Nokia led the cellular handset industry worldwide. After Apple
20   introduced the iPhone in 2007, it became a leading supplier, accounting for 14.8% of global

21   smartphone sales in 2017. Samsung, which accounted for less than 5 percent of global

22   smartphone sales until 2009, accounted for 21.7% in 2017, while the share of Nokia had fallen to

23   less than 1% in 2017. The next four largest smartphone OEMs in terms of global unit sales in

24   2017 – Huawei, OPPO, TCL and Vivo – are all new entrants that did not even begin supplying

25   smartphones until 2009 or later.

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 1           B.     Relevant Market Definition

 2           482.   Network operators, even in large markets like the U.S., had not fully rolled-out

 3   their LTE networks prior to 2014. In 2010, there was virtually no LTE roll-out. By 2011, the

 4   share of the population that resided in countries where LTE had already rolled out was about

 5   8.6%. By 2012, that share of the population was about 12%. In 2012, while Verizon’s LTE

 6   network covered around 80% of the U.S. population, AT&T’s LTE network covered less than

 7   50% of the U.S. population. Until 2014, the majority of the world would not have been able to

 8   use an LTE-enabled handset.

 9           483.   The first commercial handset launches with modem chips that supported LTE

10   occurred in 2011. At least until 2013, Samsung concurrently offered versions of its flagship

11   handsets in both 3G and LTE versions: Galaxy S2 (introduced in 2011), Galaxy S3 (introduced in

12   2012), and Galaxy S4 and Galaxy Note (both in 2013.) Samsung viewed Apple’s 3G iPhone to

13   be competing with Samsung’s flagship LTE Galaxy S series handsets.

14           484.   Apple first included LTE-capable modem chips in the iPhone 5, released in

15   September 2012. The iPhone 4, released in June 2010, and iPhone 4S, released in October 2011,

16   incorporated modem chips with only 3G capabilities. Samsung began manufacturing its own

17   LTE modem chips in 2013, which have since been included in Samsung phones selling for more

18   than $400.

19           485.   Huawei, through its HiSilicon subsidiary, began manufacturing its own LTE

20   modem chips in 2011, which have since been included in Huawei phones selling for more than

21   $400.

22           486.   Professor Shapiro provided no opinion regarding modem chip market shares or

23   market power after December 2016.

24           487.   Apple used no Qualcomm modem chips in its iPhone models released in 2018 –

25   the iPhone XS (priced at $999 to $1,349), iPhone XS Max (priced at $1099 to $1,449) and iPhone

26   XR (priced at $749 to $899.) 2018 iPhone models all use modem chips from Intel, and Apple

27   plans to use only Intel modem chips in all of its 2019 iPhone models.

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 1          488.   Apple continues to sell the iPhone 7 (priced at $449 to $549) and iPhone 7 Plus

 2   (priced at $569 to $669.) Apple dual-sources the modem chips for the iPhone 7 and 7 Plus from

 3   Intel and Qualcomm. The Intel XMM7360 modem used in certain models supports LTE Cat. 10

 4   with a maximum downlink/uplink speed of 450/50 Mbps.

 5          489.   A number of modem chips, such as the Intel XMM7160 and the Samsung

 6   CMC220, that are not included in the FTC’s proposed relevant market of “Premium LTE Modem

 7   Chips” were incorporated into handsets that cost more than $300 before 2013 and more than $400

 8   after 2013.

 9          490.   A number of modem chips that the FTC includes in its proposed relevant market
10   of “Premium LTE Modem Chips” were incorporated into handsets that cost less than $300 before

11   2013 and less than $400 from 2013 onward.

12          491.   The FTC has made no specific allegations about the existence of a WCDMA

13   modem chip market, and it has not alleged that Qualcomm has monopoly power in such a market.

14          492.   In amended responses to interrogatories dated February 7, 2018, the FTC

15   identified all modem chips that it claimed to be “premium” LTE modem chips. In his expert

16   report dated May 24, 2018, Dr. Shapiro identified all modem chips that he claimed to be

17   “premium” LTE modem chips. The FTC’s list of asserted “premium” LTE modem chips differs

18   from Dr. Shapiro’s list of asserted “premium” LTE modem chips:

19                  FTC’s and Professor Shapiro’s Lists of “Premium LTE” Modem Chipsets
       Supplier      Modem Chipset       “Premium LTE” Modem Chipsets Identified by:
20                                       FTC               Professor Shapiro
21     Broadcom      7373                        X
       HiSilicon     BALONG V9R1                                        X
22     HiSilicon     K3V2                                               X
       HiSilicon     KIRIN 659                                          X
23     HiSilicon     KIRIN 910                   X
       HiSilicon     KIRIN 920                   X
24
       HiSilicon     KIRIN 925                   X                      X
25     HiSilicon     KIRIN 928                   X
       HiSilicon     KIRIN 930                   X
26     HiSilicon     KIRIN 935                   X                      X
       HiSilicon     KIRIN 950                   X                      X
27     HiSilicon     KIRIN 955                   X                      X
       HiSilicon     KIRIN 960                   X                      X
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 1     HiSilicon   KIRIN 970              X                   X
       Intel       XGOLD716               X
 2     Intel       XGOLD726               X                   X
       Intel       XGOLD736               X                   X
 3
       Intel       XGOLD748               X                   X
 4     MediaTek    6589                                       X
       MediaTek    6595                                       X
 5     MediaTek    6750                                       X
       MediaTek    6752                                       X
 6     MediaTek    6753                                       X
       MediaTek    6755                                       X
 7
       MediaTek    6757                                       X
 8     MediaTek    6795                                       X
       MediaTek    6797                                       X
 9     MediaTek    6799                                       X
       MediaTek    8392                                       X
10     MediaTek    8735                                       X
11     Motorola    T6VP0XBG                                   X
       Qualcomm    MDM9200               X                    X
12     Qualcomm    MDM9215               X
       Qualcomm    MDM9215M              X*                   X
13     Qualcomm    MDM9225               X
       Qualcomm    MDM9230               X
14     Qualcomm    MDM9235               X
15     Qualcomm    MDM9235M              X*                   X
       Qualcomm    MDM9240               X
16     Qualcomm    MDM9250               X
       Qualcomm    MDM9320               X
17     Qualcomm    MDM9330               X
       Qualcomm    MDM9340                X
18
       Qualcomm    MDM9350                X
19     Qualcomm    MDM9600                X
       Qualcomm    MDM9615                X
20     Qualcomm    MDM9615M              X*                   X
       Qualcomm    MDM9625                X
21     Qualcomm    MDM9625M              X*                   X
       Qualcomm    MDM9630                X
22
       Qualcomm    MDM9635                X
23     Qualcomm    MDM9635M              X*                   X
       Qualcomm    MDM9640                X
24     Qualcomm    MDM9645                X                   X
       Qualcomm    MDM9650                X
25     Qualcomm    MDM9655                X                   X
       Qualcomm    MSM8916                                    X
26
       Qualcomm    MSM8930                                    X
27     Qualcomm    MSM8939                                    X
       Qualcomm    MSM8952                                    X
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 1     Qualcomm      MSM8953                                                  X
       Qualcomm      MSM8956                                                  X
 2     Qualcomm      MSM8960                             X                    X
       Qualcomm      MSM8974                             X                    X
 3
       Qualcomm      MSM8976                                                  X
 4     Qualcomm      MSM8992                             X                    X
       Qualcomm      MSM8994                             X                    X
 5     Qualcomm      MSM8996                             X                    X
       Qualcomm      MSM8998                             X                    X
 6     Samsung       CARMEN                              X
       Samsung       CARMEN PLUS                                              X
 7
       Samsung       CMC221D                             X
 8     Samsung       CMC222M                             X
       Samsung       CMC303                              X                    X
 9     Samsung       EXYNOS 8890                         X                    X
       Samsung       EXYNOS 8895                         X                    X
10     Samsung       S333 2CA                                                 X
11     Samsung       S333 3CA                            X                    X
       Samsung       S5E7880                                                  X
12     Samsung       SA5333D                                                  X
       Total                                            53                    54
13     Number of chips only in FTC’s list:                                    26
       Number of chips only in Professor Shapiro’s list:                      27
14     Number of chips common across both lists:                              27
15          493.    Modem chips gain in speed and functionality with each new product cycle. One
16   Motorola analysis indicated that modem chip features considered “premium” in 2014 were
17   considered to be “value” – or “a little bit above barebones” – features by 2015 and 2016.
18          494.    There are modem chips omitted from the FTC’s listing of chips in the asserted
19   “premium” category that are included in cell phones selling for more than $400 (or more than
20   $300 before 2013), such that under Prof. Shapiro’s definition such chips should have been
21   included. There are modem chips included in the FTC’s listing of such chips in the asserted
22   “premium” category that were included in cell phones selling for less than $400 (or less than
23   $300 before 2013). OEMs considered additional modem chips, not included in the FTC’s listing,
24   for use in handsets that cost more than $300 before 2013 and more than $400 after 2013.
25          495.    Motorola estimated in 2014 that CDMA was required in only 7% of the phones it
26   sold worldwide.
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 1          496.    Motorola was willing to consider GSM-capable modem chips that did not support

 2   CDMA as an alternative to Qualcomm’s CDMA-capable modem chips.

 3          497.    As of 2018, only one major carrier in the U.S. (Sprint) and carriers in China

 4   require handsets to be CDMA-enabled to be activated on their networks. Other major CDMA

 5   carriers – Verizon Wireless (in the U.S.) and KDDI (in Japan) – have leveraged VoLTE

 6   capabilities such that their subscribers are no longer required to use phones with CDMA

 7   capability. Verizon now certifies and sells phones without CDMA support, including HTC’s

 8   2017 flagship phone, the HTC U11, the LG Exalt LTE, and the Asus ZenFone V.

 9          498.    Qualcomm’s customers are able to leverage their buying power in other modem
10   chips that are neither CDMA nor “premium” LTE chips to discipline any leverage Qualcomm

11   may be able to exercise with respect to those other chips.

12          C.      Qualcomm’s Success In Winning Chip Sockets Is Earned
13          499.    Qualcomm wins modem chip sockets against its many competitors by offering a

14   technically superior product or by competing on price. Qualcomm’s integrated solutions simplify

15   handset design and reduce cost.

16          500.    Qualcomm achieves success by focusing on developing modem chips with

17   differentiating features that support the latest set of standardized capabilities. It works on a chip’s

18   design for two to three years before bringing the chip to market, leveraging R&D that has been

19   ongoing for years prior.
20          501.    Qualcomm has repeatedly been the first to market with leading edge cellular

21   features. Many of those firsts have been described in section IV above. Additional examples

22   include:

23                  (a)     In February 2000, Qualcomm delivered the MSM5000, the world’s first

24                          CDMA2000 chipset which supported communications that exceeded the

25                          ITU’s 3G data rate requirement of 144kbps, providing 154kbps on both the

26                          uplink and downlink.

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 1                  (b)    In 2003-2004, Qualcomm introduced the world’s first HSPA and

 2                         WCDMA/GSM multi-mode chipset, the MSM6275.

 3                  (c)    In July 2008, in a prototype using its newly-introduced MSM8200 chipset,

 4                         Qualcomm completed the world’s first HSPA+ data call, achieving a

 5                         download data rate of 28Mbps in a 5MHz carrier.

 6                  (d)    In late 2010, Qualcomm introduced the industry’s first chip that supported

 7                         LTE, 2G and 3G communications, allowing phones to receive high-speed

 8                         service where available, but still function in areas served by legacy towers.

 9                  (e)    In November 2013, Qualcomm announced the first cellular modem built on
10                         20nm technology. This chip supports carrier aggregation up to 40MHz and

11                         allows download speeds of up to 300Mbps, and using it, in January 2014,

12                         Qualcomm achieved the first 300Mbps data “call.”

13                  (f)    In October 2016, Qualcomm was the first to announce a commercial

14                         modem chipset for supporting 5G with the X50 modem, and in October

15                         2017 announced the first data connection using smartphone-sized chips

16                         over millimeter wave frequencies, a prerequisite to 5G data

17                         communications.

18          502.    Contrary to Qualcomm’s industry leader approach, MediaTek has traditionally

19   pursued a strategy of being a “fast follower” in the modem chip industry. As a “fast follower,” it
20   relies upon existing technologies rather than developing new ones, choosing to spend less on

21   R&D and focusing on less customized products.

22          503.    Recently, MediaTek has attempted to become a technological leader by launching

23   the Helios X30, a leading edge modem chip. It is currently competing for Apple’s business.

24          504.    Infineon, later acquired by Intel, and Broadcom have also employed a “fast

25   follower” model.

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 1             D.     Competition Among Chip Makers Is Dynamic

 2             505.   In the mid-to-late 1990s, many chip makers were heavily invested in GSM and

 3   chose not to develop CDMA modem chips and devices.

 4             506.   In the late 1990s and early 2000s, as CDMA gained traction, some chip makers

 5   began producing CDMA modem chips, including VIA, DSPC (later acquired by Intel and then

 6   Marvell), Motorola and Texas Instruments.

 7             507.   Because of the relatively small footprint of CDMA, most chip makers ceased

 8   manufacturing CDMA modem chips and focused on WCDMA, which quickly became the

 9   commercially dominant standard, leaving CDMA accounting for about 5 percent outside of

10   China.

11             508.   Nonetheless, OEMs always had alternative suppliers for CDMA modem chips in

12   the mid-2000s, primarily VIA and Texas Instruments (which supplied all of Nokia’s CDMA

13   needs).

14             509.   In the late 2000s, Texas Instruments decided to leave the CDMA space, leaving

15   only Qualcomm and VIA as CDMA suppliers. Other chip makers were reluctant to enter CDMA

16   at that stage, viewing the technology as dying and expecting it to be quickly replaced by VoLTE.

17             510.   For example, Intel considered acquiring VIA as early as 2011, but decided not to

18   invest in CDMA, and instead attempted to displace it with VoLTE. This decision slowed down

19   Intel’s ability to offer CDMA capability in the thin modems it sought to sell to Apple.

20             511.   In 2015, China Telecom and China Unicom advocated for a six-mode (GSM,

21   CDMA, WCDMA, TD-SCDMA, TDD-LTE, FDD-LTE) handset national standard in China. In

22   April 2016, the Chinese government mandated that six-mode standard for interoperability across

23   all three major Chinese carriers (China Telecom, China Unicom, and China Mobile). This

24   imposed a requirement whereby all phones sold in China would need to support six different

25   standards, including CDMA. The mandating of this national standard caused demand for

26   CDMA-compatible modem chips to increase and renewed the interest of chip makers in adding

27   CDMA capabilities to their modem chips.

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 1           512.   MediaTek released its first CDMA-capable LTE multimode modem chip in 2015.

 2   Today all of MediaTek’s modem chips support CDMA (among other standards).

 3           513.   In 2016, HiSilicon began providing Huawei with multimode LTE modem chips

 4   that support CDMA.

 5           514.   In 2018, Samsung released a multimode LTE modem chip that supports CDMA.

 6           515.   In 2018, Intel – which ultimately acquired VIA in 2015 – released a multimode

 7   LTE thin modem that supports CDMA. All Apple 2018 devices sold for activation on carriers

 8   requiring CDMA support use an Intel thin modem with CDMA support.

 9           516.   MediaTek gained about a 15% share of the FTC’s asserted CDMA market in 2015,
10   which grew to over 35% in 2016.

11           517.   As a result of carriers’ pace in rolling out LTE networks and handset makers’

12   interest in continuing to sell non-LTE handsets between 2011 and 2013, Qualcomm’s LTE

13   baseband processor business competed with non-LTE baseband processor suppliers.

14           518.   By 2011, Qualcomm internally identified Samsung, ST-Ericsson, GCT (partnering

15   with LGE), Huawei, Altair, Nvidia (succeeding Icera) and Intel (succeeding Infineon) as posing

16   significant potential competition for LTE baseband processors, and noted MediaTek, Broadcom

17   and Motorola as other LTE baseband processor suppliers to consider.

18           519.   After being first to market a multimode LTE modem chip in 2009, starting in 2014

19   Qualcomm’s share of sales of LTE baseband processors has rapidly declined as Intel, Samsung,
20   MediaTek and HiSilicon released competitive LTE modem chips and gained share of sales over

21   time.

22           520.   MediaTek launched its first LTE baseband processors in 2014.

23           521.   By 2016, Dr. Shapiro calculates that Qualcomm’s share of what he defines as the

24   “premium” LTE baseband processor market dropped to 57% under one definition of the market,

25   and to below 50% under another definition of the market, even while not accounting for

26   HiSilicon’s sales.

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 1          522.   For 2017, Dr. Shapiro does not calculate what he defines as the “premium” LTE

 2   baseband processor market share for Qualcomm or Qualcomm’s competitors, while Dr. Chipty

 3   calculates that Qualcomm’s share in what Dr. Shapiro defines as the “premium” LTE baseband

 4   processor market dropped further to 49.2%, and that competitors MediaTek, Intel, Samsung and

 5   HiSilicon increased their combined share to 50.8%.

 6          523.   Samsung multi-sourced baseband processors from more than one vendor,

 7   including from Qualcomm, Samsung LSI, Intel, ST-Ericsson, Broadcom, MediaTek and

 8   Spreadtrum, to secure price competitiveness.

 9          524.   In 2009, Samsung obtained price concessions from Qualcomm for Qualcomm’s

10   CDMA baseband processors by threatening to switch to an alternative CDMA baseband

11   processor offered by VIA and by threatening to consider using other WCDMA baseband

12   processor suppliers to replace Samsung’s purchases of WCDMA baseband processors from

13   Qualcomm.

14          525.   In 2014, MediaTek was Lenovo’s biggest baseband processor supplier, accounting

15   for         of Lenovo’s expenditure for baseband processors, with Qualcomm baseband

16   processors accounting for       , and others accounting for the remaining

17          526.   Vivo previously used a Qualcomm baseband processor for its 2014 X5 Max

18   device, but switched to MediaTek’s baseband processor for its subsequent 2015 X5 Max+ and X6

19   devices.

20          527.   Motorola, in 2016, assessed baseband processors from                         and

21   continues to consider non-Qualcomm baseband processor suppliers such as

22                      for its handsets.

23          528.   Huawei currently sources its baseband processors for low-end and mid-level

24   handsets from Qualcomm, MediaTek and HiSilicon, and currently self-supplies its LTE baseband

25   processors from HiSilicon instead of purchasing from Qualcomm.

26          529.   From 2008 to 2010, Apple single-sourced baseband processors from Infineon,

27   which was acquired by Intel in 2011.

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 1          530.    In 2010, Apple considered using baseband processors from Qualcomm

 2   (MDM9615) and ST-Ericsson (M7400), for devices Apple launched in 2012.

 3          531.    From 2011 to 2013, Apple sourced baseband processors for new iPhones from

 4   only Qualcomm, and it continued to source baseband processors for its legacy devices from Intel.

 5          532.    For Apple’s 2013 and 2014 devices, Apple considered using baseband processors

 6   from Qualcomm (MDM9615M and MDM9625M), ST- Ericsson (M7400 and M7450), Intel,

 7   Broadcom (21890 and 21892), Renesas (Pegasus SP2531, Cygnus SP2533, and Virgo SP2941),

 8   and Marvell (1801 and 1802 chipsets).

 9          533.    Apple single-sourced from Qualcomm for devices launched in 2014 and 2015, and
10   then began to dual-source baseband processors from Qualcomm and Intel for the iPhones released

11   in 2016 and 2017, sourcing approximately 50% from each in 2017. Apple single-sourced from

12   Intel for the iPhones released in 2018.

13          534.    For devices launched in 2014 and 2015, Apple continued to consider Intel

14   baseband processors for use in iPhones and iPads. but rejected purchasing from Intel because

15   Intel could not make available certain features found in Qualcomm baseband processors and

16   because Intel was unable to meet Apple’s scheduling demands until Intel had a thin modem ready

17   for inclusion in 2016 Apple devices.

18          535.    Apple and Intel worked together on the Intel modem chip used in the 2016 iPhone

19   7 starting in 2014.
20          536.    Although Apple initially did not consider MediaTek to be a viable supplier of

21   baseband processors for Apple products in 2011, MediaTek currently has the technology and

22   capability to supply modem chips to Apple, Samsung, and other Tier 1 smartphone

23   manufacturers, and Apple is currently considering whether to obtain baseband processor supply

24   from MediaTek for future Apple devices.

25          537.    Each year, while Apple has only selected one or two modem chip suppliers for its

26   iPhones, it has considered multiple chip makers as potential suppliers:

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11            538.   In 2017, Qualcomm sold 34% of total baseband processors worldwide, on a unit

12   basis.

13            539.   Broadcom was initially successful in supplying 2G and 3G modem chips to large

14   customers such as Nokia and Samsung, but ultimately exited the modem chip market. It did not

15   produce any LTE modem chips until February 12, 2013. Broadcom eventually was unsuccessful

16   in its LTE endeavor, forcing it to cease supplying modem chips. The exit was due to several

17   factors, including its decision not to focus on producing 4G modem chips until 2010 and loss of

18   large customers Nokia and Samsung. Other factors contributing to its demise were rapidly

19   declining ASPs of 2G and 3G phones and an insufficient number of engineers.

20            540.   Broadcom attempted to make up for its late arrival to 4G by acquiring Renesas, but

21   this approach did not allow it to successfully enter the 4G market.

22            541.   Texas Instruments was successful in the 1990s and early 2000s, but with the

23   market decline of its largest customer, Nokia, it was unable to maintain its success and ultimately

24   exited the modem chip market. Low cost competitors like MediaTek, Spreadtrum, and Infineon

25   overtook Texas Instruments in the market for 2G devices. Texas Instruments’ WCDMA modem

26   chip design, in collaboration with NTT DoCoMo, never went into final production because it had

27   miscalculated modem chip demand in Japan.

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 1          542.    ST-Ericsson, the 2009 joint venture between Ericsson and STMicroelectronics,

 2   exited the industry after its only major customers’ (Nokia and Sony Ericsson) mobile device sales

 3   fell, and when Nokia migrated its phones to the Windows operating system, which ST-Ericsson’s

 4   modem chip did not support. Moreover, ST-Ericsson’s R&D was inefficient due to poor

 5   planning, employee attrition, an overload of disparate R&D efforts, and combining the cultures

 6   and strategies of multiple underlying modem chip suppliers. Ultimately, it (and its successor

 7   Ericsson) consistently failed to meet product development schedules and lost out on design wins

 8   at several major OEMs – such as Apple – as a result.

 9          543.    Marvell exited the modem chip industry in 2015 because it did not plan adequately
10   in advance for LTE development, failed to meet delivery deadlines, and could not execute and

11   develop cost-effective and technologically competitive modem chips.

12          544.    Since 2010, a number of chip suppliers have introduced modem chips with LTE

13   capabilities, while other chip suppliers have left the market:

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23          545.    Many competitors have already announced 5G modem chips, including Intel and

24   Samsung.

25          E.      Chip Prices Are Declining

26          546.    The average selling price (“ASP”) of Qualcomm’s LTE baseband processors has

27   declined by 44% from 2012 to 2018:

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 1                                              LTE Baseband ASP
                                   Year              (US$)
 2                                 2012              $23.74
                                   2013              $22.29
 3                                 2014              $19.72
                                   2015              $15.55
 4                                 2016              $14.25
                                   2017              $14.02
 5                                Q2 2018            $13.37

 6          547.    Prices of modem chips Professor Shapiro contends are “premium LTE” have also

 7   declined.

 8          548.    The average ASP for 3G modem chips has fallen from around $14 in 2008 to

 9   about $5 in 2018.

10          549.    The average ASP for 2G modem chips has fallen from around $5 in 2008 to under

11   $2 in 2018.

12          550.    Qualcomm felt pressure on its LTE baseband processor pricing and margins from

13   competitors MediaTek, Intel, and Samsung, and responded to new offerings by these competitors

14   by lowering the prices of its “premium”- LTE baseband processors (as that term is defined by

15   Shapiro).

16          551.    Prof. Shapiro recognized that after MediaTek entered in 2015 with a modem chip

17   supporting LTE/CDMA multi-mode capability, Qualcomm had to lower the price of its

18   equivalent offering.

19          552.    In 2015, ZTE obtained an approximately 30% price reduction offer from

20   Qualcomm for certain Qualcomm LTE baseband processors with CDMA multimode capability

21   (MSM8952) because of an alternative LTE baseband processor with CDMA multimode

22   capability offered by MediaTek (MT6755).

23          553.    Motorola has obtained better prices on Qualcomm LTE baseband processors used

24   in its Moto G 2016 device by threatening to switch to Samsung baseband processors.

25          554.    Huawei, Samsung and Xiaomi have self-supplied baseband processors, which

26   gives them the ability to discipline Qualcomm on prices of baseband processors. Samsung used

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 1   its self-supply to obtain lower prices for Qualcomm baseband processors used in the Samsung

 2   Galaxy S4 in 2013.

 3           555.    When negotiating the terms of Qualcomm supplying baseband processors for

 4   Apple devices, Apple used the threat of obtaining supply from Intel to get Qualcomm to offer

 5   lower prices.

 6           556.    When negotiating the terms of supplying baseband processors for Apple devices,

 7   Qualcomm considered potential competitive threats, including MediaTek, Broadcom, and Intel.

 8           F.      Baseband Processor Quality Is Improving
 9           557.    Qualcomm’s R&D investment drives the pace of innovation. From at least 2006
10   to the present, Qualcomm has spent at least 20% of its revenue on R&D, including 21.9% of its

11   revenue in 2016.

12           558.    MediaTek increased its R&D expenditure from 10.5% of its revenue in 2006 to

13   20.2% of its revenue in 2016.

14           559.    Intel increased its R&D expenditure from 16.6% of its revenue in 2006 to 21.5%

15   of its revenue in 2016.

16           560.    Huawei increased its R&D expenditure from 8.5% of its revenue in 2008 to 14.6%

17   of its revenue in 2016.

18           561.    Samsung increased its R&D expenditure from 6.7% of its revenue in 2006 to 7.3%

19   of its revenue in 2016.
20           562.    After Qualcomm introduced carrier aggregation capability in its baseband

21   processors in 2013, Intel introduced carrier aggregation capability in its XMM7260 baseband

22   processor in 2014, HiSilicon in its Kirin 920 baseband processor in 2014, Samsung in its Exynos

23   Modem 303 baseband processor in 2014, and MediaTek in its MT6797 baseband processor in

24   2016.

25           563.    After Qualcomm introduced LTE/CDMA multimode capability in its baseband

26   processors, MediaTek introduced LTE/CDMA multimode capability in its MT6753 baseband

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 1   could be achieved. Such a long-term R&D investment strategy carries a high level of risk for its

 2   investments.

 3          568.    For example, Qualcomm started focusing R&D efforts on 5G in early 2014.

 4   Qualcomm made the initial contributions to 3GPP of a broad 5G framework. In 2015, 3GPP

 5   commenced a formal study of potential 5G requirements, which identified more than 70 different

 6   use cases, categorized into different groups: massive Internet of Things, Critical

 7   Communications, enhanced Mobile Broadband and Network Operation. In June 2016, the 3GPP

 8   Technical Specifications Groups (TSG#72) agreed on a detailed workplan for the first 5G release,

 9   Release 15. 5G NR Release 15 was frozen in 2018, and work on 5G NR Release 16 is ongoing.

10   The first phase of 5G is focused on use of 5G technology for smartphones. The second phase is

11   focused on use of 5G in vertical use cases such as automobiles, industrial IoT, medical, and

12   others, which is more complex and requires additional R&D to, for example, determine the best

13   solution to replace cables in factories with cellular interconnectivity.

14          569.    For each generation of cellular standards, Qualcomm’s R&D efforts support basic,

15   early stage R&D that leads to the introduction of technologies to the development of standards,

16   and which address technical features that are sought by users of standards – e.g., device and

17   infrastructure manufacturers, and carriers. Qualcomm’s R&D and technical contributions to

18   standards development continues as standards evolve toward approval and beyond. For example,

19   Qualcomm pioneered mmWave and channel coding technologies, two fundamental components

20   of 5G, and it continues to devote resources to improving these technologies.

21          570.    Licensees have stopped paying royalties when there have been disputes regarding

22   their license agreements with Qualcomm, regardless of the nature of the dispute. This arises in

23   relation to direct disputes with Qualcomm and regulatory decisions they interpret as relating to

24   their obligations under their agreements.

25          571.

26               Huawei, and the Contract Manufacturers who supply Apple, all of whom made no

27   royalty payments during licensing disputes;              Oppo, Vivo,                    , who

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 1   made no payments for a certain class of cellular devices –

 2                                               and Blackberry and        , who paid only a fraction of

 3   the royalties owed during licensing disputes.

 4          572.    Qualcomm has been investing in R&D related to 5G-specific technologies since

 5   March 2014. Qualcomm is the only U.S.-based entity with a leading role in 5G standards

 6   development. Much of the technology Qualcomm developed for 4G and 3G technologies has

 7   been incorporated into 5G. Around the 2014/2015 period, Qualcomm’s executives made the

 8   decision to ramp up R&D in 5G.

 9          573.    With a finite amount of R&D funding available, the determination of where to

10   devote R&D efforts is a zero sum game. 5G is a strategic priority for Qualcomm. Due to

11   complexity, the transition from 4G to 5G is far more difficult and expensive than the transition

12   from 3G to 4G, and it thus requires a greater proportion of the available funding for “core” R&D.

13   Because Apple’s contract manufacturers and others have withheld billions of dollars in

14   contractually agreed-upon royalty payments,

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16          574.    Huawei, a Chinese company, is the next most significant leader in 5G

17   development after Qualcomm. Huawei is the only company in the world that is involved in every

18   segment of the cellular wireless sector – standards, modems, devices and infrastructure.

19          575.    On September 26, the Federal Communications Commission voted to approve a

20   declaratory ruling and report and order that preempts local authority over 5G wireless facility

21   deployment and management of local rights-of-way. The FCC expressly cited the “national

22   strategy to promote the timely buildout of this new infrastructure across the country by

23   eliminating regulatory impediments that unnecessarily add delays and costs to bringing advanced

24   wireless services to the public.”

25          576.    The U.S. Treasury’s Committee on Foreign Investment in the United States

26   (CFIUS) issued a letter regarding Broadcom’s attempt to acquire Qualcomm, in which it stated

27   that a significant “risk to the national security of the United States” could arise from changing

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 1   Qualcomm’s assets innovation-focused business model as a result of acquisition by a foreign

 2   entity.

 3             577.   CFIUS stated that Qualcomm is a “global leader in the development and

 4   commercialization of foundational technologies and products used in mobile devices,” that

 5   Qualcomm “led the mobile revolution in digital communications technologies,” and that

 6   “Qualcomm’s technological success and innovation is driven by its unmatched expertise and

 7   research and development,” which “drive[s] U.S. leadership in key-standard setting bodies.”

 8   CFIUS concluded that the “weakening of Qualcomm’s technological leadership” (including

 9   limiting R&D expenditures) and “disrupt[ing] … Qualcomm’s capabilities as a supplier of
10   products” to the U.S. government “could pose a risk to the national security of the United States.”

11             578.   The CFIUS Letter also stated that “[r]eduction in Qualcomm’s long-term

12   technological competitiveness and influence in standard-setting would significantly impact U.S.

13   national security. This is in large part because a weakening of Qualcomm’s position would leave

14   an opening for China to expand its influence on the 5G standard-setting process.”

15             579.   The CFIUS Letter specifically referenced the “detrimental impact on national

16   security” that could result from a limitation or cessation of supply of Qualcomm products or

17   services, such as the work Qualcomm is doing in partnership with the United States government

18   to address cybersecurity in connection with the Internet of Things.

19             580.   CFIUS further stated that “Qualcomm's current business model . . . relies on the
20   licensing business to fund the company's large R&D expenditures.” Qualcomm’s chip business

21   operates in a highly competitive environment, and is a low margin business that could not

22   generate sufficient profits to replace the profits from the licensing business. An injunction that

23   would result in significantly reduced licensing revenues, thus significantly impairing Qualcomm’s

24   R&D efforts and capabilities, would likely result in hindering Qualcomm’s ability to lead the 5G

25   standard-setting process and enabling Huawei and Chinese interests to assume the leadership in

26   5G standardization. Such a result would significantly impact U.S. interests, including

27   “substantial negative national security consequences for the United States.”

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 1                                      CONCLUSIONS OF LAW

 2   IX.    LEGAL STANDARDS GOVERNING THE FTC’S CLAIMS
 3          581.    Section 13(b) of the Federal Trade Commission Act (the “FTC Act”), 15 U.S.C.

 4   §53(b), permits the FTC to bring a case in federal district court to enjoin conduct that “is

 5   violating, or is about to violate” Section 5 of the FTC Act, 15 U.S.C. §45.

 6          582.    In this case, the FTC alleges that Qualcomm’s conduct violates Section 5 because

 7   it violates both Section 1 and Section 2 of the Sherman Act. (Complaint ¶147). The FTC also

 8   alleges that, even if Qualcomm’s conduct does not violate either Section 1 or Section 2 of the

 9   Sherman Act, Qualcomm’s conduct nonetheless “constitute[s] unfair methods of competition in

10   violation of [Section 5] of the [FTC Act].” (Complaint ¶147).

11          583.    Section 1 of the Sherman Act prohibits “[e]very contract, combination . . . or

12   conspiracy, in restraint of trade or commerce among the several States.” 15 U.S.C. §1. To show

13   a violation of Section 1, the FTC must “prove ‘three elements: (1) an agreement or conspiracy

14   among two or more persons or distinct business entities; (2) by which the persons or entities

15   intend to harm or restrain competition; and (3) which actually restrains competition.’” City of

16   Vernon v. Southern Cal. Edison Co., 955 F.2d 1361, 1365 (9th Cir.), cert. denied, 506 U.S. 908

17   (1992) (quoting Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d 1484, 1488 (9th

18   Cir. 1991) (citation and quotations omitted)); see also Amarel v. Connell, 102 F.3d 1494, 1522

19   (9th Cir. 1996); Name Space, Inc. v. Internet Corp. for Assigned Names & Nos., 795 F.3d 1124,

20   1129 (9th Cir. 2015). Only “unreasonable” restraints of trade are unlawful. Leegin Creative

21   Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 885 (2007). The FTC does not allege that any

22   agreement it challenges here is per se unlawful, nor could it as it does not challenge any

23   “horizontal” agreement between competitors or other agreement that falls within the narrow

24   category that the Supreme Court has found to be per se unlawful. See Ohio v. Am. Express Co.,

25   138 S. Ct. 2274, 2283-84 (2018). Therefore, the FTC’s Section 1 claim is subject to analysis

26   under the “rule of reason,” under which the FTC must prove that the challenged agreements are

27   “restraints with anticompetitive effect that are harmful to the consumer” rather than “restraints

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 1   stimulating competition that are in the consumer’s best interest.”1 Id. at 2284 (quoting Leegin,

 2   551 U.S. at 886); see also Metro Indus. v. Sammi Corp., 82 F.3d 839, 843 (9th Cir. 1996) (under

 3   rule of reason analysis, “the factfinder weighs all of the circumstances of a case in deciding

 4   whether a restrictive practice should be prohibited as imposing an unreasonable restraint on

 5   competition” (quoting Bus. Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 723 (1988)). “The

 6   rule of reason weighs legitimate justifications for a restraint against any anticompetitive effects.”

 7   Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145, 1156 (9th Cir. 2003). Under the rule of

 8   reason governing challenges to vertical agreements, as here, the plaintiff must prove the

 9   defendant had market power in a properly defined market. See Am. Express, 138 S. Ct. at 2283 &
10   n.7 (noting that “[v]ertical restraints often pose no risk to competition unless the entity imposing

11   them has market power, which cannot be evaluated unless the Court first defines the relevant

12   market”). The plaintiff must also “prove that the challenged restraint has a substantial

13   anticompetitive effect that harms consumers in the relevant market.” Id. at 2284. The FTC

14   alleges that Qualcomm’s license and other agreements with OEMs and alleged “exclusive

15   dealing” arrangements with Apple violate Section 1 of the Sherman Act. (Complaint ¶147; FTC

16   Response to Interrogatory No. 2).

17          584.    A claim under Section 2 of the Sherman Act “has two elements: (1) the possession

18   of monopoly power in the relevant market and (2) the willful acquisition or maintenance of that

19   power as distinguished from growth or development as a consequence of a superior product,
20   business acumen, or historic accident.” United States v. Grinnell Corp., 384 U.S. 563, 570-71

21   (1966). “To be condemned as exclusionary, a monopolist’s act must have an ‘anticompetitive

22   effect.’ That is, it must harm the competitive process and thereby harm consumers. In contrast,

23   harm to one or more competitors will not suffice.” United States v. Microsoft Corp., 253 F.3d 34,

24   58 (D.C. Cir. 2001); In re eBay Seller Antitrust Litig. 545 F. Supp. 2d 1027, 1032 (N.D. Cal.

25   2008) (plaintiff must establish “harm to the competitive process as distinct from the … harm to

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       The “consumers” at issue are consumers in the relevant market, or, in this case, consumers of
27   modem chips, e.g., OEMs. See Ohio v. Am. Express Co., 138 S. Ct. at 2284 (“[T]he plaintiff has
     the initial burden to prove that the challenged restraint has a substantial anticompetitive effect that
28   harms consumers in the relevant market.” (emphasis added)).
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 1   one or more competitors”) (citing Microsoft, 253 F.3d at 34). The FTC must also show that the

 2   harm resulting from the allegedly anticompetitive conduct occurred in the alleged relevant

 3   market. Beulter Sheetmetal Works. v. McMorgan & Co., 616 F. Supp. 453, 455 (N.D. Cal. 1985)

 4   (citing Fine v. Barry and Enright Prod., 731 F.2d 1394, 1399 (9th Cir.), cert. denied, 469, U.S.

 5   881, (1984)). “When a legitimate business justification supports a monopolist’s exclusionary

 6   conduct, that conduct does not violate § 2 of the Sherman Act.” Image Tech. Servs., Inc. v.

 7   Eastman Kodak Co., 125 F.3d 1195, 1212 (9th Cir. 1997). The FTC alleges that Qualcomm’s

 8   practice of refusing to sell modem chips to unlicensed OEMs, granting exhaustive licenses to its

 9   cellular SEPs at the device level, and entering into strategic fund agreements with certain OEMs,
10   as well as alleged “exclusive dealing” arrangements with Apple, underlie its claim under Section

11   2 of the Sherman Act. (Complaint ¶ 147).

12          585.    A Section 5 claim alleging that a particular practice constitutes an “unfair method

13   of competition in or affecting commerce,” 15 U.S.C. § 45(a)(1), as FTC brings here, requires a

14   showing of harm to competition similar to that required by the Sherman Act. See FTC v.

15   Raladam Co., 283 U.S. 643, 647-48 (1931); E.I. du Pont de Nemours & Co. v. FTC, 729 F.2d

16   128, 137 (2d Cir. 1984); Boise Cascade Corp. v. FTC, 637 F.2d 573, 579-81 (9th Cir. 1980). The

17   FTC has recognized that Section 5 claims under the “unfair method of competition” prong of the

18   statute should be “evaluated under a framework similar to the rule of reason, that is, an act or

19   practice challenged by the Commission must cause, or be likely to cause, harm to competition or
20   the competitive process, taking into account any associated cognizable efficiencies and business

21   justifications.” Fed. Trade Comm’n, Statement of Enforcement Principles Regarding “Unfair

22   Methods of Competition” Under Section 5 of the FTC Act at 1. The FTC must prove that the

23   challenged conduct is “collusive, coercive, predatory, or exclusionary,” or that it has an

24   “anticompetitive purpose or cannot be supported by an independent legitimate reason.” E.I. du

25   Pont de Nemours & Co., 729 F.2d at 140.

26          586.    The FTC bears the burden of showing the requisite anticompetitive effect for

27   purposes of proving a claim under Section 1 and Section 2 of the Sherman Act, and under Section

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 1   5 of the FTC Act. If the FTC establishes a prima facie case by demonstrating anticompetitive

 2   effect, then Qualcomm may proffer a procompetitive justification for its conduct. If Qualcomm

 3   offers “a nonpretextual claim that its conduct is indeed a form of competition on the merits

 4   because it involves, for example, greater efficiency or enhanced consumer appeal—then the

 5   burden shifts back to [the FTC] to rebut that claim,” and if “the monopolist’s procompetitive

 6   justification stands unrebutted, then the plaintiff must demonstrate that the anticompetitive harm

 7   of the conduct outweighs the procompetitive benefit.” Microsoft, 253 F.3d at 59 (claim under

 8   Section 2); see also County of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1159 (9th Cir.

 9   2001) (claim under Section 1).
10          587.    This burden-shifting framework is commonly referred to as the “rule of reason,”

11   the purpose of which is to distinguish between conduct that actually harms competition and

12   conduct that in fact promotes competition. Leegin, 551 U.S. at 885-86 (the rule of reason is the

13   “accepted standard” for testing whether challenged conduct (other than conduct that is “per se”

14   unlawful) harms competition in violation of the Sherman Act); see also Microsoft, 253 F.3d at 58-

15   59; Areeda & Hovenkamp, Law: An Analysis of Antitrust Principles and Their Application

16   (“Areeda & Hovenkamp”) ¶¶ 1500, 1512. Under the rule of reason, the factfinder “weighs all of

17   the circumstances of a case” in determining whether challenged conduct in fact harms

18   competition in violation of the Sherman Act. Leegin, 551 U.S. at 885 (quoting Cont’l T. V., Inc.

19   v. GTE Sylvania Inc., 433 U.S. 36, 49 (1977)).
20          588.    If the FTC successfully proves a violation of Section 5 of the FTC Act, it must

21   also establish that permanent injunctive relief is warranted under Section 13(b). Section 13(b)

22   authorizes the FTC to pursue permanent injunctive relief in federal court only “in proper cases …

23   and after proper proof.” 15 U.S.C. § 53(b). The statute explains that the FTC must prove an

24   ongoing or likely future violation of the antitrust laws and that injunctive relief will not only

25   remedy that harm but also “be in the interest of the public.” Id. § 53(b)(1)–(2).

26          589.    The Ninth Circuit has recognized that, even if proven, “past wrongs are not enough

27   for the grant of an injunction;” in a case governed by the FTC Act, “an injunction will issue only

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 1   if the wrongs are ongoing or likely to recur.” FTC v. Evans Prods. Co., 775 F.2d 1084, 1087 (9th

 2   Cir. 1985); see also FTC v. AbbVie Inc., 329 F. Supp. 3d 98, 145 (E.D. Pa. 2018) (FTC must

 3   prove that defendant “is currently violating antitrust laws or is about to violate antitrust laws”).

 4   This showing must be made based on evidence of current market conditions and practices at the

 5   time a remedy is sought. See id. (denying a permanent injunction because the record contained

 6   “no basis to conclude that” antitrust violations are “likely to reoccur”); FTC v. Merch. Servs.

 7   Direct, LLC, No. 13-CV-0279-TOR, 2013 WL 4094394, at *3 (E.D. Wash. Aug. 13, 2013)

 8   (concluding that, after “stale” evidence regarding past alleged violations was “excised,” “there is

 9   little to suggest that the violations . . . are likely to recur” and denying preliminary injunction).
10           590.    The FTC bears the burden of proof on each element of its claims by a

11   preponderance of the evidence. FTC v. DIRECTV, Inc., No. 15-cv-01129-HSG, 2018 WL

12   3911196, at *2 (N.D. Cal. Aug. 16, 2018).

13   X.      THE FTC FAILS TO PROVE THAT THE CHALLENGED CONDUCT CAUSED
             HARM TO COMPETITION, WHICH IS FATAL TO EACH OF THE THEORIES
14
             UNDERLYING THE FTC’S SECTION 5 CLAIM
15
             A.      The FTC Must Establish That Challenged Conduct Caused Harm to
16                   Competition And It Must Make That Showing Based on Objective and
                     Reliable Evidence.
17
             591.    A showing of harm to competition is a required element of claims under Sections 1
18
     and 2 of the Sherman Act and any claim under Section 5 of the FTC Act. See, e.g., Amarel, 102
19
     F.3d at 1522 (showing of actual harm to competition is required element of claim under Section 1
20
     of the Sherman Act); Microsoft, 253 F.3d at 58-59 (showing that challenged conduct “indeed has
21
     the requisite anticompetitive effect,” and has “harmed competition, not just a competitor” is
22
     required element of claim under Section 2 of the Sherman Act); Boise Cascade, 637 F.2d at 579-
23
     81 (claim under the “unfair methods of competition” prong of Section 5 claim requires a showing
24
     of harm to competition similar to that required by the Sherman Act).
25
             592.    Moreover, the FTC must establish a causal link between the challenged conduct
26
     and actual harm to competition. See, e.g., Verizon Commc’ns v. Law Offices of Curtis V. Trinko,
27
     LLP, 540 U.S. 398, 407 (2004) (“To safeguard the incentive to innovate, the possession of
28
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 1   monopoly power will not be found unlawful unless it is accompanied by an element of

 2   anticompetitive conduct); Rambus Inc. v. FTC, 522 F.3d 456, 464 (D.C. Cir. 2008) (alleged

 3   deceptive conduct in standards development organization did not constitute unlawful

 4   monopolization where FTC failed to establish causal link between that conduct and

 5   anticompetitive harm).

 6          593.    For purposes of a Section 2 claim, therefore, acquiring a large market share by out-

 7   competing competitors is not improper monopolization. “A firm may acquire a monopoly simply

 8   by virtue of being a better competitor. For example, a firm may have better production methods

 9   or be more innovative than its past and prospective competitors.” Alaska Airlines, Inc. v. United
10   Airlines, Inc., 948 F.2d 536, 547 (9th Cir. 1991) (a touchstone of antitrust law is that a firm that

11   succeeds based on its superior skills, foresight, and industry, is competing, not harming

12   competition, even if its success is to the detriment of its rivals); see also Paladin Assocs., Inc. v.

13   Mont. Power Co., 328 F.3d 1145 (9th Cir. 2003) (affirming summary judgment for defendant and

14   noting that “[i]n competition, there are winners and losers. Even viewing the evidence in the light

15   most favorable to [plaintiff], we must conclude that [defendant], because of its superior skills,

16   foresight, and industry, made six sales that [plaintiff] did not,” and doing so did not violate the

17   Sherman Act.) Thus, to prove its Section 2 claim, the FTC must prove that Qualcomm acquired

18   or maintained a monopoly through actions other than competition on the merits, i.e., improper

19   conduct that harmed the competitive process and did not allow others to compete on the merits.
20   Trinko, 540 U.S. at 407 (“The mere possession of monopoly power, and the concomitant charging

21   of monopoly prices, is not only not unlawful; it is an important element of the free-market

22   system. The opportunity to charge monopoly prices—at least for a short period—is what attract

23   ‘business acumen’ in the first place; it induces risk taking that produces innovation and economic

24   growth.”).

25          594.    To establish causation, the FTC must also “rule out alternative market-based

26   explanations” for the defendant’s competitive success. It’s My Party, Inc. v. Live Nation, Inc.,

27   811 F.3d 676, 685-86 (4th Cir. 2016) (plaintiff failed to rule out market-based explanations why

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 1   consumers might prefer defendant’s alleged bundled venue and promotion services – including

 2   superiority of the defendant’s venue). Only by ruling out such alternative explanations can a

 3   plaintiff establish the causation necessary to establish cognizable harm to competition. Id. With

 4   specific respect to conduct concerning FRAND commitments and standards development, a

 5   plaintiff must show that the alleged harm to competition would not have occurred but for the

 6   challenged conduct. Rambus, 522 F.3d at 466-67 (FTC failed to show that defendant’s

 7   technology would not have been adopted into the standard but for the defendant’s alleged failure

 8   to disclose its SEPs, and thus FTC failed to establish that challenged conduct harmed competition

 9   from alternative technologies).
10          595.    For this reason, showing that a defendant raised prices or otherwise increased costs

11   to customers (or charged more than it would have absent monopoly power) is insufficient. See

12   NYNEX Corp v. Discon, Inc. 525 U.S. 128, 136-37 (1998) (absent showing that telephone service

13   company’s conduct harmed competitive process, fact that conduct resulted in higher prices to

14   consumers did not suffice to support antitrust claims – higher prices resulted from defendant’s

15   lawful monopoly and its deception of regulatory agency, not from a less competitive market);

16   Forsyth v. Humana, Inc. 114 F.3d 1467, 1477-78 (9th Cir. 1997), overruled on other grounds by

17   Lacey v. Maricopa Cty., 693 F.3d 896 (9th Cir. 2012) (mere fact that plaintiffs’ co-payments

18   increased as a result of defendant’s alleged kick-back scheme did not support antitrust claim

19   because evidence did not “explain how the scheme reduced competition in the relevant market.”)
20   Even in cases where the defendant is alleged to charge higher prices than it would absent alleged

21   monopoly power, the FTC must still establish that the challenged conduct caused harm to

22   competition by “impair[ing] rivals in a manner tending to bring about or protect a defendant’s

23   monopoly power.” Rambus Inc. v. FTC, 522 F.3d at 464. A showing that a defendant engaged in

24   unsavory conduct is insufficient unless that conduct actually harmed the competitive process. Id.;

25   see also Trinko, 540 U.S. at 407.

26          596.    Evidence of increasingly competitive conditions in the alleged relevant markets

27   also weighs heavily against a finding that there has been harm to competition. Omega Envtl, Inc.

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 1   v. Gilbarco, Inc., 127 F.3d 1157, 1164 (9th Cir. 1997) (evidence that a competitor had “built a

 2   substantial distribution network” and that its “market share ha[d] increased since its entry by at

 3   least one third (from approximately 6% to 8%), while industry output in the … market []

 4   expanded substantially” precluded a finding that challenged conduct was a barrier to entry where

 5   plaintiff had produced no credible evidence that the challenged conduct had deterred its entry);

 6   see also R.W. Int’l Corp. v. Welch Food, Inc., 13 F.3d 478, 487–88 (1st Cir. 1994) (fact that the

 7   distributor “successfully entered the market during the relevant period of time … indicat[ed] a

 8   lack of injury to competition” from terminating the distributor even if the distributor had

 9   “suffered economic consequences from [the] decision to terminate”).
10          B.      The FTC Has Failed to Prove Its Theory of Anticompetitive Effects
11          597.    The FTC’s theory of harm to competition is that Qualcomm has monopoly power
12   in alleged markets for CDMA and “premium” LTE modem chips, and that it has leveraged these
13   alleged modem chip monopolies in licensing negotiations with OEMs to obtain licensing terms
14   for its cellular SEPs that are above FRAND. The FTC further alleges that these “supra-FRAND”
15   rates impose a tax on its rival modem chip suppliers, which then reduces competition in the
16   alleged relevant markets by reducing competitors’ sales and margins and thereby reducing the
17   ability and incentive of Qualcomm’s competitors to invest and innovate. (Complaint ¶¶ 31-32;
18   44-45; 76-94). To prove this theory, the FTC must prove that (a) the alleged markets, for CDMA
19   and “premium” LTE modem chips, are properly defined, (b) that Qualcomm has market power in
20   those markets, (c) that Qualcomm used that market power to cause OEMs to agree to royalty
21   terms that were higher than “fair and reasonable,” and (d) that but for these increased royalties,
22   the prices of Qualcomm’s modem chips would have been higher, resulting in competitors in the
23   alleged markets having sufficiently more sales at higher margins, that the alleged markets would
24   have been meaningfully more competitive, and that Qualcomm’s competitors would have
25   invested more and become more effective competitors against Qualcomm.
26          598.    The FTC has failed to prove this theory based on objective and reliable evidence.
27   See Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1175 (9th Cir. 2016) (holding that
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 1   plaintiff’s antitrust claims failed for lack of evidence of harm to competition, and noting that

 2   “[t]his case serves as a reminder that anecdotal speculation and supposition are not a substitute for

 3   evidence, and that evidence decoupled from harm to competition – the bellwether of antitrust – is

 4   insufficient”); see also Cal. Dental Ass’n v. FTC, 224 F.3d 942, 957 (9th Cir. 2000) (dismissing

 5   FTC’s challenge to advertising restrictions where FTC “never quantified any increase in price or

 6   reduction in output of dental services resulting from” challenged restrictions, whereas defendant

 7   had produced strong, empirical evidence of procompetitive effects supported by expert testimony

 8   and statements from individual dentists); United States v. AT&T, Inc., 310 F. Supp. 3d 161, 211-

 9   12 (D.D.C. 2018) (government failed to offer any reliable, objective evidence of harm to
10   competition to support challenge to proposed merger – statements by defendants were taken out

11   of context, statements by third-party competitors likely reflected “self-interest rather than genuine

12   concerns about harm to competition,” and expert witness relied on inputs that were not supported

13   by evidence); United States v. Oracle Corp., 331 F. Supp. 2d 1098, 1167-68 (N.D. Cal. 2004)

14   (finding testimony from customers about competitive conditions in market unreliable and

15   unpersuasive, as testimony was only “small sample” of “heterogeneous customer market” and

16   “the most persuasive testimony from customers is not what they say in court, but what they do in

17   the market,” and actual data showed broader competition than alleged); Areeda & Hovenkamp ¶

18   538b (stating that “‘subjective’ testimony by customers” constitutes the “[l]east reliable

19   [evidence]” and that “[t]hough not irrelevant, such statements are often unreliable”).
20          599.    The FTC cannot meet its burden of proof by providing only “a theory of the likely

21   effect of” the challenged conduct. Boise Cascade 637 F.2d at 578. Speculation based “on general

22   economic theory” or “academic suppositions” on what could or would happen but for the

23   challenged conduct also do not constitute actual evidence of adverse effects. Military Servs.

24   Realty, Inc. v. Realty Consultants of Va., Ltd., 823 F.2d 829, 832 (4th Cir. 1987) (granting

25   summary judgment where expert based his conclusion on general economic theory and did not

26   conduct any quantitative analysis to determine the actual effect the challenged conduct had on

27   competition); see also Procaps S.A., Inc. v. Patheon, Inc., 845 F.3d 1072, 1085 (11th Cir. 2016)

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 1   (experts’ conclusions regarding the “theoretical” and “hypothetical” effects on competition were

 2   insufficient to establish harm to competition); Brooke Group Ltd. v. Brown & Williamson

 3   Tobacco Corp. 509 U.S. 209, 233-34 (1993) (rejecting unsupported speculation that competition

 4   would have increased even more absent challenged conduct – in light of evidence showing that

 5   output expanded following alleged predation, plaintiff’s theory relied on speculation that output

 6   expanded at a slower rate than it would have absent the challenged conduct, which was not an

 7   inference supported by concrete evidence).

 8                  1.     The FTC Has Failed To Establish That Qualcomm Has Monopoly
                           Power In The Alleged Relevant Markets.
 9
            600.    As a first step, the FTC must prove that Qualcomm has monopoly power in both
10
     alleged relevant markets: (a) the alleged market for CDMA modem chips; and (b) the alleged
11
     market for “premium” LTE modem chips. This requires, first, defining the relevant markets. See
12
     Ohio v. Am. Express, 138 S. Ct. 2274, 2285 & n.7 (2018) (in a case alleging vertical restraints
13
     under Section 1 of the Sherman Act, the court cannot assess whether the conduct has
14
     anticompetitive effects without first defining the relevant market and measuring market power.)
15
     Second, the FTC must prove that Qualcomm has monopoly power in each market.
16
            601.    Monopoly power is “the power to control prices or exclude competition.” Grinnell,
17
     384 U.S. at 571 (quoting United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 391
18
     (1956)).
19
            602.    Although “high market share” may potentially be “evidence from which the
20
     existence of monopoly power may be inferred … market share alone does not prove monopoly
21
     power.” United States v. Syufy Enterprises, 712 F. Supp. 1386, 1401 (N.D. Cal. 1989) (citing
22
     Hunt-Wesson Foods, Inc. v. Ragu Foods, Inc., 627 F.2d 919, 924 (9th Cir. 1980), cert. denied,
23
     450 U.S. 921 (1981)). A “high market share cannot be inferred as creating actual or potential
24
     monopoly power where a given market has low entry barriers and other market factors rendering
25
     monopoly power unlikely.” United States v. AMR Corp., 140 F. Supp. 2d 1141, 1209 (D. Kan.
26
     2001) (citation omitted). “Because untapped potential provides a mouth-watering incentive for
27
     vigorous competition, it is axiomatic that monopoly power is unlikely to arise in dynamic
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 1   industries marked by a rapidly expanding volume of demand and low barriers to entry.” Metro

 2   Mobile CTS, Inc. v. NewVector Commc’ns, Inc., 892 F.2d 62, 63 (9th Cir. 1989).

 3          603.    Assuming a relevant market has been properly defined, courts consider “structural

 4   characteristics of markets in determining whether or not a firm has monopoly power, including

 5   the relevant size and strength of competitors, … probable development of the industry, [and]

 6   potential competition.” Antitrust Law Developments 236 (8th ed.); see also Reazin v. Blue Cross

 7   and Blue Shield of Kan., Inc., 899 F.2d 951, 967 (10th Cir. 1990) (“Power over price and power

 8   over competition … depend on various market characteristics, including … market trends,

 9   number and strength of other competitors, and entry barriers.” (citation omitted)).
10          604.    Strong competition and trends toward even stronger competition indicate a lack of

11   monopoly power. Oahu Gas Serv., Inc. v. Pacific Resources, Inc., 838 F.2d 360, 366 (9th Cir.

12   1988) (even a high market share does not support finding of monopoly power “in a market with

13   low entry barriers or other evidence of a defendant’s inability to control prices or exclude

14   competitors” (emphasis added)).

15          605.    In assessing market power, a court must also consider the extent to which the

16   conduct of even a seller with a large market share is disciplined by powerful buyers. United

17   States v. Archer-Daniels-Midland Co., 781 F. Supp. 1400, 1416–18 (S.D. Iowa 1991) (existence

18   of large, powerful buyers limited ability of sellers to raise prices in market for high fructose corn

19   syrup). Buyers can reduce or discipline a firm’s market power by, for example, sponsoring entry
20   by competitors or engaging in self-supply. See FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34,

21   58-60 (D.D.C. 1998).

22                          a.      The FTC Has Not Established That Qualcomm Has Monopoly
                                    Power in the Alleged Market for CDMA Modem Chips.
23
            606.    The evidence shows that Qualcomm was unable to exercise sustained, meaningful
24
     market power in CDMA modem chips. In the cellular industry, a relatively small number of
25
     powerful OEMs, each of which buys far larger quantities of non-CDMA modem chips than
26
     CDMA modem chips, and together provide a substantial portion of Qualcomm’s chip revenue,
27
     could easily retaliate in the much larger non-CDMA segments against any effort by Qualcomm to
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 1   exercise monopoly power in the far smaller CDMA segment. Qualcomm recognized this threat

 2   of retaliation in non-CDMA markets and lowered its prices for CDMA modem chips. See United

 3   States v. Archer-Daniels-Midland Co., 781 F. Supp. at 1416–18.

 4          607.    The evidence further shows that there were no significant barriers to entry that

 5   prevented chipmakers with existing GSM, WCDMA, and LTE modem chips, including Intel,

 6   MediaTek, Samsung, and Huawei, from quickly developing and marketing CDMA multimode

 7   modem chips when they have decided to do so. The evidence also shows that OEMs have been

 8   able to sponsor entry into the CDMA segment.

 9          608.    The evidence further shows that to the extent a market for CDMA modem chips
10   was ever meaningful, such a market ceased to have competitive significance with Verizon’s

11   certification of non-CDMA phones. The FTC alleged that CDMA capability was particularly

12   important because it was necessary to sell phones into the U.S. market. But CDMA capability is

13   not necessary to sell phones compatible with three of the four major cellular network providers in

14   the United States. CDMA capability has never been necessary to sell phones compatible with

15   European cellular networks and many Asian cellular networks.

16          609.    This evidence of lack of entry barriers, diminishing competitive import, and

17   increasingly competitive conditions precludes any finding of monopoly power in the alleged

18   market for CDMA modem chips. Oahu Gas Service, Inc., 838 F.2d at 366; see also United States

19   v. Int’l Harvester Co., 274 U.S. 693, 708–09 (1927) (pointing to evidence of increasingly strong
20   competitors with greater “competitive efficiency” and a decrease in the defendant’s market share

21   as evidence against a finding of antitrust violation); United States v. U.S. Steel Corp., 251 U.S.

22   417, 439 n.1 (1920) (pointing to decrease in defendant’s market share over ten-year period from

23   “50.1 percent to 40.9 percent,” and competitors’ increase in business by percentage that

24   outstripped the defendant’s increase in business as “indicat[ing] that . . . [the] power of the

25   corporation [is] not sufficient to retard prosperous growth of efficient competitors”); United

26   States v. Syufy Enters., 903 F.2d 659, 665–67 (9th Cir. 1990) (concluding that defendant had no

27   market power because new entrant reduced market share from 93% to 75% over four years—a

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 1   much smaller and slower decline than the decline of Qualcomm’s share of sales of CDMA-

 2   compatible modem chips).

 3            610.   The FTC’s monopolization claim fails for an additional reason: lack of current

 4   evidence. The only evidence of market conditions after 2016 submitted at trial shows

 5   increasingly competitive conditions, including declining prices, new entry by rival chipmakers,

 6   and a continuing decline in Qualcomm’s global share of baseband modem chip units sold in every

 7   relevant segment, including CDMA modem chips. The FTC’s expert did not examine any

 8   evidence concerning market conditions in the alleged relevant market for CDMA modem chips

 9   after 2016, and offered no opinion about whether Qualcomm has had or is likely to obtain
10   monopoly power in that alleged market at any time after 2016. Thus, all Dr. Shapiro could do

11   was speculate as to Qualcomm’s current or future monopoly power. Expert opinions based on

12   speculation rather than on reliable evidence do not suffice to establish monopoly power. United

13   States v. AT&T, Inc. 310 F. Supp. 3d 161, 212 (D.D.C. 2018) (expert witness relied on

14   speculation and inputs that were not supported by evidence). Thus, the FTC has failed to meet its

15   burden to prove that Qualcomm currently has, or is about to obtain, monopoly power in CDMA

16   modem chips.

17            611.   The FTC’s failure to meet its burden of establishing that Qualcomm has monopoly

18   power in CDMA modem chips defeats its claim of monopoly maintenance in CDMA modem

19   chips.
20                          b.      The FTC Has Not Established That the Alleged Market for
                                    “Premium” LTE Modem Chips Is Properly Defined, or that
21
                                    Qualcomm Has Monopoly Power in that Alleged Market.
22            612.   The FTC has failed to establish that the alleged market for “premium” LTE
23   modem chips” is properly defined, or that Qualcomm has monopoly power in such alleged market
24   if it had been properly defined.
25            613.   “The U.S. Supreme Court has said that in analyzing the relevant product market,
26   the appraisal is one of cross-elasticity of demand; that is, the reasonable interchangeability of
27   commodities.” In re Super Premium Ice Cream Distribution Antitrust Litig., 691 F. Supp. 1262,
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 1   1268 (N.D. Cal. 1988), citing United States v. DuPont & Co., 351 U.S. 377, 394-95 (1956);

 2   Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962). A properly defined market must take

 3   into account the commercial realities of competition. See, e.g., Balaklaw v. Lovell, 14 F.3d 793,

 4   799 (2d Cir. 1994).

 5          614.    The FTC has shifted its definition of the alleged market for “premium” LTE

 6   modem chips. Initially, it defined this market as including LTE baseband processors that

 7   “support[] advanced LTE functionality” and have the “latest features” (Complaint ¶ 42) or

 8   processors that “implement the most advanced currently deployed LTE technology, and/or are

 9   suitable for use in a premium handset at a given point in time” (FTC’s 2nd Am. Resp. to
10   Qualcomm’s First Set of Interrogatories, Response to Interrogatory No. 4, at 18). Later, its

11   expert, Dr. Shapiro defined the market as including “those LTE-compatible chips that OEMs have

12   deployed in premium-tier handsets,” where “premium-tier handsets” are handsets that cost more

13   than $300 before 2013 and more than $400 after 2013. Alternatively, the FTC’s expert defined

14   the market as including “only those chips explicitly identified by Qualcomm in its internal

15   documents as ‘premium,’ rather than by the phones within which they are used.”

16          615.    With respect to the FTC’s initial market definition, the FTC acknowledged that it

17   could not identify the “minimum features that would be necessary, at any particular moment in

18   time, for an LTE baseband processor to be included in the market for premium LTE baseband

19   processors.” (Response to Interrogatory No. 4, at 19.)
20          616.    With respect to the FTC’s expert’s market definition, based on LTE modem chips

21   actually used in “premium-tier handsets” as defined by specific price thresholds, “[m]arket

22   definitions based on price levels . . . have not found favor with courts” because products in one

23   alleged price band often are found to compete with products in another. Casey v. Diet Ctr., Inc.,

24   509 F. Supp. 1561, 1568 (N.D. Cal. 1984) (citing Brown Shoe, 370 U.S. at 326; United States v.

25   Jos. Schlitz Brewing Co., 253 F. Supp. 129 (N.D. Cal. 1966)); see also Premium Ice Cream, 691

26   F. Supp. at 1268 (“Such distinctions are economically meaningless where the differences are

27   actually a spectrum of price and quality differences”).

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 1          617.    Moreover, the FTC’s definition of the market based on modem chips that were

 2   actually used in certain handsets does not take into account the degree of and potential for ex-ante

 3   competition for those sockets. At a minimum, modem chips that OEMs considered, but

 4   ultimately rejected, for use in “premium tier handsets” are part of the market because they

 5   literally provided competition for the chips that OEMs ultimately selected.

 6          618.    The evidence here shows that modem chips included within the proposed

 7   definition compete against and are interchangeable with chips that fall outside the definition. For

 8   example, a number of modem chips that the FTC excluded from its proposed relevant market of

 9   “premium” LTE modem chips were incorporated into handsets that cost more than $300 before
10   2013 and more than $400 after 2013, and therefore were substitutes for modem chips that the

11   FTC did include in its proposed relevant market. Similarly, a number of modem chips that the

12   FTC included in its proposed relevant market of “premium” LTE modem chips were incorporated

13   into handsets that cost less than $300 before 2013 and less than $400 after 2013. Further, OEMs

14   considered additional modem chips for use in handsets that cost more than $300 before 2013 and

15   more than $400 after 2013. This evidence is inconsistent with the FTC’s expert’s proposed

16   definition of a relevant market for “premium” LTE modem chips. See, e.g., United States v. H&R

17   Block, Inc., 833 F. Supp. 2d 36, 83 (D.D.C. 2011) (rejecting a market definition that sought to

18   distinguish between “premium” and “value” segments for the do-it-yourself tax preparation

19   services market because evidence showed that competitors in each segment competed directly on
20   price and features); Creston Electronics, Inc. v. Cyber Sound & Sec. Inc., No. 11-3492

21   (FSH)(MAH), 2012 U.S. Dist. LEXIS 16132, at *12–*16 (D.N.J. Feb. 9, 2012) (rejecting

22   plaintiff’s market definition of “high-end residential automation and control systems” costing

23   $25,000 or more because “it does not allege which products or components that make up these

24   control systems are interchangeable with one another functionally and/or economically” and for

25   failing to allege products costing below $25,000 “do not compete” with these “high-end”

26   systems”); Premium Ice Cream, 691 F. Supp. at 1268 (rejecting a market definition for “super

27   premium” ice cream because of a lack of “sufficient facts” that customers of such ice creams “do

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 1   not buy others which are lower in the spectrum of price or quality” and because of “significant

 2   overlap among the various grades and brands”).

 3          619.    Even if the proposed market of so-called “premium” LTE modem chips had been

 4   properly defined, the FTC has failed to establish that Qualcomm has monopoly power in that or

 5   any other segment of the market for LTE modem chips.

 6          620.    The FTC’s expert acknowledged that Qualcomm’s share of “premium” LTE

 7   modem chips sales was reduced between 2014 and 2016 by the entry of Samsung, Intel, and

 8   MediaTek as competitors. During that time period, according to the FTC’s expert, Qualcomm’s

 9   share of “premium” LTE modem chip sales fell sharply from 89% in 2014 to 57% in 2016.
10   Under the FTC’s expert’s “alternative” definition of the market, Qualcomm’s share fell below

11   50%.

12          621.    The evidence that Qualcomm submitted at trial concerning current market

13   conditions shows increasingly competitive conditions, including declining prices, new entry by

14   rival chipmakers, increasing self-supply by OEMs, and a continuing decline in Qualcomm’s

15   global share of baseband chip units sold in every relevant segment, including alleged “premium”

16   LTE chips. Moreover, today, the evidence shows that each of the top three major global OEMs –

17   Samsung, Huawei and Apple – is not dependent on Qualcomm for either so-called “premium”

18   LTE modem chips or modem chips that support CDMA: Samsung and Huawei self-supply chips

19   for their respective flagship phones, both also have available self-supply of multi-mode LTE
20   modem chips that support CDMA, and Apple is sourcing exclusively from Intel for all its 2018

21   devices, including those sold for activation on carriers requiring CDMA support.

22          622.    The evidence also shows Qualcomm was unable to exercise market power in the

23   alleged market for “premium” LTE modem chips because powerful OEMs, which buy far larger

24   quantities of non-LTE and “non-premium” LTE modem chips than “premium” LTE modem

25   chips, could easily retaliate in the much larger non-“premium” LTE segments against any effort

26   by Qualcomm to exercise monopoly power in the far smaller alleged “premium” LTE segment.

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 1          623.    This evidence of increasingly competitive conditions precludes a finding of

 2   monopoly power in the alleged market for “premium” LTE modem chips. Oahu Gas Service,

 3   Inc., 838 F.2d at 366; Int’l Harvester Co., 274 U.S. at 708–09; U.S. Steel Corp., 251 U.S. at 439

 4   n.1; Syufy Enters., 903 F.2d at 665–66.

 5          624.    The FTC submitted no evidence of market conditions in the alleged relevant

 6   markets after 2016. Thus, the FTC has failed to prove that Qualcomm has, or is about to have,

 7   monopoly power in “premium” LTE modem chips. This is another, independent, reason that the

 8   FTC’s claim fails.

 9          625.    The FTC’s failure to meet its burden of establishing that Qualcomm has monopoly
10   power in an alleged market for “premium” LTE modem chips defeats its claim of monopoly

11   maintenance in “premium” LTE modem chips.

12                  2.     The FTC Has Failed to Establish That Qualcomm’s Chip Supply
                           Practices Harmed Competition in the Alleged Relevant Markets.
13
            626.    The FTC alleges that Qualcomm’s practice of selling chipsets only to licensed
14
     handset manufacturers (i) “coerced” licensees to enter into licenses for Qualcomm’s patents on
15
     terms to which they would not have agreed but-for the need for Qualcomm’s CDMA or
16
     “premium” LTE modem chips, which resulted in “supra-FRAND” royalties, (ii) that such
17
     royalties, in turn, imposed a “tax” on competing chipmakers, and (iii) that the tax forced
18
     competitors to exit, deterred entry, made competitors invest less and become weaker competitors,
19
     and resulted in improper monopoly maintenance.
20

21                         a.      The FTC has not Established that Qualcomm “Coerced” OEMs
                                   to Enter into Licenses That Resulted in Supra-FRAND
22                                 Royalties.

23          627.    The first step of the FTC’s theory challenging Qualcomm’s chip supply practices

24   is that Qualcomm “coerced” OEMs to enter into licenses that resulted in supra-FRAND royalties

25   because OEMs purportedly could not obtain Qualcomm’s modem chips without agreeing to such

26   terms, and OEMs could not afford to forgo buying such modem chips because Qualcomm’s

27   monopoly power in alleged relevant markets for CDMA and “premium” LTE modem chips

28   prevented the OEMs from sourcing such modem chips from rival suppliers.
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 1          628.    The FTC’s theory fails because the FTC has not proven with reliable evidence that

 2   the licensing terms charged by Qualcomm for licenses to its cellular SEPs include a “supra-

 3   FRAND” component that was coerced by Qualcomm’s purported monopoly power in the CDMA

 4   or “premium” LTE modem chip markets.

 5          629.    If it were true that Qualcomm’s prevailing license terms included unfair and

 6   unreasonable royalties or other terms as a result of withholding or threatening to withhold chip

 7   supply, one would expect to find that any OEM who did not need Qualcomm’s CDMA or

 8   “premium” LTE modem chips would not have entered into a license with Qualcomm having its

 9   prevailing royalty terms, including royalty rates. In other words, such an OEM would have
10   negotiated for royalty terms that did not include the purportedly unfair or unreasonable royalty

11   terms. For this reason, the evidence is inconsistent with the FTC’s theory.

12          630.    Thirty-six licensees signed license agreements with Qualcomm extending to sales

13   of complete terminals (i.e., cell phones), who have never bought any modem chips at all from

14   Qualcomm to incorporate into complete terminal units. Necessarily, these licensees could not

15   have been “coerced” by either the “need” for Qualcomm’s CDMA or “premium” LTE modem

16   chips, or Qualcomm’s purported market power in these alleged markets, into entering into a

17   license by any need for Qualcomm’s modem chips.

18          631.    Fifteen licensees entered into CDMA patent license agreements with Qualcomm

19   before Qualcomm even established its chip business. Necessarily, these licensees could not have
20   been “coerced” into entering into a license by any need for Qualcomm’s CDMA or “premium”

21   LTE modem chips, because of course, such chips didn’t even exist (let alone market power).

22          632.    The situation with WCDMA is similar. As an initial matter, the FTC has not

23   alleged or established that Qualcomm held or exercised market power in WCDMA modem chips.

24   Instead, FTC argues that Qualcomm’s WCDMA agreements entered into during the period where

25   Qualcomm purportedly had market power in “premium” LTE modem chips, contain a “supra-

26   FRAND” component generated from a fear that “premium” LTE modem chip supply would be

27   interrupted. But Qualcomm entered into 68 WCDMA-only license agreements before Qualcomm

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 1   sold any LTE modem chips at all. Necessarily, these licensees could not have been “coerced”

 2   into entering into a WCDMA license containing a “supra-FRAND” component generated from a

 3   fear that “premium” LTE modem chip supply would be interrupted because Qualcomm did not

 4   yet sell “premium” LTE modem chips at the time the licenses were entered into.

 5          633.    Qualcomm’s licenses covering LTE-only devices are similarly free from any

 6   “supra-FRAND” component generated from a fear that “premium” LTE modem chip supply

 7   would be interrupted. An LTE-only license agreement provides for royalty payments on sales of

 8   handsets that are compatible with the LTE standard and that contain a single-mode LTE-only

 9   modem chip. Qualcomm has never sold an LTE-only modem chip for handsets; rather, the only
10   LTE modem chips it has sold for use in handsets are multi-mode chips that also support cellular

11   communication using a 3G standard. Qualcomm will sell a multi-mode chip to any OEM that has

12   a license for any of the 3G modes for which the modem chip is compatible, even if the customer

13   does not have a license agreement covering LTE products. For example, Qualcomm will sell a

14   multi-mode WCDMA/LTE chip to any OEM who has a WCDMA license. Qualcomm entered

15   into 312 LTE-only licenses despite the fact that Qualcomm has never sold LTE-only chips for use

16   in handsets. Necessarily, these licensees could not have been “coerced” into entering into an

17   LTE-only license by any need for Qualcomm’s CDMA or “premium” LTE modem chips because

18   the licensees did not need an LTE-only license to buy modem chips being sold by Qualcomm at

19   the time the licenses were entered into. Thus, the royalty terms for such LTE-only agreements
20   are free from any possible “coercion” based upon the fear that “premium” LTE modem chip

21   supply would be interrupted.

22          634.    Qualcomm entered into 29 5G licenses in 2018, before it sold any 5G modem

23   chips. Necessarily, these licensees could not have been “coerced” into entering into a license by

24   any need for Qualcomm’s modem chips.

25          635.    Further, the FTC’s theory does not apply to licensees who had no near-term need

26   for Qualcomm’s chips. Companies that entered into licenses with Qualcomm two or more years

27   before they began buying CDMA or “premium” LTE modem chips from Qualcomm could not

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 1   have been deterred from bringing a legal challenge to Qualcomm’s licensing terms for fear of

 2   losing access to chips because those companies had plenty of time to do so before they bought

 3   such chips. Thus, the conclusion that Qualcomm’s purported market power in CDMA or

 4   “premium” LTE modem chips coerced these licensees to enter licenses containing a “supra-

 5   FRAND” component because of fear that chip supply would be interrupted is not sustainable.

 6          636.    The FTC’s theory likewise does not apply to licenses that were negotiated under

 7   the supervision of, and approved by, a licensee’s home government, such as China or Korea.

 8   Such licenses could not have been the product of some undue coercion by Qualcomm.

 9          637.    Under the FTC’s theory, if even a single OEM was not “coerced” into entering
10   into a Qualcomm license by the need for Qualcomm’s CDMA or “premium” LTE modem chips,

11   that licensee could have challenged Qualcomm’s licensing rates and would have if they were

12   unfair or excessive, and, if the challenge were successful, Qualcomm would have thus been

13   forced to lower its rates for all licensees. This is because, according to the FTC, the “non-

14   discriminatory” component of the FRAND requirement, combined with “most favored royalty

15   rate” clauses in numerous Qualcomm licenses, means that a more favorable royalty rate for one

16   OEM would result in the more favorable royalty rate for all OEMs. (FTC response to Interrog.

17   No. 6). Because hundreds of licensees have entered into a Qualcomm license without being

18   “coerced” by a fear that Qualcomm would interrupt supply of CDMA or “premium” LTE modem

19   chips, the FTC’s proof necessarily fails.
20          638.    In addition, if it were true that Qualcomm received an unfair and unreasonable

21   “supra-FRAND” component to the royalties it charges by threatening to withhold CDMA or

22   “premium” LTE modem chip supply, one would expect that Qualcomm’s royalty terms in license

23   agreements entered with purchasers of the allegedly monopolized chips during periods of alleged

24   monopolization would be higher than in license agreements entered when Qualcomm did not

25   have a chip business. The evidence showed that this was not the case.

26          639.    If the FTC’s theory were true, one would also expect that Qualcomm’s royalty

27   terms for purchasers of the allegedly monopolized CDMA and “premium” LTE modem chips

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 1   would be higher than for licensees purchasing only modem chips as to which the FTC does not

 2   allege that Qualcomm ever had a monopoly, such as WCDMA modem chips. The evidence

 3   showed that this was not the case either.

 4           640.     One would also expect that royalty terms in license agreements entered during

 5   periods of alleged monopolization of CDMA or “premium” LTE modem chips would be higher

 6   than in license agreements entered when Qualcomm had a non-monopoly share of the alleged

 7   relevant markets (e.g., less than 50%, leaving aside the fact that shares exceeding 50% can be

 8   non-monopoly shares in the face of low entry barriers or other factors). This, too, was not the

 9   case.
10           641.     The FTC also cannot reconcile that Qualcomm’s licensing practices have been

11   consistent and well-known since it began licensing more than two decades ago. As noted above,

12   the evidence shows that Qualcomm’s royalty rates have been consistent between the periods

13   during which Qualcomm allegedly held monopoly power in the alleged markets and when it did

14   not. In other words, Qualcomm charged virtually identical rates in licenses executed in periods

15   where Qualcomm did not have any market power to those licenses executed during periods where

16   Qualcomm purportedly did have market power (and according to the FTC include a “supra-

17   FRAND” rate component). Thus, this evidence shows that Qualcomm could not possibly have

18   used alleged monopoly power in chip markets as leverage, given that the purportedly affected

19   license agreements are not different. Without difference in rates, the FTC’s theory fails as a
20   matter of law.

21           642.     In addition, during the time that Qualcomm has maintained its consistent and well-

22   known licensing practices, its technology has repeatedly been included in multiple generations of

23   standards, including in numerous releases within each standard. Implementers substantially

24   outnumber innovators in the standards development organizations that have issued those

25   standards, and decisions on standards are reached by consensus, which may mean something less

26   than unanimity, but means more than a simple majority. The FTC did not provide an explanation

27   why, if Qualcomm’s licensing practices were in breach of its FRAND commitments, Standards

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 1   Development Organizations (“SDOs”)—which were populated by meaningful numbers of

 2   representatives of Qualcomm licensees, all of whom were aware of Qualcomm’s licensing

 3   practices and license terms—continued to include Qualcomm’s technology in their standards.

 4   This is further evidence that the market does not view that Qualcomm’s practices create a “supra-

 5   FRAND” rate component that imparts anticompetitive harm to the market.

 6          643.    The evidence further shows that handset makers engaged in multi-sourcing and

 7   had access to alternative sources of modem chip supply. The FTC failed to explain why handset

 8   makers could not turn to these alternative sources of supply to neutralize Qualcomm’s alleged

 9   threat of withholding its own modem chip supply.
10          644.    The FTC’s theory fails for the additional reason that it has not demonstrated that

11   any particular license – let alone all of Qualcomm’s licenses – contain a supra-FRAND royalty

12   component that was caused by Qualcomm coercing such supra-FRAND component by virtue of

13   threatening to interrupt chip supply. The FTC relies on the opinion of its expert,

14   Michael Lasinski, but Mr. Lasinski’s opinion is neither reliable nor supported in fact.

15   Mr. Lasinski also fails to make the causal connection required. It is not enough for the FTC to

16   argue that Qualcomm’s rates are “supra-FRAND” in the abstract. The FTC has to directly link

17   any purported “supra-FRAND” component to the alleged monopoly power, which neither

18   Mr. Lasinski nor Dr. Shapiro does. The FTC’s case fails because it falls well-short of proving

19   that Qualcomm’s purported market power in CDMA or “premium” LTE modem chips caused the
20   effect of a “supra-FRAND” component to Qualcomm’s royalty rates. Nor is there any evidence

21   that Mr. Lasinski’s “portfolio strength” metric is reliable and representative of the actual value of

22   Qualcomm’s portfolio.

23          645.    Accordingly, the FTC’s multi-step theory that Qualcomm’s practice of not selling

24   modem chipsets to unlicensed companies was anticompetitive fails at its first step, because the

25   FTC has not shown that the practice resulted in “supra-FRAND” royalties.

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 1                          b.     The FTC has not Established that Qualcomm’s Royalties
                                   Imposed a “Tax” on Competing Chipmakers.
 2
            646.    Had the FTC established the first step of its theory, that Qualcomm’s practice of
 3
     not selling CDMA or “premium” LTE modem chips to unlicensed customers “coerced” OEMs to
 4
     sign license agreements with a “supra-FRAND” component to its royalties, it would also have to
 5
     show that the “supra-FRAND” component somehow harmed competition in the alleged relevant
 6
     modem chip markets. This is because a mere increase in the costs borne by OEMs, regardless of
 7
     the modem chip they used, whether from Qualcomm or a competitor, is not evidence of harm to
 8
     competition sufficient to support an antitrust claim, regardless of the means by which such
 9
     increase in price or cost was imposed on OEMs. See NYNEX Corp v. Discon, 525 U.S. 128, 136-
10
     37 (1998) (absent showing that telephone service company’s conduct harmed competitive
11
     process, fact that conduct resulted in higher prices to consumers did not suffice to support
12
     antitrust claims; higher prices resulted from defendant’s lawful monopoly and its deception of
13
     regulatory agency, not from a less competitive market.); Forsyth v. Humana, Inc. 114 F.3d 1467,
14
     1477-78 (9th Cir. 1997) (mere fact that plaintiffs’ co-payments increased as a result of
15
     defendant’s alleged kick-back scheme did not support antitrust claim because evidence did not
16
     “explain how the scheme reduced competition in the relevant market.”); see also Rambus Inc. v.
17
     FTC, 522 F.3d 456, 464, 466 (D.C. Cir. 2008) (ruling, in the specific context of alleged supra-
18
     FRAND royalties, that even if deceptively failing to disclose patents or applications to the SDO
19
     enabled Rambus to charge higher royalties than it otherwise could have charged, such conduct
20
     would not constitute illegal monopolization, because the FTC had not shown that the failure to
21
     disclose harmed competition by “impair[ing] rivals in a manner tending to bring about or protect
22
     a defendant’s monopoly power”).
23
            647.    According to the FTC’s theory and the FTC’s economist, the effect of any excess
24
     royalty would depend on: (i) its magnitude; (ii) its effect on Qualcomm’s chip pricing – i.e.,
25
     whether it allowed Qualcomm to price its modem chips lower than it otherwise would; (iii) the
26
     response by competing chipmakers to changes in Qualcomm’s chip pricing; (iv) the elasticity of
27
     demand for modem chips generally, and for each supplier’s chips specifically, as well as on the
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 1   elasticity of demand for phones (which affects demand for modem chips); and (v) the ability of

 2   OEMs to pass through any surcharge to consumers.

 3          648.    The FTC failed to provide any evidence that any “tax”—let alone a meaningful tax

 4   sufficient to bring about exclusion—was imposed on any competitor, or that any competitor

 5   exited, did not enter, or reduced its investments in developing modem chips due to Qualcomm’s

 6   conduct.

 7          649.    As to Qualcomm’s chip pricing, there is no dispute that, even if one were to

 8   assume that Qualcomm was able to lower its chip prices as a result of the supposed “tax,” the

 9   resulting chip prices were still above cost. The law strongly disfavors theories of anticompetitive
10   harm based on lower prices unless the prices are below cost. Weyerhaeuser Co. v. Ross-Simmons

11   Hardwood Lumber Co., 549 U.S. 312, 319 (2007) (to “allow plaintiffs to recover for above-cost

12   price cutting” “perversely, chill[s] legitimate price cutting, which directly benefits consumers,”

13   and would therefore “not constitute sound antitrust policy”) (quoting Brooke Group Ltd. v. Brown

14   & Williamson Tobacco Corp., 509 U.S. 209, 224 (1993)).

15          650.    As to the response by competing chipmakers, the evidence demonstrated that

16   multiple chip makers – including Intel and MediaTek – increased their investments in order to

17   compete in the alleged relevant markets. Competitors entered and expanded, and Qualcomm’s

18   market share fell. While there was exit as well as entry, as one would expect in a dynamic

19   market, the FTC presented no evidence that exit in the CDMA or “premium” LTE modem chip
20   markets resulted from Qualcomm’s practice of not selling CDMA or “premium” LTE modem

21   chips to non-licensees, and the FTC cannot point to any evidence showing a causal link between

22   this challenged conduct and any exit in the alleged relevant markets. Conversely, Qualcomm

23   introduced evidence that those exits were the result of normal competition and those firms’ own

24   shortcomings, and not the result of any of the challenged conduct. See Ortho Diagnostic Sys.,

25   Inc. v. Abbott Labs., Inc., 920 F. Supp. 455, 465 (S.D.N.Y. 1996) (“competitors being driven out

26   of business” as a “natural product of legitimate competition” is “tolerated” when “an exit” “is the

27   product of an inability compete efficiently on the merits”); Package Shop, Inc. v. Anheuser-

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 1   Busch, Inc., 675 F. Supp 894, 944 n.20 (D.N.J. 1987) (citing as support of finding “intense

 2   interbrand competition in the brewing industry” an economic report stating that the “extent of

 3   exits from brewing in the last decade indicate that this is hardly an industry in which an

 4   inefficient producer is protected from the chilling winds of competition”); FTC v. Occidental

 5   Petroleum Corp., No. 86-900, 1986 U.S. Dist. LEXIS 26138, at *28 (D.D.C. Apr. 29, 1986)

 6   (finding no possibility of harm to competition as “vigorous competition continues in an industry

 7   in which there has been entry, exit, and realignment among PVC producers”); United States v.

 8   Hughes Tool Co., 415 F. Supp. 637, 643–44 (C.D. Cal. 1976) (“substantial entry and exit rates in

 9   firms and products” indicates that “entrance is relatively easy and that healthy competition is
10   present” in the relevant markets).

11          651.    The FTC has likewise put forward no evidence attempting to assess the extent to

12   which market shares, sales, profits, or R&D expenditures of competitors in either alleged market

13   would have been different but for the challenged conduct.

14                          c.     The FTC has not Established that the Alleged “Tax” Resulted
                                   in Improper Monopoly Maintenance.
15
            652.    The final step of the FTC’s theory of harm to competition from not selling CDMA
16
     and “premium” LTE modem chips to unlicensed customers requires it to show that the alleged
17
     “tax” in fact harmed competition by allowing Qualcomm to maintain its alleged monopoly in the
18
     alleged relevant markets for CDMA and “premium” LTE modem chips.
19
            653.    This final step of the FTC’s theory is inconsistent with the evidence. Rival
20
     chipmakers, instead of being foreclosed by the alleged “tax,” have thrived: there has been new
21
     entry, rival chipmakers have competed vigorously, and they have gained shares of modem chip
22
     sales in every relevant segment, while Qualcomm’s shares have rapidly declined. See Omega
23
     Envtl., 127 F.3d at 1164; R.W. Int’l Corp., 13 F.3d at 487–88.
24
            654.    The evidence shows that Qualcomm has had to compete hard even to maintain its
25
     declining share, making large investments in innovation, leading to better products at ever-
26
     decreasing prices. The evidence also shows that Qualcomm’s LTE modem chip prices have
27
     declined considerably each year since 2012. Prices have also declined considering only the
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 1   alleged “premium” LTE modem chips as defined by Professor Shapiro. Such behavior is

 2   inconsistent with the conduct of a monopolist enjoying artificial entry barriers. Laurence J.

 3   Gordon, Inc. v. Brandt, Inc., 554 F. Supp. 1144, 1156 (W.D. Wash. 1983) (rejecting plaintiff’s

 4   attempt to prove defendant’s monopoly power as “inadequate” because of evidence of declining

 5   market share and defendant’s “vigorous competition” with competitors).

 6          655.    The evidence also shows that where Qualcomm was able to successfully compete

 7   in the relevant modem chip markets, that result was due to Qualcomm’s investment in R&D,

 8   superior products, and business acumen. See Grinnell, 384 U.S. at 571 (1966); see also

 9   Kentmaster Mfg. Co. v. Jarvis Prods. Corp., 146 F.3d 691, 694–95 (9th Cir. 1998) (finding that
10   defendant’s ability to attract a rival’s customers by providing equipment “at little or no cost to

11   customers as part of a system in which customers also purchase spare and replacement pans from

12   Defendant at profitable prices” is not predatory but an act of “beat[ing] a competitor’s prices,”

13   which is “good business and normal business”).

14          656.    The evidence also shows that to the extent competing chipmakers struggled or

15   exited the relevant modem chip markets, this was the result of factors other than Qualcomm’s

16   conduct, such as the rival’s failure to provide competitive solutions. See Image Tech. Servs., Inc.

17   v. Eastman Kodak Co., 125 F.3d 1195, 1222 (9th Cir. 1997) (finding that evidence did not

18   support a finding of antitrust injury and damage award to competitor because competitor’s “exit

19   was caused by factors other than [defendant’s] conduct”).
20          657.    In sum, the FTC has failed to meet its burden of establishing that Qualcomm’s

21   practice of refusing to sell modem chips to unlicensed OEMs causes any harm to competition.

22                  3.      The FTC Has Not Met Its Burden to Show that Qualcomm’s Practice
                            of Device-Level Licensing Has Harmed Competition.
23
            658.    The FTC alleges that Qualcomm practice of licensing only at the device level, not
24
     at the component level, exacerbates the effects of its practice of not selling CDMA or “premium”
25
     LTE modem chips to non-licensees, because, if chipmakers were licensed, they could purportedly
26
     challenge Qualcomm’s royalty rates without concern over access to Qualcomm’s chips.
27
     (Complaint ¶¶ 107-15).
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 1          659.    But the facts do not support the FTC’s contention. If rival chipmakers had truly

 2   felt restrained by Qualcomm’s practice of licensing only at the device level, and if they believed

 3   that Qualcomm had committed to providing them with such licenses, they could easily have sued

 4   Qualcomm for breach of its FRAND commitment, seeking a FRAND license covering CDMA or

 5   “premium” LTE modem chips. Indeed, the predicate for the FTC’s theory is that chipmakers

 6   would have no qualms about suing Qualcomm to vindicate their rights under Qualcomm’s

 7   commitments to license under FRAND terms, because they do not require access to Qualcomm’s

 8   chips; but they have not in fact brought any suit against Qualcomm seeking licenses at the

 9   component level. Moreover, the data discussed above, showing increased investment by
10   competing chipmakers, undermines the FTC’s theory; Intel, MediaTek, and Samsung would not

11   pour billions into their modem chip businesses had they truly believed Qualcomm could stop that

12   business in its tracks by asserting its SEPs against them.

13          660.    Competing chipmakers are not constrained in their ability to compete by the lack

14   of a license from Qualcomm, as evidenced by new entry by rival chipmakers and by Qualcomm’s

15   decreasing share of chip sales and increasing shares by leading competitors.

16          661.    Competition in the cellular communications industry has thrived under the device-

17   level licensing practice followed by Qualcomm and all other major SEP holders, and in the

18   corresponding absence of licenses covering CDMA or “premium” LTE modem chips. At the

19   modem chip level, there has been new entry, and Qualcomm’s share of sales has decreased in
20   these alleged markets.

21          662.    This evidence contradicts the FTC’s assertion that Qualcomm’s practice of not

22   offering licenses to sellers of CDMA or “premium” LTE modem chips has harmed competition.

23   Allied Orthopedic Appliances, Inc. v. Tyco Health Care Group LP, 592 F.3d 991, 2001 (9th Cir.

24   2010) (competitor’s increase in market share and defendant’s decrease in market share indicated

25   that the competitor was “effectively competing”); see also Areeda & Hovenkamp ¶ 807f (there

26   can be no “dangerous probability” that a defendant will acquire monopoly power when “the

27   challenged conduct has been in place for at least two years and the remaining market remains

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 1   robustly competitive, as evidenced by ongoing entry, profitability of rivals, and stability of their

 2   aggregate market share.”).

 3          663.    The FTC has failed to meet its burden to establish that Qualcomm’s practice of not

 4   offering licenses to sellers of CDMA or “premium” LTE modem chips has caused any harm to

 5   competition.

 6                  4.      The FTC has Failed to Meet its Burden to Show that “Strategic
                            Funds” Provisions in Qualcomm’s Agreements with OEMs have
 7
                            Harmed Competition.
 8          664.    The FTC also asserts that “[o]n some occasions, Qualcomm has induced certain
 9   OEMs to accept its preferred license terms using both the ‘stick’ of threatened [modem chip]
10   supply disruption and the ‘carrot’ of [strategic] funds conditioned on the OEM’s acceptance of
11   Qualcomm’s preferred [SEP licensing] terms.” (Complaint ¶102).
12          665.    The FTC alleges that these strategic funds have helped Qualcomm “close the gap”
13   with OEMs that resist Qualcomm’s preferred terms, helping Qualcomm “to maintain high
14   royalties on handsets that use competitors’ [modem chips].” (Id.).
15          666.    Out of the more than 345 current and past handset licensees to Qualcomm’s
16   cellular patents, Qualcomm has entered into strategic funds that were negotiated
17   contemporaneously with a licensing agreement with only nine counterparties. The strategic funds
18   entered into contemporaneously with license agreements were offered to firms that bought the
19   vast majority of their chips from Qualcomm, including prior to entering into the strategic fund,
20   contrary to the FTC’s theory that they were used to “close the gap” with firms over which
21   Qualcomm possessed little chip leverage.
22          667.    The strategic funds furthered Qualcomm’s legitimate interests in developing the
23   market for new products, products implementing new releases of standards, and other new
24   technologies. Any inference that the purpose or effect of these funds was anticompetitive is not
25   supported by the evidence.
26

27

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 1                  5.      The FTC has Failed to Meet its Burden of Showing that Qualcomm’s
                            Agreements with Apple Harmed Competition.
 2
            668.    The FTC also alleges that a competing chipmaker—specifically Intel—was
 3
     foreclosed from competing to supply five iPad models with its “premium” LTE modem chips by
 4
     agreements that Qualcomm entered into with Apple in 2013. (Complaint ¶¶ 116-31).
 5
            669.    Because “there are well-recognized economic benefits to exclusive dealing
 6
     arrangements,” in order to establish that these agreements have harmed competition, the FTC
 7
     must prove that they foreclosed “competition in a substantial share of the line of commerce
 8
     affected.” Allied Orthopedic Appliances, 592 F.3d at 996–97 (internal quotation marks omitted)
 9
     (quoting Omega Envtl., 127 F.3d at 1162); see also E. Food Servs., Inc. v. Pontifical Catholic
10
     Univ. Servs. Ass’n., Inc., 357 F.3d 1, 8 (1st Cir. 2004) (“[I]t is widely recognized that in many
11
     circumstances [exclusive arrangements] may be highly efficient—to assure supply, price stability,
12
     outlets, investment, best efforts or the like—and pose no competitive threat at all.”); Ryko Mfg.
13
     Co. v. Eden Servs., 823 F.2d 1215, 1234 n.17 (8th Cir. 1987) (explaining that exclusive dealing
14
     contracts can help prevent dealer free-riding on manufacturer-supplied investments to promote
15
     rival's products); Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 83 (3d Cir.
16
     2010) (competition to be an exclusive supplier may constitute “a vital form of rivalry,” which the
17
     antitrust laws should encourage.)
18
            670.    The FTC’s own jurisprudence recognizes that “a proper analysis of exclusive
19
     dealing arrangements should take into account market definition, the amount of foreclosure in the
20
     relevant markets, the duration of the contracts, the extent to which entry is deterred, and the
21
     reasonable justifications, if any, for the exclusivity.” In re Beltone Elecs. Corp., 100 F.T.C. 68,
22
     92 (1982). Similarly, the Supreme Court has stated that “to determine substantiality [of the share
23
     of the alleged market foreclosed by an exclusive dealing arrangement] in a given case, it is
24
     necessary to weigh the probable effect of the contract on the relevant area of effective
25
     competition, taking into account the relative strength of the parties, the proportionate volume of
26
     commerce involved in relation to the total volume of commerce in the relevant market area, and
27
     the probable immediate and future effects which pre-emption of that share of the market might
28
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 1   have on effective competition therein.” Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320,

 2   329 (1961).

 3          671.    To satisfy the requirement that an exclusive dealing arrangement result in

 4   foreclosure of competition in a “substantial share” of the alleged market, the FTC must prove a

 5   foreclosure of a large percentage of the market. See, e.g., Microsoft, 253 F.3d at 70; see also Stop

 6   & Shop Supermarket Co. v. Blue Cross & Blue Shield of R.I., 373 F.3d 57, 68 (1st Cir. 2004)

 7   (“For exclusive dealing, foreclosure levels are unlikely to be of concern where they are less than

 8   30 or 40 percent.”). Here, the evidence shows that the five iPad models represented an

 9   insubstantial aspect of the “premium” LTE modem chip market.
10          672.    The FTC has defined the relevant market with respect to the Apple agreements as

11   “premium” LTE modem chips, but it has failed to establish what share of that market was

12   allegedly foreclosed by the specific iPad products or modem chips from which the FTC claims

13   Intel was foreclosed. As a result, the FTC has not established such a share to be “substantial.” In

14   re Beltone Elecs. Corp., 100 F.T.C. at 92. Even assuming the Qualcomm-Apple agreements

15   completely foreclosed this alleged “premium” LTE segment, that is not a sufficiently substantial

16   share to raise antitrust concerns in light of the evidence showing that Apple’s share of sales of

17   LTE-enabled handsets never exceeded 41% in any year from 2011 to 2017, was less than 25%

18   from 2015 onward, and declined to 16% in 2016. Therefore Apple bought only a commensurate

19   share of LTE modem chips in each year. See Microsoft, 253 F.3d at 70; Stop & Shop, 373 F.3d at
20   68.

21          673.    The fact that many other OEMs were potential and actual purchasers of

22   “premium” LTE modem chips during the same period covered by the Qualcomm-Apple

23   agreements, including Samsung, LG, Sony, Huawei, HTC, OPPO, vivo, Xiaomi, and ZTE,

24   further confirms that there was no substantial foreclosure.

25          674.    The FTC speculated that design wins by Intel on certain iPad products could have

26   led to Apple using Intel modem chips in the iPhone prior to 2016. But the FTC failed to support

27   this speculation with evidence that Intel had the capability to supply modem chips for iPads early

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 1   enough to provide any advantage in developing modem chips for iPhones in 2015 or earlier. To

 2   the contrary, the evidence establishes that Intel did not have the capability to meet Apple’s

 3   technical and scheduling requirements for any iPad or iPhone before the fall of 2016.

 4             675.   The evidence also establishes that Intel was able to develop the capability to

 5   supply modem chips for iPhones in 2016 without first supplying Apple iPads, which is

 6   inconsistent with the FTC’s theory that Intel was foreclosed from iPhones by its inability to

 7   supply chips for iPads.

 8             676.   The evidence also establishes that MediaTek, HiSilicon, and Samsung LSI were

 9   able to develop “premium” LTE modem chips – including LTE modem chips that the FTC
10   considers “premium” – without ever selling to Apple, which is also inconsistent with the FTC’s

11   theory of foreclosure. See W. Parcel Express v. United Parcel Serv. of Am., Inc., 190 F.3d 974,

12   976-77 (9th Cir. 1999) (pointing to increased competition in the relevant market in affirming

13   summary judgment on claim that alleged exclusive dealing contracts created high barriers to

14   entry).

15             677.   Finally, the evidence shows that in 2016, Apple elected to purchase modem chips

16   for the iPhone7 from Intel in addition to Qualcomm, and awarded a substantial portion of its total

17   purchases to Intel. Apple did this even while the alleged exclusivity provisions of the 2013

18   agreement were still in effect.

19             678.   Subsequently, Apple purchased approximately 50% of the modem chips for its
20   iPhones from Intel in 2017, and will purchase 100% of its modem chips for iPhones and iPads

21   from Intel in 2018 and 2019.

22             679.   The evidence further establishes that Intel’s failure to make meaningful sales to

23   customers other than Apple had nothing to do with the challenged agreements between Apple and

24   Qualcomm. Intel was unable to make such sales because Intel was unable to develop an

25   integrated system-on-a-chip (“SoC”) and instead chose to focus on thin modems, which are not

26   purchased in large quantities by any handset supplier other than Apple.

27

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 1          680.    In light of this evidence, the FTC has not established that the Apple agreements

 2   resulted in “substantial foreclosure” that harmed competition in the alleged relevant market for

 3   “premium” LTE modem chips.

 4                                          *               *               *

 5          681.    In sum, the FTC has failed to make the required showing of harm to competition

 6   with respect to any of the challenged conduct.

 7   XI.    THE FTC HAS FAILED TO PROVE ADDITIONAL ELEMENTS OF A SECTION
            2 VIOLATION
 8
            682.    The FTC has further failed to prove that Qualcomm willfully maintained any
 9
     monopoly power in a relevant market. Microsoft, 253 F.3d at 58.
10
            683.    To establish that Qualcomm “willfully” maintained monopoly power, the FTC had
11
     to show that Qualcomm’s conduct was unlawful and exclusionary, as distinguished from growth
12
     or development as a consequence of a superior product, business acumen, or historic accident.
13
     Id.; Trinko, 540 U.S. at 407; Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 458 (1993).
14

15          A.      Declining to Sell CDMA or “Premium” LTE Modem Chips to Unlicensed
                    Companies Is Not Exclusionary Conduct.
16
            684.    The FTC has failed to establish that Qualcomm’s practice of not selling CDMA or
17
     “premium” LTE modem chips to unlicensed OEMs was “exclusionary”—conduct that makes
18
     sense only as a means to exclude CDMA or “premium” LTE competitors on some basis other
19
     than the merits, rather than as legitimate competition. Aerotech Int’l, Inc. v. Honeywell Int’l, Inc.,
20
     836 F.3d 1171, 1184 (9th Cir. 2016) (“[T]here is no duty to deal under the terms and conditions
21
     preferred by a competitor’s rivals; there is only a duty not to refrain from dealing where the only
22
     conceivable rationale or purpose is to sacrifice short-term benefits in order to obtain higher profits
23
     in the long run from the exclusion of competition.” (citation omitted) (internal quotation marks
24
     omitted); see also SOLIDFX, LLC v. Jeppesen Sanderson, Inc., 841 F.3d 827, 841–43 (10th Cir.
25
     2016) (defendant’s decision to refuse to license its copyrighted work was a presumptively lawful
26
     “legitimate business justification,” and not “irrational but for its anticompetitive effect,” thus
27
     exercising that right could not be deemed unlawful), cert. denied, 138 S. Ct. 75 (2017); Novell,
28
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 1   Inc. v. Microsoft Corp., 731 F.3d 1064, 1075 (10th Cir. 2013) (monopolist’s refusal to deal and

 2   even forgoing of short-term profits may be consistent with perfectly legitimate business reasons

 3   and even procompetitive ends, like pursuing “an innovative replacement product”).

 4          685.    The evidence shows that the practice in question reduces transaction costs, aligns

 5   royalties with the value of the licensed patents, minimizes disputes, and is efficient.

 6          686.    The FTC failed to disprove this legitimate, alternative explanation for Qualcomm’s

 7   practice. This dooms the FTC’s claim. Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518,

 8   522–23 (5th Cir. 1999) (only conduct that is “economically irrational” when “examined without

 9   reference to its effects on competitors” provides a “strong inference that it was taken for the
10   purpose of harming competitors rather than otherwise advancing the monopolist’s business”); see

11   also SOLIDFX, LLC, 841 F.3d at 841–43 (no liability for antitrust damages where defendant

12   “established a valid business justification”); Novell, Inc., 731 F.3d at 1075 (requiring “a showing

13   that the monopolist’s refusal to deal was part of a larger anticompetitive enterprise” in addition to

14   proof that the monopolist forsook short-term profits); In re Citric Acid Litig., 191 F.3d 1090,

15   1100–01 (9th Cir. 1999) (“firms must have broad discretion to make decisions based on their

16   judgments of what is best for them and [those] business judgments should not be second-guessed

17   even where the evidence concerning the rationality of the challenged activities might be subject to

18   reasonable dispute”) (citing Reserve Supply Corp. v. Owens-Corning Fiberglas Corp., 971 F.2d

19   37, 49–53 (7th Cir. 1992); Valley Liquors, Inc. v. Renfield Importers, Ltd., 822 F.2d 656, 662 (7th
20   Cir. 1987)).

21          687.    At a minimum, the evidence fails to show that Qualcomm’s decision not to supply

22   modem chips to unlicensed OEMs was only rational as a sacrifice of short-term benefits of such

23   modem chip sales in order to obtain higher profits in the long run by excluding competition in the

24   alleged modem chip markets. See Aerotec Int’l, 836 F.3d at 1184.

25          688.    The “evidence must tend to exclude the possibility” that a firm’s conduct is a

26   legitimate means to compete for business and not an “economically senseless” scheme to harm

27   competition. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 597–98

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 1   (1986) (quoting Monsanto Co v. Spray-Rite Serv. Corp., 465 U.S. 752, 764 (1984)); see also It’s

 2   My Party, Inc. v. Live Nation, Inc., 811 F.3d 676, 685-86 (4th Cir. 2016) (plaintiff failed to rule

 3   out market-based explanations why consumers might prefer defendant’s alleged bundled venue

 4   and promotion services – including superiority of the defendant’s venue). The FTC has not

 5   submitted evidence that excludes the possibility that Qualcomm’s chip supply practice is the

 6   result of a legitimate and justified business decision rather than a scheme to harm competition.

 7   Moreover, the fact that Qualcomm follows the same practice with respect to its supply of

 8   WCDMA and non-“premium” LTE modem chips further confirms that the practice is a legitimate

 9   and justified business decision, and not an “economically senseless” scheme to harm competition.
10          689.    Accordingly, the FTC has not met its burden of showing that Qualcomm’s chip

11   supply practices are exclusionary.

12          B.      Declining to Grant Exhaustive Licenses for the Manufacture of CDMA or
                    “Premium” LTE Modem Chips Is Not Exclusionary Conduct.
13
            690.    The FTC has also failed to meet its burden of proving that Qualcomm’s practice of
14
     not granting licenses to sellers of CDMA or “premium” LTE modem chips constitutes
15
     exclusionary conduct.
16
            691.    The evidence shows instead that Qualcomm’s device-level licensing became the
17
     standard industry practice, and was adopted by Qualcomm, because it reduces transaction costs,
18
     aligns royalties with the value of the licensed patents, and is much more efficient than the multi-
19
     level licensing that would be required if Qualcomm and other innovators licensed other than at
20
     the device level.
21
            692.    The FTC has not ruled out this more plausible explanation for Qualcomm’s
22
     practice of not licensing at the component level, and has failed to establish that Qualcomm’s
23
     licensing practices are “irrational” but for their alleged anticompetitive effect. SOLIDFX, 841
24
     F.3d at 841-43; Novell, 731 F.3d at 1075.
25
            693.    As shown in Part IIIE below, the FTC has also failed to establish that Qualcomm’s
26
     licensing practices breached an antitrust duty to deal.
27

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 1           694.    In sum, the FTC has failed to establish that Qualcomm’s device-level licensing

 2   practices are exclusionary conduct.

 3           C.      Use of Strategic Funds Provisions Did Not Exclude any Sellers of CDMA or
                     “Premium” LTE Modem Chips.
 4
             695.    As discussed in Part IIB(4) above, the FTC also challenges strategic funds
 5
     provisions included in agreements with certain OEMs.
 6
             696.    The evidence shows that the strategic funds, where they were used, furthered
 7
     Qualcomm’s legitimate interests in promoting its brand, and in developing the market for both
 8
     new products and products implementing new releases of standards and other new technologies.
 9
             697.    This evidence is consistent with the explanation that the strategic funds provisions
10
     are legitimate marketing funds rather than exclusionary conduct, and that they are justified by the
11
     value they confer on Qualcomm’s business. Western Parcel Express v. United Parcel Service of
12
     Am., Inc., 190 F.3d 974, 976 (9th Cir. 1999) (volume discounts that did not prevent customers
13
     from using competitors’ services were procompetitive and lawful under antitrust law) (citing
14
     Fedway Assocs. v. U.S. Treasury, 976 F.2d 1416, 1418 (D.C. Cir. 1992)).
15
             698.    In sum, the FTC has failed to establish that the challenged strategic funds
16
     provisions are “irrational” but for their alleged anticompetitive effect. SOLIDFX, 841 F.3d at
17
     841-43; Novell, 731 F.3d at 1075.
18

19           D.      Conditioning Incentive Payments In Order to Enable Customer-Specific
                     Investments to be Made Is Not Exclusionary Conduct.
20
             699.    The FTC also challenges conditional incentive payments in agreements Qualcomm
21
     entered into with Apple in 2013 as unlawful “exclusive dealing” under Section 2. (Complaint ¶¶
22
     116-31).
23
             700.    “Exclusive dealing agreements are often entered into for entirely procompetitive
24
     reasons, and generally pose little threat to competition.” ZF Meritor, LLC v. Eaton Corp., 696
25
     F.3d 254, 270 (3d Cir. 2012) (citation omitted). It “is widely recognized that in many
26
     circumstances [exclusive dealing contracts] may be highly efficient – to assure supply, price
27
     stability, outlets, investment, best efforts or the like – and pose no competitive threat at all.”
28
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 1   Eastern Food Servs., Inc. v. Pontifical Catholic Univ. Servs. Ass’n, Inc., 357 F.3d 1, 8 (1st Cir.

 2   2004); (citing Hovenkamp & Areeda ¶¶ 1810–14). In particular, exclusive dealing contracts can

 3   help promote interbrand competition by preventing downstream “free riding” on investments

 4   made by a manufacturer. Ryko Mfg. Co. v. Eden Servs., 823 F.2d 1215, 1234 n.17 (8th Cir. 1987);

 5   see also Areeda & Hovenkamp, ¶¶ 1812a, 1814a.

 6          701.    The FTC’s own jurisprudence recognizes that “a proper analysis of exclusive

 7   dealing arrangements should take into account market definition, the amount of foreclosure in the

 8   relevant markets, the duration of the contracts, the extent to which entry is deterred, and the

 9   reasonable justifications, if any, for the exclusivity.” In re Beltone Elecs. Corp., 100 F.T.C. 68,
10   92 (1982) (emphasis added).

11          702.    The evidence shows that Qualcomm faced significant risks in entering into the

12   agreements with Apple. The risks included: (i) Apple’s demand for large incentive payments to

13   be made early in the engagement, ostensibly to offset its costs in transitioning from its previous

14   exclusive supplier of modem chips; (ii) the need for Qualcomm to make significant relationship-

15   specific R&D investments in its thin modem line, including costs associated with maintaining a

16   thin modem line that would otherwise have been discontinued and of customizing those modems

17   for Apple; (iii) the need for Qualcomm to incur these R&D investments in advance of selling any

18   modem chips to Apple; (iv) the concentration of thin modem sales in Apple—meaning there were

19   limited anticipated opportunities to sell the thin modems customized for Apple to other OEMs;
20   and (v) the need to enter into long term volume purchase commitments with outside foundries,

21   which would have to be compensated even if Apple later chose to purchase from Qualcomm’s

22   competitors or not to proceed with the project at all.

23          703.    The challenged incentive payments in the Apple Agreements were negotiated to

24   mitigate these risks and because Apple refused to negotiate volume assurances to address them.

25          704.    The FTC does not dispute that Qualcomm had a legitimate need to protect its

26   relationship-specific investment. The FTC speculates instead that the challenged provisions may

27   not have been necessary to protect that investment, and that the parties could have used a less

28
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 1   restrictive alternative to mitigate Qualcomm’s risks. Such speculation does not suffice to satisfy

 2   the FTC’s burden of showing that the provisions are unlawful exclusionary conduct, particularly

 3   in light of the evidence showing that Apple not only rejected alternative means of protecting

 4   Qualcomm’s investment, such as volume commitments, but also demanded $1 billion from

 5   Qualcomm, to defray Apple’s own relationship-specific investments in transitioning to

 6   Qualcomm as its sole supplier. The rule of reason does not require that a defendant use “the least

 7   restrictive means” to achieve a legitimate end. See Am. Motor Inns v. Holiday Inns, Inc., 521

 8   F.2d 1230, 1248-50 (3rd Cir. 1975) (“Although relevant to ascertaining the reasonableness of the

 9   [exclusivity] clause, it is not determinative that the Holidex system could, as the district court
10   found, be protected adequately’ by less restrictive alternatives. In a rule of reason case, the test is

11   not whether the defendant deployed the least restrictive alternative. Rather the issue is whether

12   the restriction actually implemented is ‘fairly necessary’ in the circumstances of the particular

13   case, or the whether the restriction ‘exceed[s] the outer limits of restrain reasonably necessary to

14   protect the defendant.’”).

15          705.    The FTC also ignores the procompetitive benefits Apple enjoyed under the Apple

16   Agreements, including reduction of expenses, and assurance of a stable and continuous modem

17   chip supply from Qualcomm to meet Apple’s unique and demanding needs. See ZF Meritor, LLC

18   v. Eaton Corp., 696 F.3d 254, 270 (3d Cir. 2012).

19          706.    In sum, the FTC has failed to establish that the challenged provisions in the Apple
20   agreements are “irrational” but for their alleged anticompetitive effect. SOLIDFX, 841 F.3d at

21   841-43; Novell, 731 F.3d at 1075.

22          E.      On the Record in this Case, linkLine Forecloses the Argument that
                    Qualcomm’s Chip Supply Practice, Alone or in Combination with Other
23
                    Conduct, Constitutes Exclusionary Conduct.
24          707.    In addition to the FTC’s failure to establish that any of the four types of conduct it
25   challenged constitutes exclusionary conduct, the FTC failed to overcome the hurdle posed by the
26   Supreme Court’s decision in linkLine. Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S.
27   438, 450 (2009). On Qualcomm’s Motion to Dismiss, this Court ruled that linkLine did not
28
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 1   foreclose the FTC’s theory that Qualcomm maintained its monopoly power by charging

 2   unreasonably high royalties and unreasonably low modem chip prices, because the FTC had

 3   adequately alleged that Qualcomm violated a duty to deal in refusing to license its FRAND-

 4   encumbered SEPs to its modem chips competitors. (Decision at 36-38.) This Court further ruled

 5   that the FTC had adequately pleaded an “overarching anticompetitive scheme.” (Id.)

 6          708.    The record in this case, however, does not establish that Qualcomm had an

 7   antitrust duty to deal with its competitors to license its SEPs on FRAND terms to modem chip

 8   rivals to sell CDMA or “premium” LTE modem chips. Nor did it establish the existence of any

 9   “overarching anticompetitive scheme.”
10                  1.      The FTC Has Not Established an Antitrust Duty to Deal.
11          709.    The record demonstrates that Qualcomm did not have a contractual obligation to
12   license at the component level under the IPR Policy of the European Telecommunications
13   Standards Institute (“ETSI”), the leading SDO to which Qualcomm provided licensing
14   declarations. This is confirmed by decades of industry practice and understanding of licensing
15   obligations under the ETSI IPR Policy, and by the plain language of the ETSI IPR Policy and
16   Qualcomm’s licensing declarations under that Policy.
17          710.    Qualcomm has preserved for appeal its challenge to the Court’s determination that
18   Qualcomm has a contractual duty to license at the component level under the IPR policies of two
19   other SDOs, the Telecommunications Industry Association (“TIA”) and the Alliance for
20   Telecommunications Industry Solutions (“ATIS”).
21          711.    Even if a contractual obligation had existed under the ETSI IPR Policy or under
22   the IPR policies of other SDOs, including TIA and ATIS, not every voluntary agreement or
23   contractual obligation creates an antitrust duty to deal. See In re Adderall XR Antitrust Litig., 754
24   F.3d 128, 135 (2d Cir. 2014) (affirming dismissal of claim that patent holder’s breach of supply
25   agreement with generic manufacturers breached an antitrust duty to deal, as “[t]he mere existence
26   of a contractual duty to supply goods does not by itself give rise to an antitrust ‘duty to deal’”);
27   SOLIDFX, 841 F.3d at 843 (defendant’s breach of agreement to grant access to toolkit for
28
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 1   creation of iPad app did not give rise to liability under antitrust law); Intergraph, 195 F.3d 1346,

 2   1354–55 (Fed. Cir. 1999) (Intel’s withdrawal of special benefits it had previously provided to

 3   Intergraph, including pursuant to contract, was not an antitrust violation, as “the Sherman Act

 4   does not convert all harsh commercial actions into antitrust violations. Unilateral conduct that

 5   may adversely affect another's business situation, but is not intended to monopolize that business,

 6   does not violate the Sherman Act.”). Even a duty imposed by federal regulation, standing alone,

 7   does not suffice to create an antitrust duty to deal. linkLine, 555 U.S. at 447-48 (duty to provide

 8   interconnection services arising under FCC regulations did not give rise to antitrust duty to deal).

 9          712.    Although the Supreme Court in Aspen Skiing recognized that an antitrust duty to
10   deal could arise when a defendant terminates a long-standing, voluntary and procompetitive

11   course of conduct, the Court has subsequently explained that the Aspen antitrust duty to deal is

12   “at or near the outer boundary of § 2 liability”; and as such, the Supreme Court has “been very

13   cautious in recognizing … exceptions” to the general right to refuse to deal with competitors (and

14   has cautioned other courts about usurping that right), due in part to the “uncertain virtue of forced

15   sharing.” Trinko, 540 U.S. at 408–09 (2004) (emphasis added).

16          713.    An antitrust duty to deal only arises under Aspen Skiing when the plaintiff proves

17   that the defendant made “a decision to alter a voluntary course of dealing together with evidence

18   of anticompetitive malice,” SmithKlineBeecham Corp. v. Abbott Labs., No. C 07-5702 CW, 2014

19   WL 6664226, at *4 (N.D. Cal. Nov. 24, 2014), and that recognition of an antitrust duty to deal
20   will not raise “concern[s] about the administrability of a judicial remedy,” MetroNet Servs. Corp.

21   v. Qwest Corp., 383 F.3d 1124, 1133 (9th Cir. 2004).

22          714.    Those circumstances that would give rise to an antitrust duty to deal under Aspen

23   Skiing are not present here.

24          715.    First, to establish a “voluntary course of dealing,” the FTC would have to show

25   that Qualcomm has engaged in an actual course of dealing of exhaustive licensing to CDMA or

26   “premium” LTE modem chip makers. Neither Qualcomm’s participation in standard setting, nor

27   Qualcomm’s contribution of technologies to the standard and its declarations to ETSI, TIA,

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 1   ATIS, or any other SDO constitute a “voluntary course of dealing” that involves offering

 2   exhaustive licenses of its cellular SEPs to such rival chipmakers. Even if Qualcomm’s

 3   declarations had included a commitment to offer to license such rival chipmakers to sell CDMA

 4   or “premium” LTE modem chips, a commitment to make licensing offers is not the same thing as

 5   actually entering into exhaustive license agreements with chip makers. See Adderall XR, 754 F.3d

 6   at 135 (concluding that settlement agreement as a contract to supply goods does not give rise to

 7   an antitrust duty to deal because “[the defendant] did not terminate any prior course of dealing—

 8   let alone a ‘presumably profitable’ one”). It is undisputed that Qualcomm never licensed CDMA

 9   or “premium” LTE modem chip competitors exhaustively at the modem chip level, and it
10   therefore cannot be shown to have discontinued a voluntary and profitable course of conduct that

11   it never engaged in.

12          716.    Second, the FTC must show evidence that Qualcomm altered its supposed

13   preexisting voluntary course of dealing with rival chipmakers for reasons of “anticompetitive

14   malice.” SmithKlineBeecham Corp., 2014 WL 6664226, at *4. The evidence fails to show this.

15   Qualcomm cannot be found to have acted for reasons of “anticompetitive malice” by adopting a

16   practice followed by the entire industry, including SEP holders that are not competitors in the

17   alleged relevant markets.

18          717.    Third, finding that Qualcomm has an antitrust duty to engage in component-level

19   licensing would raise the “judicial administrability” concerns noted by the Supreme Court in
20   Trinko that such a duty would require “antitrust courts to act as central planners, identifying the

21   proper price, quantity, and other terms of dealing-a role for which they are ill suited.” Trinko, 549

22   U.S. at 408; see also MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1133 (9th Cir. 2004).

23   This is because if Qualcomm were found to have an antitrust duty to license at the component

24   level, the result would be a multi-level licensing regime that would give rise to endless disputes

25   about which entities should be paying what proportion of the royalties on any given product at

26   any given time. This would be different in kind from the role courts play now in determining

27   reasonable FRAND rates; it would involve not only determinations of those rates, but also

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 1   complicated determinations of the proportion of such rates that should be paid by licensees at

 2   different levels of the supply chain. This is the sort of undertaking that Trinko cautions courts

 3   should avoid.

 4           718.    In sum, the FTC has not established that Qualcomm’s refusal to license its rival

 5   sellers of CDMA or “premium” LTE modem chips breached any antitrust duty to deal.

 6                   2.     The FTC has not Established that Qualcomm’s “Course of Conduct,”
                            Considered Together, Constitutes Unlawful Exclusionary Conduct.
 7
             719.    Having failed to establish that either Qualcomm’s chip supply practices, its device-
 8
     level licensing practices, its strategic funds provisions, or its agreements with Apple
 9
     independently constitutes unlawful exclusionary conduct, the FTC cannot combine them to
10
     sustain its claim.
11
             720.    Separate claims that do not independently rise to the level of a Sherman Act
12
     violation on their own cannot be analyzed together to create an antitrust violation. Intergraph
13
     Corp. v. Intel Corp., 195 F.3d 1346, 1366-67 (Fed. Cir. 1999) (rejecting plaintiff’s contention that
14
     its “various theories of antitrust liability” should “not be viewed separately but” instead “taken
15
     together,” and that “[e]ach legal theory” must instead be separately examined for “sufficiency and
16
     applicability”). For instance, in City of Groton v. Conn. Light & Power Co., 662 F.2d 921 (2d
17
     Cir. 1981), the Second Circuit held that multiple antitrust claims, each of which amounted to just
18
     a fraction of a violation, cannot add up to a whole violation of Section 2. 662 F.2d at 928–29
19
     (“Even though many of the issues the municipalities raise are interrelated and interdependent,
20
     however, we must … analyze the various issues individually. Moreover, we reject the notion that
21
     if there is a fraction of validity to each of the basic claims and the sum of the fractions is one or
22
     more, the plaintiffs have proved a violation of section 1 or section 2 of the Sherman Act.”).
23
             721.    Similarly, the Federal Circuit in Intergraph required analysis of the validity of
24
     each antitrust claim in that case separately. 195 F.3d at 1366–67. Specifically discussing
25
     Continental Ore’s admonition to consider all of the facts in an antitrust claim together, the
26
     Federal Circuit explained that in Continental Ore the Supreme Court held only that the “factual
27
     components of a case should be viewed together, not the pieces of the legal theory.” Id. at 1366
28
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 1   (emphasis added) citing Continental Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690,

 2   698–99 (1962). Thus, “Continental Ore did not hold … that the degrees of support for each legal

 3   theory should be added up. Each legal theory must be examined for its sufficiency and

 4   applicability, on the entirety of the relevant facts.” Id. at 1366–67.

 5          722.    The Supreme Court applied this rule in linkLine, refusing to combine a fraction of

 6   a duty-to-deal claim and a fraction of a predatory-pricing claim (i.e., independently meritless

 7   claims) to create an antitrust violation in that case. linkLine, 555 U.S. at 450 (citing Trinko, 540

 8   U.S. at 410). Specifically, the Supreme Court in linkLine held that the alleged high wholesale and

 9   low retail prices could not be evaluated together under a “monopoly broth theory,” despite their
10   necessary connection in the plaintiff’s theory of harm. 555 U.S. at 452. Not only was there no

11   monopoly broth exception in linkLine, but the Supreme Court held that the plaintiff’s “price-

12   squeeze claim, looking to the relation between retail and wholesale prices, [was] nothing more

13   than an amalgamation of a meritless claim at the retail level and a meritless claim at the wholesale

14   level.” Id. The Supreme Court held that if neither of these pricing decisions was unlawful on its

15   own, “then a firm is certainly not required to price both of these services in a manner that

16   preserves its rivals’ profit margins.” Id. Thus, the Court’s reasoning relied on the assumption

17   that two independently lawful acts (or meritless claims) could not combine for an antitrust

18   violation.

19          723.    The FTC’s theory here is very similar to the theory in linkLine. The FTC has not
20   alleged that the alleged lowered price of modem chips constitutes predatory pricing. And it has

21   not established Qualcomm’s chip supply practice or device-level licensing breached any antitrust

22   duty to deal as explained above. As a result, it has failed to establish unlawful exclusionary

23   conduct sufficient to sustain a claim under Section 2.

24          724.    In sum, the FTC has failed to establish that Qualcomm’s “course of conduct,”

25   considered as a whole, constitutes unlawful exclusionary conduct that has caused any harm to

26   competition in the alleged relevant markets.

27

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 1   XII.    THE FTC HAS NOT PROVED THE ELEMENTS OF A SECTION 1 VIOLATION
 2           A.      The FTC has not Proved a Contract, Combination, or Conspiracy Intended to
                     Restrain or Harm Trade.
 3
             725.    The FTC challenges under Section 1 the terms of Qualcomm’s license agreements
 4
     with OEMs, as well as certain other agreements including baseband processor supply agreements,
 5
     strategic development agreements, and alleged “exclusive dealing” agreements with Apple.
 6
     However, the FTC has not provided direct or circumstantial evidence that reasonably tends to
 7
     prove that Qualcomm and the OEMs “had a conscious commitment to a common scheme
 8
     designed to achieve an unlawful objective.” Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S.
 9
     752, 768 (1984) (quoting Edward J. Sweeney & Sons, Inc. v. Texaco, Inc., 637 F.2d 105, 111 (3d
10
     Cir. 1980). The fact that OEMs agreed to license agreements does not mean that “they agreed to
11
     use” the terms “to restrain trade,” particularly trade in the alleged chip markets the FTC relies
12
     upon in which those OEMs did not participate. Toscano v. PGA, 258 F.3d 978, 984 (9th Cir.
13
     2001) (sponsors entering into PGA sponsorship agreements committing to operate tournaments in
14
     accordance with PGA rules showed “only that the local sponsors accepted the fact that the
15
     tournaments would be operated according” to those rules and regulations, “not that they agreed to
16
     use those rules to restrain trade”).
17
             726.    In some circumstances a plaintiff may also establish the first element of a Section
18
     1 claim – i.e., concerted action - by showing that a defendant with market power coerced a
19
     counterparty to enter into an agreement that constitutes an unreasonable restraint on trade. See
20
     Cargill Inc. v. Budine, No. CV-F-07-349-LJO-SMS, 2007 WL 4207908, at *3 (E.D. Cal. Nov.
21
     27, 2007) (holding that a contract between a buyer and seller satisfied the concerted action
22
     element of Section 1 of the Sherman Act where the seller coerced the buyer's acquiescence in a
23
     tying arrangement imposed by the seller) (citing Systemcare, Inc. v. Wang Laboratories Corp.,
24
     117 F.3d 1137, 1142-43 (10th Cir. 1997)). As discussed in Part IIB2(a) above, the FTC has not
25
     established that any OEMs were coerced to enter license agreements with Qualcomm.
26
             727.    The FTC has failed to show that Qualcomm possesses market power in a properly
27
     defined relevant market, that it coerced a counterparty to enter into a license agreement, or that
28
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 1   any license agreement unreasonably restrained trade – i.e., caused an adverse competitive effect

 2   (see Part II supra, and Part IV.B infra). As such, the FTC has failed to prove the first element of

 3   a Section 1 claim based on the license agreements with device manufacturers. Monsanto, 465

 4   U.S. at 768.

 5          728.      The same is true of Qualcomm’s agreements with Apple. The FTC has not

 6   provided direct or circumstantial evidence that reasonably tends to prove that Qualcomm and

 7   Apple “had a conscious commitment to a common scheme designed to” foreclose competition in

 8   the alleged modem chip markets, or that Apple was coerced to enter the agreements, and those

 9   agreements cannot support a claim under Section 1. Monsanto, 465 U.S. at 768.
10          B.        The FTC has not Proved that the License Agreements with OEMs or
                      Qualcomm’s Agreements with Apple were Unreasonable Restraints of Trade.
11
            729.      For the reasons set forth in Part IIB above, the FTC has failed to establish that
12
     Qualcomm’s license agreements with OEMs or its agreements with Apple have caused any harm
13
     to competition, and they therefore do not constitute unreasonable restraints of trade under Section
14
     1 of the Sherman Act. Nat’l Collegiate Athletic Ass’n v. Board of Regents, 468 U.S. 85, 104
15
     (1984) (the criterion to be used in determining an unreasonable restraint on trade “is its impact on
16
     competition.”)
17

18   XIII. THE FTC HAS NOT ESTABLISHED THE REQUIREMENTS OF A CLAIM
           UNDER THE “UNFAIR METHODS OF COMPETITION” PRONG OF SECTION
19         5

20          730.      The FTC has also failed to offer proof sufficient to establish a claim under the

21   “unfair methods of competition” prong of Section 5 of the FTC Act.

22          731.      To prevail on a standalone alone claim under Section 5, the FTC must meet its

23   burden of showing harm to competition. See Boise Cascade Corp. v. FTC, 637 F.2d 573, 579,

24   581 (9th Cir. 1980) (standalone claim under Section 5 failed where there was insufficient

25   evidence to support a finding of anticompetitive effect). It has not done so. See Part IIB supra.

26          732.      In addition, the FTC must prove that the challenged conduct is “collusive,

27   coercive, predatory, or exclusionary,” or that it has an “anticompetitive purpose or cannot be

28   supported by an independent legitimate reason.” E.I. du Pont de Nemours & Co. v. FTC, 729
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 1   F.2d 128, 140 (2d Cir. 1984). For the reasons explained above, the FTC has failed to put forward

 2   evidence sufficient to establish that Qualcomm’s conduct was “collusive, coercive, predatory, or

 3   exclusionary,” or that it lacked legitimate reasons and so must have had an anticompetitive

 4   purpose.

 5          733.    In addition, when the FTC seeks a permanent injunction in federal court under

 6   Section 13(b) and is not seeking a preliminary injunction, it lacks the authority to expand the

 7   boundaries of prohibited conduct under Section 5 beyond those that are already well-established.

 8   See S. Rep. 93-151, at 30-31 (1973) (Congress authorized the FTC to seek a permanent injunction

 9   when a court is reluctant to grant a temporary injunction because it cannot be assured of an early
10   hearing on the merits, as well as in routine cases “in which it does not desire to further expand

11   upon the prohibitions of the [FTC Act]” through administrative adjudication).

12          734.    The FTC, however, has failed to establish that there has been harm to competition

13   as a result of any of the challenged conduct, or that the challenged conduct violates established

14   standards of competition law, and the FTC has therefore failed to prove a standalone claim under

15   Section 5 of the FTC Act. See Parts II-IV, supra.

16   XIV. THE FTC HAS FAILED TO ESTABLISH THAT IT IS ENTITLED TO
          INJUNCTIVE RELIEF
17
            735.    Section 13(b) authorizes the court to enter a permanent injunction only “in proper
18
     cases … and after proper proof.” 15 U.S.C. § 53(b).
19
            736.    Permanent injunctions cannot be awarded under Section 13(b) based on a past
20
     antitrust law violation. See 15 U.S.C. § 53(b)(1) (to obtain injunction, FTC must prove that
21
     defendant “is violating, or is about to violate” the FTC Act); FTC v. Evans Prods. Co., 775 F.2d
22
     1084, 1087 (9th Cir. 1985) (“past wrongs are not enough for the grant of an injunction . . . . an
23
     injunction will issue only if the wrongs are ongoing or likely to recur”); see also FTC v. AbbVie
24
     Inc., No. CV 14-5151, 2018 WL 3830533, at *35 (E.D. Pa. June 29, 2018) (FTC must prove that
25
     defendant “is currently violating antitrust laws or is about to violate antitrust laws”); see also
26
     TRW, Inc. v. FTC, 647 F.2d 942, 954 (9th Cir. 1981) (reversing a cease and desist order because
27
     the FTC had not proved a “cognizable danger of recurrent violation” to justify prospective relief)
28
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 1   (citing United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953)). The FTC must prove that

 2   prospective relief is truly necessary—either to stop an ongoing violation of the antitrust laws or to

 3   prevent a likely future violation of the antitrust laws.

 4          737.    Accordingly, in considering a request for a permanent injunction pursuant to

 5   Section 13(b), the Court cannot rely upon “stale” evidence concerning past conduct, but must

 6   determine if the FTC has adduced proof that Qualcomm “is currently violating antitrust laws or is

 7   about to violate antitrust laws.” FTC v. AbbVie Inc., 2018 WL 3830533, at *35 (E.D. Pa. June 29,

 8   2018); FTC v. Merch. Servs. Direct, LLC, No. 13-CV-079 TOR, 2013 WL 4094394, at *3

 9   (E.D. Wash. Aug. 13, 2013) (denying preliminary injunction after excising “stale” evidence and
10   finding little to suggest that violations were likely to recur); see also FTC v. Amazon.com, Inc.,

11   No. C14-1038-JCC, 2016 WL 10654030, at *4-6 (W.D. Wash. July 22, 2016) (denying

12   permanent injunction where a violation of FTC Act was identified as still occurring but harm was

13   not likely to continue into future and so violation unlikely to recur).

14          738.    The FTC must prove each injunction it seeks is narrowly tailored to the specific

15   conduct and the specific antitrust harms at issue in the case, and should not interfere with

16   legitimate business conduct. See United States v. Grinnell Corp., 384 U.S. 563, 577–80 (1966)

17   (noting the parties’ objections to what they had described as “broad and generalized” equitable

18   relief, and “suggest[ing]” to the lower court on remand to narrowly tailor its injunction to “the

19   precise practices found to have violated the [Sherman] Act”); see also Lamb-Weston, Inc. v.
20   McCain Foods, Ltd., 941 F.2d 970, 974 (9th Cir. 1991).

21          739.    In accordance with the text of the statute and traditional equitable factors, the FTC

22   cannot obtain an injunction without proving that the balance of hardships warrants equitable

23   relief, and the public interest would not be disserved by the permanent injunction. See 15 U.S.C.

24   § 53(b).

25          740.    When an injunction would be contrary to the public interest in national security,

26   that factor can outweigh all other factors, and the Court should refuse an injunction even if the

27   plaintiff has otherwise proved future harm. Winter v. N.R.D.C., 555 U.S. 7, 23–25 (2008).

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 1             741.   Furthermore, though Section 13(b) relieves the FTC of having to prove irreparable

 2   injury to obtain a preliminary injunction, see, e.g., FTC v. Affordable Media, 179 F.3d 1228, 1233

 3   (9th Cir. 1999), Section 13(b) does not similarly relieve the FTC of having to prove irreparable

 4   injury to obtain a permanent injunction. To obtain an injunction for a statutory violation, a

 5   plaintiff must prove all traditional equitable factors, including irreparable injury, unless the

 6   statute explicitly says otherwise. See eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391–92

 7   (2006).

 8             742.   The FTC is not entitled to the injunctive relief it has requested. First, the FTC has

 9   failed to prove that each injunction it seeks (including prohibiting Qualcomm’s practice of selling
10   chips only to licensed OEMs, requiring licensing SEPs to competitors, prohibiting strategic funds,

11   and prohibiting “exclusive dealing” provisions in its chip supply agreements) is necessary to

12   remedy current or future anticompetitive effects in the CDMA and “premium” LTE markets, or

13   that there is a present need to enjoin exclusivity arrangements in the future based on conduct that

14   is ongoing or likely to recur. Second, the FTC has failed to prove that each injunction it seeks is

15   sufficiently narrowly tailored and specific with respect to the alleged bases for liability in this

16   case, to the markets at issue, and to the alleged harms. Third, the FTC has failed to establish that

17   the requested relief is warranted under applicable equitable factors, including that it would serve

18   the public interest.

19             A.     The FTC Has Not Demonstrated that an Injunction Is Needed To Remedy
                      Ongoing Anticompetitive Harm.
20

21                    1.     The FTC has failed to prove any injunctive relief is needed under
                             relevant case law.
22
               743.   Injunctions are forward-looking remedies. Thus, the FTC is required to show that
23
     a permanent injunction is necessary—because harm to competition is ongoing or likely to recur
24
     (in which case the injunction will stop it). See FTC v. Evans Prods., 775 F.2d at 1087 (“As a
25
     general rule, ‘[p]ast wrongs are not enough for the grant of an injunction’; an injunction will issue
26
     only if the wrongs are ongoing or likely to recur.”); see also TRW, Inc. v. FTC, 647 F.2d at 954 (it
27
     is the FTC’s burden to demonstrate the wrongs are ongoing or likely to recur); FTC v.
28
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 1   DiscountMetalBrokers, Inc., 2017 WL 4442998, at *5–6 (C.D. Cal. Oct. 4, 2017) (same); FTC v.

 2   Kutzner, 2017 WL 4685065, at *2 (C.D. Cal. Sept. 21, 2017) (same).

 3          744.    It is not enough for the FTC to prove that Qualcomm’s conduct remains

 4   unchanged or is likely to recur in the future, for in an antitrust case, the question is whether a

 5   violation is likely to recur—and whether conduct is violative of the antitrust laws depends on the

 6   context and market conditions; the same conduct may be violative under certain circumstances

 7   and benign under different circumstances. In other words, evidence establishing that conduct had

 8   anticompetitive effects in the past does not necessarily establish that the same conduct presently

 9   has or will have anticompetitive effects in the future, if relevant market conditions have changed.
10   In this case, therefore, the FTC must prove not only that Qualcomm committed a violation of the

11   antitrust laws and that violation is continuing or likely to recur, but also that Qualcomm has or

12   will have market power, such that the challenged conduct underlying the violation will exclude

13   competitors, harm competition, and thus violate the antitrust laws in the future. See FTC v.

14   AbbVie, 2018 WL 3830533, at *35 (shrunken market share and impending patent expiration

15   weigh against conclusion that violation is likely to recur).

16          745.    All of the FTC’s evidence concerns competition in the CDMA or “premium” LTE

17   modem chip markets in periods ending in late 2016, over two years ago. That evidence is stale,

18   does not concern current or future market conditions, and therefore does not meet the FTC’s

19   burden to obtain a permanent injunction. See Apple, Inc. v. Samsung Elecs. Co., 2012 WL
20   2527044, at *3 (N.D. Cal. July 2, 2012) (J. Koh); see also Mercexchange, LLC v. eBay, Inc., 467

21   F. Supp. 2d 608, 611 (E.D. Va. 2006).

22          746.    The FTC’s principal expert on market conditions, for example, did not examine

23   any evidence of market conditions in the CDMA or “premium” LTE markets after 2016, and

24   offered no opinion concerning whether Qualcomm has had monopoly power in the relevant

25   markets at any time since 2016, except as to opine that Qualcomm’s alleged market power has

26   declined in 2017.

27

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 1          747.    The evidence of market conditions in the CDMA or “premium” LTE markets since

 2   2016 submitted by Qualcomm shows competitive conditions that are inconsistent with a

 3   conclusion that Qualcomm currently has entrenched monopoly power in the alleged relevant

 4   markets.

 5          748.    Major OEMs have substantially reduced their purchases or even ceased purchasing

 6   modem chips from Qualcomm in the CDMA and “premium” LTE markets alleged by the FTC.

 7   Apple, for example, now sources modem chips exclusively from Intel, and not from Qualcomm,

 8   for all of its 2018 iPhone models. Qualcomm lacks market power and cannot exercise monopoly

 9   leverage to enter supra-FRAND agreements, including as evidenced by the more than 30 5G
10   agreements that Qualcomm has recently entered with OEMs.

11                  2.      The FTC has failed to prove any of its specific requested relief is
                            needed to solve ongoing anticompetitive harms.
12
            749.    The FTC has not established that there is any current need for an injunction
13
     prohibiting Qualcomm “from conditioning the supply of modem chips on a customer’s patent-
14
     license status.” (Joint Pretrial Statement at 2; FTC Interrogatory Response at 5.) Under the
15
     FTC’s theory, this policy of not selling products to unlicensed customers is not anticompetitive
16
     unless Qualcomm has sufficient market power to “leverage” OEMs in license negotiations. But
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     the FTC has failed to prove Qualcomm currently has such power, and current evidence
18
     demonstrates that it does not.
19
            750.    The FTC has failed to prove that there is any current need for an order requiring
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     “Qualcomm to make exhaustive SEP licenses available to modem-chip suppliers on fair,
21
     reasonable, and non-discriminatory terms and to submit, as necessary, to arbitral or judicial
22
     dispute resolution to determine such terms.” (Joint Pretrial Statement at 2-3; FTC Interrogatory
23
     Response at 6.) Again, given the FTC’s failure to prove Qualcomm currently exercises monopoly
24
     power such that the combination of its monopoly leverage over OEMs and refusal to license for
25
     the manufacture of components creates a “tax” on competitor margins—and the fact that current
26
     market evidence demonstrates the opposite—there is no current anticompetitive harm caused by
27
     these practices that could justify these injunctions.
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 1          751.    For much the same reason, the FTC has failed to prove that an injunction

 2   prohibiting Qualcomm from using incentive payments (Joint Pretrial Statement at 2-3; FTC

 3   Interrogatory Response at 6) in licensing negotiations is needed to remedy present or ongoing

 4   anticompetitive harms in the CDMA or “premium” LTE markets.

 5          752.    Nor has the FTC proven that an injunction prohibiting Qualcomm “from entering

 6   express or de facto exclusive-dealing agreements for the supply of modem chips” is necessary

 7   based on current conditions in the CDMA or “premium” LTE markets. (Joint Pretrial Statement

 8   at 2-3; FTC Interrogatory Response at 6.) Any alleged exclusive dealing with Apple has ceased,

 9   and the FTC has presented no evidence it will likely recur. The alleged effects of the purported
10   Apple-exclusive agreements—i.e., foreclosure of “premium” LTE modem chip supply

11   competitors to sell to Apple—no longer exist because Apple now purchases Intel chips and began

12   to do so even before Qualcomm’s agreements with Apple ended in 2016.

13          753.    And the FTC has failed to demonstrate any need for this Court to enjoin

14   Qualcomm “from engaging in similar and related conduct” to the conduct that the FTC alleges is

15   anticompetitive (FTC Interrogatory Response at 5 (citing Complaint)), or for this Court to

16   “[r]equire Qualcomm to submit to compliance and monitoring procedures.” (Joint Pretrial

17   Statement at 3.) Of course, the FTC must put on evidence both that specific conduct has caused

18   specific anticompetitive harms, and that those harms persist such that an injunction is required.

19   But it has failed to make those showings.
20          B.      In the Alternative, the FTC’s Requested Relief is not Narrowly Tailored to
                    the Markets or Harms at Issue in this Case.
21

22                  1.     Any relief requested by the FTC must be narrowly tailored.
            754.    Permanent injunctions must be “tailored to remedy the specific harm alleged.”
23
     Lamb-Weston, Inc. v. McCain Foods, Ltd., 941 F.2d 970, 974 (9th Cir. 1991) (citing Aviation
24
     Consumer Action Project v. Washburn, 535 F.2d 101, 108 (D.C. Cir. 1976)). In other words, an
25
     injunction cannot “enjoin all possible breaches of the law.” Price v. City of Stockton, 390 F.3d
26
     1105, 1117 (9th Cir. 2004) (citing Zepeda v. INS, 753 F.2d 719, 728 n.90 (9th Cir. 1983)). It
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 1   must be tailored to the precise conduct that has “been found to violate [the] law.” Skydive

 2   Arizona, Inc. v. Quattrocchi, 673 F.3d 1105, 1116 (9th Cir. 2012).

 3          755.    Antitrust remedies may not enjoin more conduct than is necessary to remedy the

 4   anticompetitive harms. The FTC must “establish that [the scope of the equitable relief sought] is

 5   necessary to preserve effective relief for injured consumers.” Merch. Servs. Direct, 2013 WL

 6   4094394, at *4. Facebook, Inc. v. Power Ventures, Inc., 252 F. Supp. 3d 765, 784–85 (N.D. Cal.

 7   2017) (Koh, J.) (injunctions must be “narrowly tailored to correct the legal violations at issue and

 8   [should not be] overbroad.”).

 9          756.    Here, the FTC’s requested relief is overbroad and unnecessary to correct the
10   anticompetitive harms it has alleged. The FTC’s proposed injunctions are overbroad because

11   they are not limited to the alleged relevant markets the FTC’s experts analyzed.

12          757.    Specifically, the FTC’s theory is that Qualcomm has used its alleged monopoly

13   power in the alleged relevant markets for CDMA and “premium” LTE modem chips to obtain

14   royalty rates that contain a supra-FRAND component. But Qualcomm’s license agreements are

15   standard-specific. Accordingly, any monopoly power Qualcomm may have had in the alleged

16   markets for CDMA and “premium” LTE modem chips could not have been used to coerce supra-

17   FRAND royalties in license agreements for other standardized technologies, such as WCDMA.

18          758.    Moreover, the FTC does not allege that Qualcomm has monopoly power with

19   respect to WCDMA modem chips, or in any modem chip markets other than in the alleged
20   relevant markets for CDMA and “premium” LTE modem chips.

21          759.    Indeed, the FTC has put on no evidence about the market for WCDMA modem

22   chips (a much larger segment than CDMA modem chips) or non-“premium” LTE modem chips

23   (also a much larger segment than “premium,” as the FTC has defined it).

24          760.    Without any evidence, or even allegations, that this relief extending beyond the

25   alleged relevant markets is necessary to address the anticompetitive harms alleged by the FTC,

26   this Court cannot issue an injunction against Qualcomm’s conduct in those unaddressed markets.

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 1          761.    Such an overbroad injunction would go beyond the “specific harm alleged,” and

 2   would be unnecessarily burdensome on Qualcomm given the evidence (and lack of evidence)

 3   showing harm to competition. Lamb-Weston, 941 F.2d at 974; Grinnell, 384 U.S. at 579–80; see

 4   also Cramer Prod., Inc. v. Int’l Comfort Prod., Ltd., 931 F.2d 900 (Table), at *4 (10th Cir. 1991)

 5   (upholding limitation of injunction prohibiting breach of distributor agreement to domestic

 6   markets based on the evidence presented by the plaintiff, recognizing that injunctive relief must

 7   be narrowly tailored to the relevant market).

 8                  2.     Each of the specific injunctions requested by the FTC is overbroad
                           and not properly tailored, and in some cases, impermissibly vague.
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            762.    Despite that the FTC limited both its allegations and its evidence to the CDMA
10
     and “premium” LTE markets, the FTC failed to limit its proposed injunctions to those markets.
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            763.    Specifically, the FTC proposes enjoining Qualcomm from “conditioning the
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     supply of modem chips on a customer’s patent-license status” in all markets, and requiring
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     Qualcomm to allow renegotiations with respect to all chip sales and patent licenses, including, for
14
     example, WCDMA modem chips and WCDMA licenses, and non-“premium” LTE chips and
15
     non-“premium” LTE licenses. (Joint Pretrial Statement at 2; FTC Interrogatory Response at 5–6.)
16
            764.    The FTC also seeks to compel Qualcomm to license all SEPs to all rival chip
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     makers, not just SEPs with respect to CDMA and “premium” LTE markets. (Joint Pretrial
18
     Statement at 2-3; FTC Interrogatory Response at 6.) And the FTC would have this Court prohibit
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     incentive payments and express or de facto exclusive dealing contracts—again—in all markets,
20
     and not just the ones about which the FTC has adduced any evidence. (Joint Pretrial Statement at
21
     2-3; FTC Interrogatory Response at 6).
22
            765.    Moreover, the FTC seeks an order requiring Qualcomm to “renegotiate . . . license
23
     terms” with all OEM licensees. (Joint Pretrial Statement at 2; FTC Interrogatory Response at 6.)
24
     Not only would such an injunction require renegotiation in markets where Qualcomm is not even
25
     alleged to have market power, such as WCDMA or non-“premium” LTE, but it is also overbroad
26
     insofar as it requires renegotiation of agreements no matter what the terms and no matter whether
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     any anticompetitive harms caused or resulted from those agreements. Such an injunction would
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 1   be tailored neither to the markets nor harms at issue, including because it would apply to

 2   agreements entered into outside the 2011-2016 timeframe for which the FTC has presented

 3   evidence.

 4          766.    The requested relief also is not tailored to specific agreements or commerce that

 5   falls within the reach of the FTC Act. Section 5 of the FTC Act explains that the Section does

 6   “not apply to unfair methods of competition involving commerce with foreign nations (other than

 7   import commerce) unless” those “methods of competition have a direct, substantial, and

 8   reasonably foreseeable effect” on U.S. commerce and “such effect gives rise to” the FTC Act

 9   claim. 15 U.S.C. § 45(a)(3); see also 15 U.S.C. § 6a (applying same rule to Sherman Act
10   claims). To the extent that any of the injunctions would affect purely foreign commerce that does

11   not cause anticompetitive harm in the United States, that extraterritorial effect is also

12   overbroad. See, e.g., United States v. LSL Biotechnologies, 379 F.3d 672, 681-83 (9th Cir. 2004).

13          767.    Such an overbroad order requiring renegotiations also should fail for lack of

14   specificity. Any injunction “must … state its terms specifically” and “describe in reasonable

15   detail … the act or acts restrained or required.” Fed. R. Civ. P. 65(d)(1). This command applies

16   to antitrust injunctions, which are “unenforceable” if they “do[] not enjoin a specific act or

17   practice.” LabMD, Inc. v. FTC, 894 F.3d 1221, 1237 (11th Cir. 2018). But the FTC’s

18   requirement that Qualcomm renegotiate all contracts and licenses “free from the threat of lack of

19   access to modem chip supply or associated technical, software, or other support,” begs the
20   questions of what is prohibited, how this will be determined, how parties will determine if such

21   amorphous conditions are present, and others. (Joint Pretrial Statement at 2).

22          768.    The FTC’s additional catchall request to enjoin Qualcomm from engaging in any

23   “similar and related conduct in the future” also fails as non-specific. (Interrogatory Response at 5

24   (citing Complaint)). “Similar and related” are not specific terms and give no detail as to what

25   acts are restrained, as required under Rule 65(d)(1). It is also unclear whether these “similar and

26   related” actions will be prohibited in all markets or just the markets at issue in this case—if the

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 1   former, this command is also impermissibly untethered from the harms and products at issue in

 2   this case.

 3           769.   In sum, the injunctive relief sought by the FTC is not “tailored to remedy the

 4   specific harm alleged.” Lamb-Weston, Inc. v. McCain Foods, Ltd., 941 F.2d 970, 974 (9th Cir.

 5   1991). It may not be granted.

 6           C.     The FTC Has Not Demonstrated that Equity Warrants a Permanent
                    Injunction.
 7
             770.   The FTC failed to prove the necessary equitable factors for imposing the
 8
     permanent injunction the FTC seeks.
 9
             771.   First, the balance of equities weighs against an injunction in this case.
10
     Competition in the alleged CDMA and “premium” LTE markets is robust and only increasing.
11
     The unnecessary and overbroad injunctive relief sought by the FTC will harm competition in this
12
     expanding and dynamic industry, and it will put Qualcomm at a competitive disadvantage by
13
     changing the rules of the game after Qualcomm invested billions of dollars into system-level
14
     innovation shared with the industry through standard-setting, in reliance on the way that the
15
     modem chip industry has evolved organically over the past 30 years.
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             772.   Second, the public interest weighs against granting the FTC’s requested
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     injunctions. Due to their overbreadth, those injunctions represent over-enforcement of the
18
     antitrust laws and will limit Qualcomm’s leading role in innovation by prohibiting actions not
19
     recognized as violating the antitrust laws, will undermine U.S. competitiveness in the fast-paced
20
     and dynamic modem chip industry by hampering Qualcomm’s ability to continue its leading
21
     innovation in that industry, and will interfere with important national security interests. See Barry
22
     Wright Corp. v. ITT Grinnell Corp., 724 F.2d 227 (1st Cir. 1983) (efforts to stop anticompetitive
23
     conduct should not discourage legitimate competition); see also Matsushita Elec. Indus. Co. v.
24
     Zenith Radio Corp., 475 U.S. 574, 594 (1986) (“Mistaken inferences in cases such as this one are
25
     especially costly, because they chill the very conduct the antitrust laws are designed to protect.”).
26
             773.   The U.S. Treasury’s Committee on Foreign Investment in the United States
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     (CFIUS) recently recognized the significant “risk to the national security of the United States”
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 1   that could arise from changing Qualcomm’s innovation-focused business model as a result of

 2   acquisition by a foreign entity. See CFIUS March 5, 2018 Letter at 1–2.

 3          774.    CFIUS explained that Qualcomm is a “global leader in the development and

 4   commercialization of foundational technologies and products used in mobile devices,” that

 5   Qualcomm “led the mobile revolution in digital communications technologies,” and that

 6   “Qualcomm’s technological success and innovation is driven by its unmatched expertise and

 7   research and development,” which “drive[s] U.S. leadership in key-standard setting bodies.” Id.

 8   at 2. As such, CFIUS concluded that the “weakening of Qualcomm’s technological leadership”

 9   (including limiting R&D expenditures) and “disrupt[ing] … Qualcomm’s capabilities as a
10   supplier of products” to the U.S. government would pose serious national security risks to the

11   United States. Id. at 2–3.

12          775.    CFIUS further explained that “Qualcomm's current business model . . . currently

13   relies on the licensing business to fund the company's large R&D expenditures.” Id. at 3.

14   Important, legitimate aspects of this business model include selling modem chips only to licensed

15   OEMs and licensing exhaustively only at the device level.

16          776.    The public interest favors the dynamic and competitive innovation in modem chip

17   technology—including as driven by Qualcomm’s innovation and industry—which have improved

18   technology and lives around the nation. The national security public interest also favors

19   Qualcomm’s R&D and business model, which the FTC’s requested overbroad injunctions would
20   significantly impede. The Supreme Court in Winter v. N.R.D.C., recognized the immense public

21   interest attendant in national security concerns—which can even outweigh other eBay factors.

22   555 U.S. 7, 23–25 (2008); id. at 20 (noting it is the plaintiff’s burden to demonstrate the public

23   interest would be served by the injunctions); see also Internet Specialties W., Inc. v. Milon-

24   DiGiorgio Enters., Inc., 559 F.3d 985, 994 (9th Cir. 2009) (noting Winter held “that the public

25   interest in national security defeated [the requested] injunction”); Def. Distributed v. U.S. Dep’t of

26   State, 838 F.3d 451, 459–60 (5th Cir. 2016) (explaining in preliminary injunction case that “the

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 1   public interest in national defense and national security is stronger” than admittedly strong

 2   interests in protecting against potential violation of constitutional rights pending trial).

 3           777.     Third, the FTC failed to prove irreparable harm from Qualcomm’s conduct.

 4   Indeed, the FTC failed to adduce evidence of any current or future harm to competition or the

 5   CDMA or “premium” LTE modem chip marketplaces that cannot be remedied but for the

 6   injunctions the FTC seeks. And it pointed to no monopoly maintenance by Qualcomm that can

 7   be rectified only by injunctive relief. Even if the FTC could show that Qualcomm had monopoly

 8   power at one point, it has lost that power and has not caused any harms to competition that would

 9   be fixed (let alone need be fixed) by these injunctions.
10           778.     Opinions holding that the FTC need not prove irreparable harm to obtain

11   preliminary injunctive relief predate the Supreme Court’s holding in eBay Inc. v. MercExchange,

12   LLC, 547 U.S. 388, 391–92 (2006), that plaintiffs seeking a permanent injunction under a federal

13   statute (the Patent Act in that case) must prove all traditional equitable factors for injunction,

14   including irreparable harm, unless Congress specifically indicates some other test should apply.

15   Id. Section 13(b) bears no indication that Congress intended a different test to apply to permanent

16   injunctions in antitrust cases; on the contrary, the statute conspicuously fails to require proof of

17   irreparable injury for preliminary injunctions then notes that permanent injunctions can be issued

18   only in “proper cases” after the FTC puts on “proper proof.” 15 U.S.C. § 53(b) See eBay, 547

19   U.S. at 391-92; see also Amoco Prod. Co. v. Gambell, 480 U.S. 531, 542 (1987) (“[A]n
20   injunction is an equitable remedy that does not issue as of course.”); Weinberger v. Romero-

21   Barcelo, 456 U.S. 305, 313 (1982) (“The grant of jurisdiction to ensure compliance with a statute

22   hardly suggests an absolute duty to do so under any and all circumstances, and a federal judge

23   sitting as chancellor is not mechanically obligated to grant an injunction for every violation of

24   law. . . . Of course, Congress may intervene and guide or control the exercise of the courts’

25   discretion, but we do not lightly assume that Congress has intended to depart from established

26   principles.”).

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 1           779.    Here, the FTC has failed its burden to prove irreparable harm, the balance of the

 2   equities, or the public interest necessary to impose its requested injunctions. That relief thus must

 3   be denied.

 4   XV.     CONCLUSION
 5           780.    The FTC has failed to meet its burden of showing: (1) that there has been any
 6   harm to competition in the alleged relevant markets; (2) the elements of a Section 2 claim; (3) the
 7   elements of a Section 1 claim; (4) the elements of a standalone claim under Section 5 of the FTC
 8   Act; and (5) that the FTC is entitled to injunctive relief, and specifically that: (i) there is a
 9   significant possibility of future harm to competition that would warrant injunctive relief; (ii) the
10   remedy the FTC seeks is appropriately tailored to any proven harm; and (iii) that the remedy the
11   FTC seeks is in the public interest.
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 1   Dated: December 6, 2018                KEKER, VAN NEST & PETERS

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 1                                       FILER’S ATTESTATION

 2          I, Geoffrey T. Holtz, am the ECF user whose identification and password are being used

 3   to file this Stipulation. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the

 4   signatories on this document have concurred in this filing.

 5                                                                   s/ Geoffrey T. Holtz
                                                                      Geoffrey T. Holtz
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